 1   Cindy Hamilton (SBN 217951)
     Shauna Imanaka (SBN 315742)
 2   GREENBERG TRAURIG, LLP
     1900 University Avenue, 5th Floor
 3   East Palo Alto, CA 94303
     T: (650) 328-8500
 4   F: (650) 328-8508
     hamiltonc@gtlaw.com
 5   imanakas@gtlaw.com

 6   Attorneys for Defendant
     JPMORGAN CHASE BANK, N.A.
 7

 8
                                    UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10

11   LISA JO NOBLE, ADMINISTRATOR OF                  CASE NO. 3:22-CV-02879-LB
     THE ESTATE OF DANIEL STRANGE,
12
                       Plaintiff,                     DEFENDANT JPMORGAN CHASE
13                                                    BANK, N.A.’S REQUEST FOR JUDICIAL
     vs.                                              NOTICE IN SUPPORT OF MOTION TO
14                                                    STAY
     JP MORGAN CHASE BANK, N.A.; and
15   DOES 1 - 25, Inclusive,                          Date:        September 15, 2022
                                                      Time:        9:00 am
16                     Defendants.                    Courtroom: B – 15th Floor
                                                      Assigned to: Hon. Laurel Beeler
17

18                                                    Action Filed: April 1, 2022
                                                      Action Removed: May 16, 2022
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                                                     -1-                 Case No. 3:22-CV-02879-LB
                                         REQUEST FOR JUDICIAL NOTICE
 1                                    REQUEST FOR JUDICIAL NOTICE
 2           Pursuant to Federal Rule of Evidence 201, and in connection with its concurrently filed Motion
 3   to Stay Defendant JPMorgan Chase Bank, N.A. (“Chase”) respectfully requests that the Court take
 4   judicial notice of the following attached exhibits:
 5                 Exhibit A – A true and correct copy of the interpleader docket downloaded on July 21,
 6                  2022 for National Recovery Solutions v. Lisa Jo Noble, Administrator to the Estate of
 7                  Daniel Strange, Deceased, Case No. 20-CIV-01183, Superior Court of California,
 8                  County of San Mateo
 9                 Exhibit B – A true and correct copy of the Interpleader Complaint, National Recovery
10                  Solutions v. Lisa Jo Noble, Administrator to the Estate of Daniel Strange, Deceased,
11                  Case No. 20-CIV-01183, filed on February 24, 2020 in the Superior Court of California,
12                  County of San Mateo
13                 Exhibit C – A true and correct copy of the probate docket downloaded on July 21, 2022
14                  for Estate of Daniel Strange, Case No. 19-PRO-00643, Superior Court of California,
15                  County of San Mateo
16                 Exhibit D – A true and correct copy of Administrator’s First Amended Petition for Title
17                  to and Possession of Property Held by Another, and for Order Conveying and
18                  Transferring Such Property to Administrator, Estate of Daniel Strange, Case No. 19-
19                  PRO-00643, filed on October 14, 2021 in the Superior Court of California, County of
20                  San Mateo
21                 Exhibit E – A true and correct copy of the docket in the action Plaintiff Lisa Jo Noble, as
22                  Administrator of the Estate of Daniel Strange, Deceased filed against Eyad Yaser
23                  Abdeljawad downloaded on July 21, 2022 for Lisa Jo Noble, as Administrator of the
24                  Estate of Daniel Strange, Deceased v. Eyad Yaser Abdeljawad, Case No. 21-CIV-01037
25                  in the Superior Court of California, County of San Mateo
26   ////
27   ////
28   ////

                                                      -1-                      Case No. 3:22-CV-02879-LB
                                          REQUEST FOR JUDICIAL NOTICE
 1                 Exhibit F – A true and correct copy of the First Amended Complaint, Lisa Jo Noble, as
 2                  Administrator of the Estate of Daniel Strange, Deceased v. Eyad Yaser Abdeljawad, Case
 3                  No. 21-CIV-01037, filed on June 6, 2022 in the Superior Court of California, County of
 4                  San Matteo.
 5                 Exhibit G – A true and correct copy of the Notice of Entry of Order on Demurrer
 6                  Adopting Tentative Ruling and Continuing Matter filed on March 8, 2022 in Estate of
 7                  Daniel Strange, Case No. 19-PRO-00643, Superior Court of California, County of San
 8                  Mateo, staying the probate action until the conclusion of the interpleader.
 9                 Exhibit H - A true and correct copy of the Minute Order issued by the Court on July 6,
10                  2022 in Estate of Daniel Strange, Case No. 19-PRO-00643, Superior Court of California,
11                  County of San Mateo, further staying the probate action.
12                 Exhibit I – A true and correct copy of the March 17, 2022 Minute Order of the Court in
13                  National Recovery Solutions v. Lisa Jo Noble, Administrator to the Estate of Daniel
14                  Strange, Deceased, Case No. 20-CIV-01183, Superior Court of California, County of San
15                  Mateo.
16          The Federal Rules of Evidence rule 201 provides that courts may take judicial notice of facts that
17   are not subject to reasonable dispute, either because they are “(1) generally known within the trial
18   court’s territorial jurisdiction; or (2) can be accurately and readily determined from sources whose
19   accuracy cannot reasonably be question.” Fed. R. Evid. 201. Court orders and filings are the type of
20   documents that are properly noticed under the rule. Schwartz v. U.S. Bank, N.A., Case No. CV 11-
21   08754 MMM (JCG), 2012 U.S. Dist. LEXIS 189868, *8-9 (C.D. Cal. Aug. 3, 2012) (taking judicial
22   notice of documents filed in a related action in superior court). The Court “can take judicial notice of
23   the existence of these records, but not for the truth of the statements with them.” Barich v. City of
24   Cotati, Case No. 21-cv-00034-EMC, 2021 U.S. Dist. LEXIS 135380, *17 (N.D. Cal. July 20, 2021).
25   Exhibits A-F attached hereto are filings and the dockets from the three related state court actions.
26   Accordingly, Chase respectfully requests that the Court take judicial notice of Exhibits A-I in
27   connection with Chase’s Motion to Stay.
28   ////

                                                      -2-                      Case No. 3:22-CV-02879-LB
                                          REQUEST FOR JUDICIAL NOTICE
 1                                       Respectfully submitted,
 2   DATED: July 22, 2022                GREENBERG TRAURIG, LLP
 3
                                   By: /s/ Cindy Hamilton
 4                                        Cindy Hamilton
                                          Shauna Imanaka
 5                                        Attorneys for Defendant
                                          JPMORGAN CHASE BANK, N.A.
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                                        -3-                 Case No. 3:22-CV-02879-LB
                            REQUEST FOR JUDICIAL NOTICE
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     PROOF OF SERVICE
EXHIBIT A
Case Information

20-CIV-01183 | National Recovery Solutions vs. LISA JO NOBLE, et al

Case Number                             Court                                Judicial Officer
20-CIV-01183                            Civil Unlimited                      Swope, V. Raymond
File Date                               Case Type                            Case Status
02/24/2020                              (43) Unlimited Other Petition (Not   Active
                                        Spec)




Party

Respondent
NOBLE, LISA JO




Respondent
DOES 1-50 INCLUSIVE




Petitioner                                                                   Active Attorneys 
National Recovery Solutions                                                  Lead Attorney
                                                                             DHAHBI, NADA
                                                                             Retained




                                                                             Inactive Attorneys 
                                                                               Pro Se
Cause of Action


     File Date        Cause of Action         Type     Filed By                      Filed Against

     02/24/2020       Complaint               Action   National Recovery Solutions   NOBLE, LISA JO
                                                                                     DOES 1-50 INCLUSIVE




Events and Hearings


 02/24/2020 New Filed Case


 02/24/2020 Summons Issued / Filed 


 Summons Issued / Filed


 02/24/2020 Civil Case Cover Sheet 


 Civil Case Cover Sheet


 02/24/2020 Complaint 


 Complaint


 02/24/2020 Notice of Case Management Conference 


 Notice of Case Management Conference


 02/24/2020 Cause Of Action 


   Action                        File Date
   Complaint                     02/24/2020



 06/16/2020 Affidavit of Mailing 


 Affidavit of Mailing CMC 9/24/20

   Comment
   CMC 9/24/20


 06/16/2020 Case Management Order 


 Case Management Order CMC 9/24/20

   Comment
09/16/2020 Affidavit of Mailing 


Affidavit of Mailing CMC 12/9/20

   Comment
   CMC 12/9/20


09/16/2020 Case Management Order 


Case Management Order CMC 12/9/20

   Comment
   CMC 12/9/20


09/16/2020 CMC - Not at issue - no service/default/answer. 


   Comment
   Requesting associated template form.


11/24/2020 CMC - Not at issue - no service/default/answer. 


CMC - Not at issue - no service/default/answer.


12/09/2020 Proof of Service by SUBSTITUTED SERVICE of 


Proof of Service by SUBSTITUTED SERVICE of SUMMONS, COMPLAINT, ADR PACKET, CIVIL CASE COVE
SHEET, NO

   Comment
   SUMMONS, COMPLAINT, ADR PACKET, CIVIL CASE COVE SHEET, NOTICE OF CMC


01/21/2021 Request to Enter Default 


Request to Enter Default


02/25/2021 Notice of Case Management Conference 


Notice of Case Management Conference Case Management Conference - 7/14/2021 at 9:00 a.m. SSF

   Comment
   Case Management Conference - 7/14/2021 at 9:00 a.m. SSF


06/29/2021 Notice of Case Management Conference 


Notice of Case Management Conference Case Management Conference - 7/14/2021 at 9:00 a.m.

   Comment
   Case Management Conference - 7/14/2021 at 9:00 a.m.


07/14/2021 Case Management Conference 


Original Type
Case Management Conference

~CIV Minute Order - Case Management Conference 07/14/2021

Judicial Officer
Hearing Time
9:00 AM

Result
Held


07/15/2021 Notice of Case Management Conference 


Notice of Case Management Conference Case Management Conference And Order to Show Cause Re: Why Sanc

  Comment
  Case Management Conference And Order to Show Cause Re: Why Sanctions of at Least $150 Should Not
  be Imposed Due to Failure to Appear at CMC - 9/23/2021 at 9:00 a.m.


09/23/2021 Case Management Conference 


Original Type
Case Management Conference

~CIV Minute Order - Case Management Conference 09/23/2021

Judicial Officer
Halperin, Ernst A.

Hearing Time
9:00 AM

Result
Held

Comment
And Order to Show Cause Re: Why Sanctions of at least $150 Should Not be Imposed Due to Failure to Appear at
CMC


09/28/2021 Notice of Case Management Conference 


Notice of Case Management Conference Case Management Conference & Order to Show Cause Re: Why Sancti

  Comment
  Case Management Conference & Order to Show Cause Re: Why Sanctions of $150 Should Not be Imposed
  Due to Failure to Appear at CMC - 11/15/2021 at 9:00 a.m.


10/15/2021 Notice of Case Management Conference 


Notice of Case Management Conference Case Management Conference & Order to Show Cause Re: Why Sancti

  Comment
  Case Management Conference & Order to Show Cause Re: Why Sanctions of at Least $150 Should Not be
  Imposed upon Plaintiff for Failure to Appear at CMC - 11/15/2021 at 9:00 a.m.


11/15/2021 Case Management Conference 


Original Type
Case Management Conference

~CIV Minute Order - Case Management Conference 11/15/2021

Judicial Officer
Halperin, Ernst A.

Hearing Time
9:00 AM
Result
Held

Comment
& Order to Show Cause Re: Why Sanctions of at Least $150 Should Not be Imposed upon Plaintiff for Failure to
Appear at CMC


11/15/2021 Party appeared by audio and/or video 


  Comment
  Attorney Nada Dhahbi specially appearing for Defendant


11/15/2021 Notice of Case Management Conference 


Notice of Case Management Conference Case Management Conference & Order to Show Cause Re: Why Defaul

  Comment
  Case Management Conference & Order to Show Cause Re: Why Default Should Not be Withdrawn due to
  Plaintiff being a Business Entity without Attorney Representation - 3/17/2022 at 9:00 a.m.


03/16/2022 Substitution of Attorney as to 


Substitution of Attorney as to Former Attorney: PRO PERNew Attorney: NADA DHAHI

  Comment
  Former Attorney: PRO PER New Attorney: NADA DHAHI


03/17/2022 Case Management Conference 


Original Type
Case Management Conference

~CIV Minute Order - Case Management Conference 03/17/2022

Judicial Officer
Halperin, Ernst A.

Hearing Time
9:00 AM

Result
Held

Comment
& Order to Show Cause Re: Why Default Should Not be Withdrawn due to Plaintiff being a Business Entity without
Attorney Representation

Parties Present 
 Petitioner

   Attorney: DHAHBI, NADA


03/17/2022 Party appeared by audio and/or video


03/18/2022 Notice of Case Management Conference 


Notice of Case Management Conference 10/27/2022 at 9:00 a.m.

  Comment
  10/27/2022 at 9:00 a.m.
   Judicial Officer
   Halperin, Ernst A.

   Hearing Time
   9:00 AM




Financial

National Recovery Solutions
      Total Financial Assessment                                                                    $435.00
      Total Payments and Credits                                                                    $435.00


 2/25/2020      Transaction                                                                        $435.00
                Assessment

 2/25/2020      eFile Online Payment       Receipt # 2020-010878-    National Recovery            ($435.00)
                                           HOJ                       Solutions




Documents


   Summons Issued / Filed
   Civil Case Cover Sheet
   Complaint

   Notice of Case Management Conference
   Case Management Order CMC 9/24/20
   Affidavit of Mailing CMC 9/24/20
   Case Management Order CMC 12/9/20

   Affidavit of Mailing CMC 12/9/20
   CMC - Not at issue - no service/default/answer.
   CMC Order Continue - Not Yet at Issue

   Proof of Service by SUBSTITUTED SERVICE of SUMMONS, COMPLAINT, ADR PACKET, CIVIL CASE COVE
   SHEET, NO
   Request to Enter Default

   Notice of Case Management Conference Case Management Conference - 7/14/2021 at 9:00 a.m. SSF
Notice of Case Management Conference Case Management Conference - 7/14/2021 at 9:00 a.m.
~CIV Minute Order - Case Management Conference 07/14/2021

Notice of Case Management Conference Case Management Conference And Order to Show Cause Re: Why Sanc
~CIV Minute Order - Case Management Conference 09/23/2021
Notice of Case Management Conference Case Management Conference & Order to Show Cause Re: Why Sancti

Notice of Case Management Conference Case Management Conference & Order to Show Cause Re: Why Sancti
~CIV Minute Order - Case Management Conference 11/15/2021
Notice of Case Management Conference Case Management Conference & Order to Show Cause Re: Why Defaul
Substitution of Attorney as to Former Attorney: PRO PERNew Attorney: NADA DHAHI

~CIV Minute Order - Case Management Conference 03/17/2022
Notice of Case Management Conference 10/27/2022 at 9:00 a.m.
EXHIBIT B
                                                                           Electronically

           NATIONAL RECOVERY SOLUTIONS                      by Superior Court of'California, County ofSan Mateo

           3780 W. Mission Blvd Ste 105                    0N              2/24/2020
           Montclair CA 91762                              By         (g! R'Eag Dnminig
       (909) 668-3241                                                        aputy Clark


       In Pro Per


                            SUPERIOR COURT 0F SAN MATEO COUNTY

                              SOUTHERN BRANCH: HALL OF JUSTICE


       NATIONAL RECOVERY SOLUTIONS                        Case No.: 20-CIV-O1 183

                                     Plaintiff

                                                          PLAINTIFF COMPLAINT FOR
                                             V'
                                                          INTERPLEADER PER CCP §386 (B)
       LISA JO NOBLE, Administrator t0 the
       Estate of Daniel Strange, Deceased,
       and DOES 1-50 Inclusive




                PLAINTIFF NATIONAL RECOVERY SOLUTIONS HEREBY ALLEGES THE

 19   FOLLOWING:
20                                  JURISDICTION AND VENUE
21
      1.       Jurisdiction and Venue are proper in this Court Pursuant to CA Code of
22

            Civ. Pro. §395 as the course of conduct of alleged acts occurred within
23


24          geographic region of San Mateo County

25                                                PARTIES
26
      2.        National Recovery Solutions (NRS) is a Business and Plaintiff in this
27
            matter.
28
                                          PLAINTIFF COMPLAINT
                                                    - 1
      3.       Lisa Jo Noble is the Administrator to the Estate of Daniel Strange,


            Deceased (NOBLE). Plaintiff is informed and reasonably asserts that NOBLE

            was Appointed as Personal Representative Pursuant t0 Letters 0f

            Administration that were issued by San Mateo County Superior Court

           Probate Division. NOBLE is the sister to the DECEDENT

               Plaintiff hereby reserves right t0 amend complaint to conform to proof.


           Plaintiff is informed and reasonably believes that each of the Defendants are


           responsible in some manner for the occurrences herein alleged and that

           Plaintiffs’ damages were proximately caused thereby.


               STATEMENT OF FACTS COMMON TO ALL CAUSES OF ACTION
 l3
              Daniel Lee Strange died intestate on Dec 12, 2010 leaving behind a
 l4
           surviving spouse by the name of Gaye Dotson WIDOW, and three siblings
 15


 l6
           including Defendant NOBLE. Mr. Strange was the former trustor 0f a

           property located at 432 Waverly Street Menlo Park CA 94025 (HOME).

              Shortly thereafter, Defendant NOBLE assigned in a valid agreement With

           NRS in order for Plaintiffs to recover proceeds from a sale of HOME
20

           belonging to the Estate.
21


22            Subsequent t0 that, Defendant and siblings were informed that a Court

23
       Order was needed from Probate Division in order for NOBLE to have
24
       standing to step into the shoes 0f her late brother and transact 0n his
25
       behalf.
26


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                                      PLAINTIFF COMPLAINT
                                              -   2
      8.       As a result, outside counsel was retained for NOBLE for the sole limited

            purpose of obtaining Letters of Administration (LE’I'I‘ERS) for her late

            brother’s estate. Counsel for NOBLE successfully obtained LE’I’I‘ERS from


            the Probate Division of San Mateo Superior Court Probate Division in Case #

            19-PRO-00643.

      9.       Plaintiff states based on information and belief that the siblings


            nominated NOBLE to act as the personal representative to the

            DECECDENT’S Estate.

      10.        Plaintiffs further allege based 0n knowledge and belief that   NOBLE
            was apprised her standing fiduciary duty to the remaining heirs including

            her siblings and the surviving spouse of DECEDENT.

     11.          Once Estate Property was was ready t0 be disbursed, NOBLE initially

           acknowledged her standing duty to distribute shares to the heirs in

           accordance with Intestate Succession Laws. NOBLE was given a

           full accounting and all of her documents that were part 0f her case in


           Probate Court.
20

     12.        NOBLE’s instructions were for Plaintiff to deduct its percentage for
21


22         recovering monies that belonging to the Estate; Earmark and keep separate

23         WIDOW's 50% share; Distribute remainder to NOBLE as the Personal
24
           Representative of the Siblings.
25
     13.       After NOBLE received her accounting, NOBLE sent a threatening
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           demand email that was addressed to Plaintiff and Defendant's Counsel in

28
                                      PLAINTIFF COMPLAINT
                                               - 3
                 the Probate Proceedings. In the Demand, NOBLE threatened to

                 report her counsel t0 the State Bar unless Plaintiff paid WIDOW’s share

                 directly to NOBLE.


           14.       More noteworthy, NOBLE stated her intent t0 not pay the any of the

                 beneficiaries as mandated by law.


      ‘
           15.        As a result, Plaintiff is in concurrent possession of funds that have

                 been earmarked for WIDOW. Based on information and believe, it would be

                unconscionable for Plaintiff to distribute WIDOW’s share to NOBLE.

                                         FIRST CAUSE 0F ACTION

                        (Interpleader CCP §386 (b) - As Against All Defendants)

          16.        Plaintiff is in possession of $686,200.00 that is held for the benefit 0f


                WIDOW. Plaintiff is informed and reasonably asserts that conﬂicting

                demands have been made as to who is entitled t0 WIDOW’s share.

          17.        NOBLE stated her intent to keep all of the money for herself. NOBLE

                further stated that she is under no obligation to pay out siblings as
 19
                beneficiaries or   WIDOW
20

          18.         Plaintiff cannot determine the validity to the conﬂicting claims, and is
2]


22              gravely concerned that it Will be subj ected t0 multiple liability in the

23          absence of the intervention of this court. Concurrent with this complaint,
24
            Plaintiff shall deposit $682,600.00 with the clerk of the Superior Court
25
            pursuant to CCP §386 (c), which represents the full amount of WIDOW's
26


27
            share.

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                                            PLAINTIFF COMPLAINT
                                                     — 4
     WHERFORE PLAINTIFF PRAYS FOR AS FOLLOWS:

       1.   An order that WIDOW‘s share be deposited With the court and that

            Defendant and All potential claimants litigate their claims to

            monies/property as described in complaint.

     RESPECTFULLY SUBMITTED




                                                 National Recov ry Solutions




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                                  PLAINTIFF COMPLAINT
                                           - s
EXHIBIT C
Case Information

19-PRO-00643 | Estate of DANIEL STRANGE

Case Number                        Court
19-PRO-00643                       Probate
File Date                          Case Type           Case Status
05/22/2019                         Decedent's Estate   Active




Party

Respondent (Participant)
Dotson-Strange, Gay Lynne




Respondent (Participant)
National Recovery Solutions




Respondent (Participant)
Arce, Joyce




Respondent (Participant)
Alejandro, Marrero




Respondent                                             Active Attorneys 
Abdeljawad, Eyad                                       Lead Attorney
                                                       ABDELJAWAD, EYAD YASER
                                                       Retained
Proposed Personal Representative (Participant)
NOBLE, LISA JO




Petitioner                                                                           Active Attorneys 
NOBLE, LISA JO                                                                       Lead Attorney
                                                                                     PROCHNOW, KENNETH H.
                                                                                     Retained




Decedent
STRANGE, DANIEL




Administrator                                                                        Active Attorneys 
NOBLE, LISA JO                                                                       Lead Attorney
                                                                                     PROCHNOW, KENNETH H.
                                                                                     Retained




Events and Hearings


   05/22/2019 New Filed Case


   05/22/2019 Petition for Letters of 


   Petition for Letters of Administration & Authorization to Administer Under the IAEA

      Comment
      Administration & Authorization to Administer Under the IAEA


   05/22/2019 Notice of Petition to Administer Estate 


   Notice of Petition to Administer Estate


   06/06/2019 Duties and Liabilities signed 


   Duties and Liabilities signed


   06/06/2019 Confidential Statement of Birthdate & Drivers License signed
06/21/2019 Proposed Order Received 


Proposed Order Received ORDER FOR PROBATE

  Comment
  ORDER FOR PROBATE


06/26/2019 Affidavit of Publication of 


Affidavit of Publication of NOTICE OF PETITION TO ADMINISTER ESTATE

  Comment
  NOTICE OF PETITION TO ADMINISTER ESTATE


06/28/2019 Letters of Administration Hearing with ATA 


~PRO Minute Order - Letters of Administration Hearing with ATA 06/28/2019

Judicial Officer
Miram, George A.

Hearing Time
9:00 AM

Result
Held


07/02/2019 Document Returned: 


Document Returned: MINUTE ORDER, ORIGINAL LETTERS, AND CHECK #0360 returned to ATTORNEY per
Clerk's

  Comment
  MINUTE ORDER, ORIGINAL LETTERS, AND CHECK #0360 returned to ATTORNEY per Clerk's instructions


07/03/2019 Request for Appointment of CA Probate Referee 


Request for Appointment of CA Probate Referee Probate Referee appointed: Not Applicable - The estate

  Comment
  Probate Referee appointed: Not Applicable - The estate is all cash; no Probate Referee is necessary


07/11/2019 Order for Probate; Personal Representative 


Order for Probate; Personal Representative appointed as Administrator with Full Authority. Bond: $20

  Comment
  appointed as Administrator with Full Authority. Bond: $200,000.00. Deposits: N/A Expires: N/A


07/11/2019 Bond 


Bond Capacity: ADMINISTRATOR

  Comment
  Capacity: ADMINISTRATOR


07/11/2019 Letters of Administration issued to Personal Representative 


Letters of Administration issued to Personal Representative with FULL authority
  Comment
  with FULL authority


03/25/2020 Substitution of Attorney as to 


Substitution of Attorney as to


08/14/2020 Petition (Subsequent) 


Petition (Subsequent) Petition for Title to and Possession of Property Held by Another

  Comment
  Petition for Title to and Possession of Property Held by Another


08/14/2020 Proposed Order Received 


Proposed Order Received Proposed Order Granting Administrator's Petition for Title to and Possession

  Comment
  Proposed Order Granting Administrator's Petition for Title to and Possession of Property Held by Another


08/14/2020 Petition (Subsequent) 


Petition (Subsequent) PETITION FOR INSTRUCTIONS

  Comment
  PETITION FOR INSTRUCTIONS


08/14/2020 Proposed Order Received 


Proposed Order Received Proposed Order Granting Petition for Instructions

  Comment
  Proposed Order Granting Petition for Instructions


08/14/2020 Notice of Hearing re 


Notice of Hearing re Petition for Title to and Possession of Property Held by Another

  Comment
  Petition for Title to and Possession of Property Held by Another


08/14/2020 Notice of Hearing re 


Notice of Hearing re PETITION FOR INSTRUCTIONS

  Comment
  PETITION FOR INSTRUCTIONS


08/25/2020 Proof of Service by MAIL of 


Proof of Service by MAIL of Proof of Service of Petition for Instructions served on SEEE SERVICE ,IS

  Comment
  Proof of Service of Petition for Instructions served on SEEE SERVICE ,IST


08/25/2020 Proof of Service by MAIL of 
Proof of Service by MAIL of Proof of Service of Petition for Title to and Possession of Property ser

  Comment
  Proof of Service of Petition for Title to and Possession of Property served on SEE SERVICE LIST


08/27/2020 Proof of Service by MAIL of 


Proof of Service by MAIL of Notice of Hearing-Decedent's Estate or Trust, a copy of the petition or

  Comment
  Notice of Hearing-Decedent's Estate or Trust, a copy of the petition or other document referred to in the
  Notice served on SEE SERVICE LIST


08/27/2020 Proof of Service by MAIL of 


Proof of Service by MAIL of Notice of Hearing-Decedent's Estate or Trust, a copy of the petition or

  Comment
  Notice of Hearing-Decedent's Estate or Trust, a copy of the petition or other document referred to in the
  Notice served on SEE SERVICE LIST


09/28/2020 Continuance Fee re 


  Comment
  PETITION FOR INSTRUCTIONS From 10/2/20 To 12/4/20


09/28/2020 Continuance Fee re 


  Comment
  PETITION FOR TITLE TO AND POSSESSION From 10/2/20 To 12/4/20


10/02/2020 Petition Hearing 


Original Type
Petition Hearing

~PRO Minute Order - Petition Hearing 10/02/2020

Judicial Officer
Miram, George A.

Hearing Time
9:00 AM

Result
Held

Comment
PETITION FOR INSTRUCTIONS


10/02/2020 Petition Hearing 


Original Type
Petition Hearing

~PRO Minute Order - Petition Hearing 10/02/2020

Judicial Officer
Miram, George A.

Hearing Time
Result
Held

Comment
Petition for Title to and Possession of Property Held by Another


10/02/2020 Party appeared by audio and/or video 


  Comment
  Added by automated script


12/04/2020 Petition Hearing 


Original Type
Petition Hearing

~PRO Minute Order - Petition Hearing 12/04/2020

Judicial Officer
Miram, George A.

Hearing Time
9:00 AM

Result
Held

Comment
(*Continued from 10/02/2020) Petition for Instructions, Petition for Title to and Possession of Property Held by
Another

Parties Present 
 Petitioner

   Attorney: PROCHNOW, KENNETH H.

 Administrator

   Attorney: PROCHNOW, KENNETH H.


12/04/2020 Petition Hearing 


Original Type
Petition Hearing

~PRO Minute Order - Petition Hearing 12/04/2020

Judicial Officer
Miram, George A.

Hearing Time
9:00 AM

Result
Held

Comment
(*Continued from 10/02/2020) Petition for Title to and Possession of Property Held by Another


12/04/2020 Party appeared by audio and/or video 


  Comment
  Added by automated script
03/03/2021 Petition Hearing 


Original Type
Petition Hearing

~PRO Minute Order - Petition Hearing 03/03/2021

Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM

Result
Held

Comment
Petition for Instructions

Parties Present 
 Petitioner

    Attorney: PROCHNOW, KENNETH H.

  Administrator

    Attorney: PROCHNOW, KENNETH H.


03/03/2021 Party appeared by audio and/or video 


   Comment
   Added by automated script


06/09/2021 Petition Hearing 


Original Type
Petition Hearing

~PRO Minute Order - Petition Hearing 06/09/2021

Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM

Result
Held

Comment
Petition for Instructions

Parties Present 
 Petitioner

    Attorney: PROCHNOW, KENNETH H.

  Administrator

    Attorney: PROCHNOW, KENNETH H.


06/09/2021 Party appeared by audio and/or video 


   Comment
09/03/2021 Request to Continue Hearing 


Request to Continue Hearing Per LR email dated 9/3/21; Petition Hearing will be continued via tentat

   Comment
   Per LR email dated 9/3/21; Petition Hearing will be continued via tentative ruling from 9/7/21 to 11/15/21.


09/03/2021 Continuance Fee re 


   Comment
   Petition Hearing From 9/7/21 To 11/15/21


09/07/2021 Petition Hearing 


Original Type
Petition Hearing

~PRO Minute Order - Petition Hearing 09/07/2021

Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM

Result
Held

Comment
Petition for Instructions


10/14/2021 Inventory & Appraisal 


Inventory & Appraisal FINAL

   Comment
   FINAL


10/14/2021 Amended 


Amended First Amended Petition for Title to and Possession of Property

   Comment
   First Amended Petition for Title to and Possession of Property


10/18/2021 Amended Notice of Hearing & Proof of Service (by Mail) re 


Amended Notice of Hearing & Proof of Service (by Mail) re . Administrator's First Amended Petition f

   Comment
   . Administrator's First Amended Petition for instructions Authorizing and Directing Administrator to Administer
   Asset Held in served on SEE SERVICE LIST with a service date of SEE SERVICE LIST


10/18/2021 Document filed: 


Document filed: ADMINISTRATOR'S FIRST AMENDED PETITION FOR INSTRUCTIONS AUTHORIZING ETC,

   Comment
   ADMINISTRATOR'S FIRST AMENDED PETITION FOR INSTRUCTIONS AUTHORIZING ETC,
10/18/2021 Proposed Order Received 


Proposed Order Received ORDER GRANTING ADMINISTRATOR'S FIRST AMENDED PETITION FOR
INSTRUCTIONS

  Comment
  ORDER GRANTING ADMINISTRATOR'S FIRST AMENDED PETITION FOR INSTRUCTIONS


10/18/2021 Amended Notice of Hearing & Proof of Service (by Mail) re 


Amended Notice of Hearing & Proof of Service (by Mail) re Amended Notice of Hearing on Amended Petit

  Comment
  Amended Notice of Hearing on Amended Petition for Title and Possession of Property served on SEE
  SERVICE LIST with a service date of SEE SERVICE LIST


10/18/2021 Proposed Order Received 


Proposed Order Received Proposed Order on Amended Petition for Title and Possession of Property

  Comment
  Proposed Order on Amended Petition for Title and Possession of Property


10/19/2021 Petition (Subsequent) 


Petition (Subsequent) for Preliminary Distribution

  Comment
  for Preliminary Distribution


10/19/2021 Notice of Hearing re 


Notice of Hearing re Administrator's Petition for Preliminary Distribution2. [Proposed] Order Grant

  Comment
  Administrator's Petition for Preliminary Distribution 2. [Proposed] Order Granting Petition for Preliminary
  Distribution


10/19/2021 Proposed Order Received 


Proposed Order Received ORDER GRANTING ADMINISTRATOR'S PETITION FOR PRELIMINARY
DISTRIBUTION OF THE

  Comment
  ORDER GRANTING ADMINISTRATOR'S PETITION FOR PRELIMINARY DISTRIBUTION OF THE ESTATE


11/08/2021 Proof of Publication of 


Proof of Publication of AMENDED NOTICE OF PETITION TO ADMINISTER ESTATE OF DDANIEL STRANGE

  Comment
  AMENDED NOTICE OF PETITION TO ADMINISTER ESTATE OF DDANIEL STRANGE


11/12/2021 Ex Parte Application 


Ex Parte Application EX PARTE APPLICATION TO CONTINUE NOVEMBER 15, 2021 HEARING

  Comment
11/12/2021 Ex Parte Proposed Order 


Ex Parte Proposed Order court order on ex-parte application to continue november 15, 2021 hearing

   Comment
   court order on ex-parte application to continue november 15, 2021 hearing


11/12/2021 Declaration 


Declaration of ex parte notice

   Comment
   of ex parte notice


11/12/2021 Proof of Service - ELECTRONIC of 


Proof of Service - ELECTRONIC of ex parte application and declaration served on matthew stanford

   Comment
   ex parte application and declaration served on matthew stanford


11/12/2021 Declaration in Support 


Declaration in Support OF EX PARTE MOTION TO CONTINUE HEARING

   Comment
   OF EX PARTE MOTION TO CONTINUE HEARING


11/12/2021 Ex Parte sent to Judicial Officer 


   Judicial Officer
   Grandsaert, John L.


11/12/2021 Proof of Publication of 


Proof of Publication of AMENDED NOTICE OF HEARING - DECEDENT'S ESTATE OR TRUST

   Comment
   AMENDED NOTICE OF HEARING - DECEDENT'S ESTATE OR TRUST


11/15/2021 Petition Hearing 


Original Type
Petition Hearing

~PRO Minute Order - Petition Hearing 11/15/2021

~PRO Minute Order - Petition Hearing 11/15/2021

Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM

Result
Held

Comment
Petition for Instructions
Parties Present 
 Petitioner: NOBLE, LISA JO

   Attorney: PROCHNOW, KENNETH H.

 Administrator

   Attorney: PROCHNOW, KENNETH H.


11/15/2021 Petition Hearing 


Original Type
Petition Hearing

~PRO Minute Order - Petition Hearing 11/15/2021

Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM

Result
Held

Comment
First Amended Petition for Title to and Possession of Property

Parties Present 
 Petitioner: NOBLE, LISA JO

   Attorney: PROCHNOW, KENNETH H.

 Administrator

   Attorney: PROCHNOW, KENNETH H.


11/15/2021 Order Denying 


Order Denying COURT ORDER ON EX-PARTE TO CONTINUE NOVEMBER 15, 2021 HEARING

  Comment
  COURT ORDER ON EX-PARTE TO CONTINUE NOVEMBER 15, 2021 HEARING


11/15/2021 Ex Parte Cover Sheet 


Ex Parte Cover Sheet


11/15/2021 Party appeared by audio and/or video


11/15/2021 Party appeared by audio and/or video


11/17/2021 Order 


Order ORDER GRANTING ADMINISTRATOR'S FIRST AMENDED PETITION FOR INSTRUCTIONS

  Comment
  ORDER GRANTING ADMINISTRATOR'S FIRST AMENDED PETITION FOR INSTRUCTIONS


11/30/2021 Notice of Entry of Order 


Notice of Entry of Order NOTICE OF ENTRY OF ORDER GRANTING ADMINISTRATOR'S FRIST AMENDED
   Comment
   NOTICE OF ENTRY OF ORDER GRANTING ADMINISTRATOR'S FRIST AMENDED PETITION FOR
   INSTRUCTIONS


01/24/2022 Petition for Preliminary Distribution 


Original Type
Petition for Preliminary Distribution

~PRO Minute Order - Petition for Preliminary Distribution 01/24/2022

Judicial Officer
Scott, Joseph C.

Hearing Time
9:00 AM

Result
Held

Parties Present 
 Petitioner

    Attorney: PROCHNOW, KENNETH H.

  Administrator

    Attorney: PROCHNOW, KENNETH H.


01/24/2022 Proof of Publication of 


Proof of Publication of PETITION FOR PRELIMINARY DISTRIBUTION

   Comment
   PETITION FOR PRELIMINARY DISTRIBUTION


01/24/2022 Proof of Service by MAIL of 


Proof of Service by MAIL of NOTICE OF HEARING ON PETITION FOR PRELIMINARY DISTRIBUTION,
ADMINISTRATO

   Comment
   NOTICE OF HEARING ON PETITION FOR PRELIMINARY DISTRIBUTION, ADMINISTRATOR'S PETITION
   FOR PRELIMINARY DISTRIBUTION OF THE ESTATE, [PROPOSED] ORDER GRANTING
   ADMINISTRATOR'S PETITION FOR PRELIMIARY DISTRIBUTION served on SEE SERVICE LIST


01/25/2022 Proof of Service by MAIL of 


Proof of Service by MAIL of Notice of Entry of Order to Show Cause served on SEE SERVICE LIST

   Comment
   Notice of Entry of Order to Show Cause served on SEE SERVICE LIST


01/25/2022 Proof of Service by PERSONAL SERVICE of 


Proof of Service by PERSONAL SERVICE of Notice of Entry of Order to Show Cause served on SEE SERVICE

   Comment
   Notice of Entry of Order to Show Cause served on SEE SERVICE LIST


01/25/2022 Declaration of Due Diligence 
Declaration of Due Diligence


02/04/2022 Demurrer to 


Demurrer to DEMURRER TO FIRST AMENDED 850 PETITION OF LISA JO NOBLE

  Comment
  DEMURRER TO FIRST AMENDED 850 PETITION OF LISA JO NOBLE


02/04/2022 Declaration in Support 


Declaration in Support DECLARATION IN SUPPORT OF GOOD FAITH ATTEMPT TO MEET AND CONFER

  Comment
  DECLARATION IN SUPPORT OF GOOD FAITH ATTEMPT TO MEET AND CONFER


02/04/2022 Request for Judicial Notice 


Request for Judicial Notice


02/04/2022 Demurrer to 


Demurrer to FIRST AMENDED 850 PETITION OF LISA JO NOBLE

  Comment
  FIRST AMENDED 850 PETITION OF LISA JO NOBLE


02/04/2022 Declaration in Support 


Declaration in Support DECLARATION OF NADA DHABI IN SUPPORT OF GOOD FAITH MEET AND CONFER

  Comment
  DECLARATION OF NADA DHABI IN SUPPORT OF GOOD FAITH MEET AND CONFER


02/04/2022 Declaration in Opposition 


Declaration in Opposition DCLARATION OF NADA DHAHBI IN OPPOSITION TO OSC RE GRANTING OF THE
850 PETI

  Comment
  DCLARATION OF NADA DHAHBI IN OPPOSITION TO OSC RE GRANTING OF THE 850 PETITION


02/04/2022 Request for Judicial Notice 


Request for Judicial Notice


02/04/2022 Declaration in Opposition 


Declaration in Opposition DECLARATION OF EYAD YASER ABDELJAWAD IN OPPOSITION TO OSC RE
GRANTING OF 8

  Comment
  DECLARATION OF EYAD YASER ABDELJAWAD IN OPPOSITION TO OSC RE GRANTING OF 850
  PETITION


02/07/2022 Report 
   Comment
   STATUS REPORT AS TO SERVICE ON RESPONDENTS


02/07/2022 Notice 


Notice NOTICE OF REMOTE APPEARANCE

   Comment
   NOTICE OF REMOTE APPEARANCE


02/08/2022 Proof of Service by MAIL of 


Proof of Service by MAIL of NOTICE OF LIMITED SCOPE REPRESENTATION; DECLARATION OF NADA
DHAHBI IN OP

   Comment
   NOTICE OF LIMITED SCOPE REPRESENTATION; DECLARATION OF NADA DHAHBI IN OPPOSITION TO
   OSC, ETC., ET.,C served on LAW OFFICE OF KENNETH PROCHNOW


02/08/2022 Proof of Service by MAIL of 


Proof of Service by MAIL of NOTICE OF LIMITED SCOPE REPRESENTATION; DECLARATION OF NADA
DHAHBHI IN O

   Comment
   NOTICE OF LIMITED SCOPE REPRESENTATION; DECLARATION OF NADA DHAHBHI IN OPPOSITION
   TO OSC, ETC., ETC., served on BRIDGEPOINT LAW GROUP, APC


02/08/2022 Order 


Order Order Granting Administrator's Petition for Preliminary Distribution

   Comment
   Order Granting Administrator's Petition for Preliminary Distribution


02/10/2022 Order to Show Cause Hearing 


Original Type
Order to Show Cause Hearing

~PRO Minute Order - Order to Show Cause Hearing 02/10/2022

Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM

Result
Held

Comment
AS TO WHY THE 850 PETITION SHOULD NOT BE GRANTED

Parties Present 
 Petitioner: NOBLE, LISA JO

    Attorney: PROCHNOW, KENNETH H.

  Administrator

    Attorney: PROCHNOW, KENNETH H.
02/10/2022 Party appeared by audio and/or video


02/22/2022 Objection/Opposition to 


Objection/Opposition to PETITIONER/ADMINISTRATOR'S OPPOSITION TO DEMURRERS TO FIRST AMENDED
PETITION

  Comment
  PETITIONER/ADMINISTRATOR'S OPPOSITION TO DEMURRERS TO FIRST AMENDED PETITION FOR
  TITLE TO AND POSSESSION OF PROPERTY HELD BY ANOTHER, AND FOR ORDER CONVEYING ETC.


02/22/2022 Document filed: 


Document filed: ADMINISTRATOR NOBLE'S JOINDER IN REQUEST FOR JUDICIAL NOTICE/REQUEST FOR
JUDICAL NOT

  Comment
  ADMINISTRATOR NOBLE'S JOINDER IN REQUEST FOR JUDICIAL NOTICE/REQUEST FOR JUDICAL
  NOTICE IN OPPOSITION ETC.


02/22/2022 Proposed Order Received 


Proposed Order Received [Proposed] ORDER OVERRULING THE DEMURRERS OF NATIONAL RECOVERY
SOLUTIONS AND

  Comment
  [Proposed] ORDER OVERRULING THE DEMURRERS OF NATIONAL RECOVERY SOLUTIONS AND
  EYAD YASER ABDELJAWAD TO ADMINISTRATOR'S FIRST AMENDED PROBATE CODE 850 PETITION
  FOR TITLE TO AND POSSESSION OF PROPERTY HELD BY ANOTHER


02/22/2022 Proof of Service by MAIL of 


Proof of Service by MAIL of PETITIONER/ADMINISTRATOR'S OPPOSITION TO DEMURRERS TO "FIRST ETC.
served

  Comment
  PETITIONER/ADMINISTRATOR'S OPPOSITION TO DEMURRERS TO "FIRST ETC. served on SEE
  SERVICE LIST


02/23/2022 Declaration 


Declaration DECLARATION OF NADA DHAHBI, ESQ

  Comment
  DECLARATION OF NADA DHAHBI, ESQ


02/28/2022 Reply Filed 


Reply Filed REPLY BRIEF IN SUPPORT OF DEMURRER

  Comment
  REPLY BRIEF IN SUPPORT OF DEMURRER


02/28/2022 Objection/Opposition to 


Objection/Opposition to RESPONDENT ABDELJAWAD'S OBJECTION TO REQUEST FOR JUDICIAL NOTICE

  Comment
03/04/2022 Hearing on Demurrer 


Original Type
Hearing on Demurrer

~PRO Minute Order - Hearing on Demurrer 03/04/2022

Judicial Officer
Novak, Lisa A.

Hearing Time
9:00 AM

Result
Held

Parties Present 
 Petitioner

    Attorney: PROCHNOW, KENNETH H.

  Administrator

    Attorney: PROCHNOW, KENNETH H.

  Respondent: Abdeljawad, Eyad


03/04/2022 Hearing on Demurrer 


Original Type
Hearing on Demurrer

~PRO Minute Order - Hearing on Demurrer 03/04/2022

Judicial Officer
Novak, Lisa A.

Hearing Time
9:00 AM

Result
Held

Parties Present 
 Petitioner

    Attorney: PROCHNOW, KENNETH H.

  Administrator

    Attorney: PROCHNOW, KENNETH H.

  Respondent: Abdeljawad, Eyad


03/04/2022 Order to Show Cause Hearing 


Original Type
Order to Show Cause Hearing

~PRO Minute Order - Order to Show Cause Hearing 03/04/2022

Judicial Officer
Novak, Lisa A.

Hearing Time
9:00 AM
Result
Held

Comment
AS TO WHY THE 850 PETITION SHOULD NOT BE GRANTED

Parties Present 
 Petitioner

   Attorney: PROCHNOW, KENNETH H.

 Administrator: NOBLE, LISA JO

   Attorney: PROCHNOW, KENNETH H.

 Respondent: Abdeljawad, Eyad


03/04/2022 Case ordered off calendar


03/04/2022 Party appeared by audio and/or video 


  Comment
  Nada Dhahbi for NRS


03/04/2022 Party appeared by audio and/or video 


  Comment
  Nada Dhahbi for NRS


03/08/2022 Notice of Entry of Order 


Notice of Entry of Order NOTICE OF ENTRY OF ORDER ON DEMURRERS ADOPTING TENTATIVE RULING
AND CONTINU

  Comment
  NOTICE OF ENTRY OF ORDER ON DEMURRERS ADOPTING TENTATIVE RULING AND CONTINUING
  MATTER


03/21/2022 Notice of Motion and Motion 


Notice of Motion and Motion OF RESPONDENT EYAD YASER ABDELJAWADTO COMPEL RESPONSES TO
FORM INTERROGA

  Comment
  OF RESPONDENT EYAD YASER ABDELJAWADTO COMPEL RESPONSES TO FORM
  INTERROGATORIES AGAINST PETITIONER LISA JO NOBILE; REQUEST FOR SANCTIONS IN THE
  AMOUNT OF $1,760.00


03/21/2022 Notice of Motion and Motion 


Notice of Motion and Motion OF RESPONDENT EYAD YASER ABDELJAWARD TO COMPEL RESPONSES TO
SPECIAL INTE

  Comment
  OF RESPONDENT EYAD YASER ABDELJAWARD TO COMPEL RESPONSES TO SPECIAL
  INTERROGATORIES AGAINST PETITIONA LISA JO NOBLE; REQUEST FOR SANCTIONS IN THE
  AMOUNT OF $1,760.00


03/21/2022 Notice of Motion and Motion 
Notice of Motion and Motion OF EYAD YASER ABDELJAWARD TO COMPEL RESPONSES TO DEMAND FOR
PRODUCTION O

  Comment
  OF EYAD YASER ABDELJAWARD TO COMPEL RESPONSES TO DEMAND FOR PRODUCTION OF
  DOCUMENT AGAINST PETITIONER LIST JO NOBLE; REQUESTFOR SANCTIONS IN THE AMOUNT OF
  $1,768.00


03/21/2022 Notice of Motion and Motion 


Notice of Motion and Motion OF RESPONDENT EYAD YASER ABDELJAWARD TO DEEM ADMISSIONS
AGAINST PETITION

  Comment
  OF RESPONDENT EYAD YASER ABDELJAWARD TO DEEM ADMISSIONS AGAINST PETITIONER LISA
  JO NOBLE; REQUEST FOR SANCTIONS IN THE AMOUNT OF $1,760.00


03/21/2022 Declaration in Support 


Declaration in Support DECLARATION OF EYAD YASER ABDELJAWARD IN SUPPORT OF MOTION TO
RESPONSE TO FOR

  Comment
  DECLARATION OF EYAD YASER ABDELJAWARD IN SUPPORT OF MOTION TO RESPONSE TO FORM
  INTERROGATORIES; REQUEST FOR SANCTIONS AGAINST PETITIONER AND COUNSEL IN THE
  AMOUNT OF $1,760.00


03/21/2022 Declaration in Support 


Declaration in Support DECLARATION OF EYAD YASER ABDELJAWARD IN SUPPORT OF MOTION TO
RESPONSE TO SPE

  Comment
  DECLARATION OF EYAD YASER ABDELJAWARD IN SUPPORT OF MOTION TO RESPONSE TO
  SPECIAL INTERROGATORIES; REQUEST FOR SANCTIONS AGAINST PETITIONER AND COUNSEL IN
  THE AMOUNT OF $1,760.00


03/21/2022 Declaration in Support 


Declaration in Support DECLARATION OF EYAD YASER ABDELJAWARD IN SUPPORT OF MOTION TO
COMPEL PRODUCTI

  Comment
  DECLARATION OF EYAD YASER ABDELJAWARD IN SUPPORT OF MOTION TO COMPEL PRODUCTION
  OF DOCUMENTS; REQUEST FOR SANCTIONS AGAINST PETITIONER AND COUNSEL IN THE AMOUNT
  OF $1,760.00


03/21/2022 Declaration in Support 


Declaration in Support DECLARATION OF EYAD YASER ABDELJAWARD IN SUPPORT OF MOTION TO DEEM
ADMISSIONS

  Comment
  DECLARATION OF EYAD YASER ABDELJAWARD IN SUPPORT OF MOTION TO DEEM ADMISSIONS;
  REQUEST FOR SANCTIONS AGIANST PETITIONER AND COUNSEL IN THE AMOUNT OF $1,760.00


03/21/2022 Proposed Order Received 


Proposed Order Received COMPELLING ANSWERS WITHOUT OBJECTIONS TO FORM INTERROGATORIES
  Comment
  COMPELLING ANSWERS WITHOUT OBJECTIONS TO FORM INTERROGATORIES


03/21/2022 Proposed Order Received 


Proposed Order Received COMPELLING ANSWERS WITHOUT OBJECTIONS TO SPECIAL
INTERROGATORIES

  Comment
  COMPELLING ANSWERS WITHOUT OBJECTIONS TO SPECIAL INTERROGATORIES


03/21/2022 Proposed Order Received 


Proposed Order Received COMPELLING COMPLIANCE WITH INSPECTION DEMANDS

  Comment
  COMPELLING COMPLIANCE WITH INSPECTION DEMANDS


03/21/2022 Proposed Order Received 


Proposed Order Received ESTABLISH ADMISSIONS

  Comment
  ESTABLISH ADMISSIONS


04/07/2022 Notice of Hearing & Proof of Service (by Mail) re 


Notice of Hearing & Proof of Service (by Mail) re MOTION TO COMPEL RESPONSES TO FORM
INTERROGATORIES

  Comment
  MOTION TO COMPEL RESPONSES TO FORM INTERROGATORIES; REQUESTFOR SANCTIONS served
  on SEE SERVICE LIST with a service date of 03/30/2022


06/24/2022 Objection/Opposition to 


Objection/Opposition to OPPOSITIONAND OBJECTION OF ADMINISTRATOR LISA NOBLE TO MOTIONS OF
RESPONDENT

  Comment
  OPPOSITIONAND OBJECTION OF ADMINISTRATOR LISA NOBLE TO MOTIONS OF RESPONDENT
  EYAD YASER ABDELJAWAD: (1) TO COMPEL ANSWERS TO FORM INTERROGATORIES; (2) TO
  COMPEL ANSWERS TO SPECIAL INTERROGATORIES; (3) TO COMPEL RESPONSES TO REQUESTS
  FOR ADMISSIONS; AND (4) TO COMPEL RESPONSES TO REQUESTS FOR ADMISSIONS/
  MEMORANDUM OF POINTS AND AUTHORITIES


06/28/2022 Reply Filed 


Reply Filed RESPONDENT EYAD YASER ABDELJAWAD'S CONSOLIDATED REPLY BRIEF IN SUPPORT OF
MOTIONS TO COM

  Comment
  RESPONDENT EYAD YASER ABDELJAWAD'S CONSOLIDATED REPLY BRIEF IN SUPPORT OF
  MOTIONS TO COMPEL


06/30/2022 Notice of Related Case 


Notice of Related Case
06/30/2022 Case Management Statement 


Case Management Statement


07/01/2022 Report 


Report RESPONDENT EYAD YASER ABDELJAWADS STATUS REPORT

  Comment
  RESPONDENT EYAD YASER ABDELJAWADS STATUS REPORT


07/06/2022 Hearing on Demurrer 


Original Type
Hearing on Demurrer

~PRO Minute Order - Hearing on Demurrer 07/06/2022

Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM

Result
Held

Parties Present 
 Petitioner: NOBLE, LISA JO

   Attorney: PROCHNOW, KENNETH H.

 Administrator

   Attorney: PROCHNOW, KENNETH H.

 Respondent

   Attorney: ABDELJAWAD, EYAD YASER


07/06/2022 Hearing on Demurrer 


Original Type
Hearing on Demurrer

~PRO Minute Order - Hearing on Demurrer 07/06/2022

Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM

Result
Held

Parties Present 
 Petitioner

   Attorney: PROCHNOW, KENNETH H.

 Proposed Personal Representative: NOBLE, LISA JO

 Administrator
 Respondent

   Attorney: ABDELJAWAD, EYAD YASER


07/06/2022 Motion hearings 


Original Type
Motion hearings

~PRO Minute Order - Motion hearings 07/06/2022

Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM

Result
Held

Comment
NOTICE OF MOTION; MOTION OF RESPONDENT EYAD YASER ABDELJAWADTO COMPEL RESPONSES TO
FORM INTERROGATORIES AGAINST PETITIONER LISA JO NOBLE; REQUEST FOR SANCTIONS IN THE
AMOUNT OF $1,7600.00

Parties Present 
 Petitioner: NOBLE, LISA JO

   Attorney: PROCHNOW, KENNETH H.

 Administrator

   Attorney: PROCHNOW, KENNETH H.

 Respondent

   Attorney: ABDELJAWAD, EYAD YASER


07/06/2022 Motion hearings 


Original Type
Motion hearings

~PRO Minute Order - Motion hearings 07/06/2022

Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM

Result
Held

Comment
NOTICE OF MOTION; MOTION OF RESPONDENT EYAD YASER ABDELJAWARD TO COMPEL RESPONSES
TO SPECIAL INTERROGATORIES AGAINST PETITIONER LISA JO NOBLE; REQUEST FOR SANCTIONS IN
THE AMOUNT OF $1,760.00

Parties Present 
 Petitioner: NOBLE, LISA JO

   Attorney: PROCHNOW, KENNETH H.

 Administrator

   Attorney: PROCHNOW, KENNETH H.
 Respondent

   Attorney: ABDELJAWAD, EYAD YASER


07/06/2022 Motion hearings 


Original Type
Motion hearings

~PRO Minute Order - Motion hearings 07/06/2022

Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM

Result
Held

Comment
NOTICE OF MOTION; MOTION OF RESPONDENT EYAD YASER ABDELJAWARD TO COMPEL RESPONSES
TO DEMAND FOR PODUCTIONS OF DOCUMENT AGAINST PETITIONER LISA JO NOBLE; REQUEST FOR
SANCTIONS IN THE AMOUNT OF $1,760.00

Parties Present 
 Petitioner: NOBLE, LISA JO

   Attorney: PROCHNOW, KENNETH H.

 Administrator

   Attorney: PROCHNOW, KENNETH H.

 Respondent

   Attorney: ABDELJAWAD, EYAD YASER


07/06/2022 Motion hearings 


Original Type
Motion hearings

~PRO Minute Order - Motion hearings 07/06/2022

Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM

Result
Held

Comment
NOTICE OF MOTION; MOTION FOR RESPONDENT EYAD YASER ABDELJAWAD TO DEEM ADMISSIONS
AGAINST PETITIONER LIS JO NOBLE; REQUEST FOR SANCTIONS IN THE AMOUNT OF $1,760.00

Parties Present 
 Petitioner: NOBLE, LISA JO

   Attorney: PROCHNOW, KENNETH H.

 Administrator

   Attorney: PROCHNOW, KENNETH H.

 Respondent
   Attorney: ABDELJAWAD, EYAD YASER


07/06/2022 Party appeared by audio and/or video


07/06/2022 Party appeared by audio and/or video


07/06/2022 Party appeared by audio and/or video


07/06/2022 Party appeared by audio and/or video


07/06/2022 Tentative ruling adopted and becomes order: 


  Comment
  MOTION OF RESPONDENT EYAD YASER ABDELJAWADTO COMPEL RESPONSES TO FORM
  INTERROGATORIES AGAINST PETITIONER LISA JO NOBLE; REQUEST FOR SANCTIONS IN THE
  AMOUNT OF $1,760.00 (Filed 3/21/22 by Eyad Yaser Abdeljawad) is DENIED WITHOUT PREJUDICE.


07/06/2022 Tentative ruling adopted and becomes order: 


  Comment
  MOTION OF RESPONDENT EYAD YASER ABDELJAWADTO COMPEL RESPONSES TO SPECIAL
  INTERROGATORIES AGAINST PETITIONER LISA JO NOBLE; REQUEST FOR SANCTIONS IN THE
  AMOUNT OF $1,760.00 (Filed 3/21/22 by Eyad Yaser Abdeljawad) is DENIED WITHOUT PREJUDICE.


07/06/2022 Party appeared by audio and/or video


07/06/2022 Tentative ruling adopted and becomes order: 


  Comment
  MOTION OF RESPONDENT EYAD YASER ABDELJAWADTO COMPEL RESPONSES TO DEMAND FOR
  PRODUCTION OF DOCUMENT AGAINST PETITIONER LISA JO NOBLE; REQUEST FOR SANCTIONS IN
  THE AMOUNT OF $1,760.00 (Filed 3/21/22 by Eyad Yaser Abdeljawad) is DENIED WITHOUT PREJUDICE.


07/06/2022 Party appeared by audio and/or video


07/06/2022 Tentative ruling adopted and becomes order: 


  Comment
  MOTION OF RESPONDENT EYAD YASER ABDELJAWADTO TO DEEM ADMISSIONS AGAINST
  PETITIONER LISA JO NOBLE; REQUEST FOR SANCTIONS IN THE AMOUNT OF $1,760.00 (Filed 3/21/22
  by Eyad Yaser Abdeljawad) is DENIED WITHOUT PREJUDICE.


07/06/2022 Tentative ruling modified and becomes order: 


  Comment
  Demurrers are continued to November 2, 2022 at 9:00 a.m.


07/06/2022 Tentative ruling modified and becomes order: 


  Comment
  Demurrers are continued to November 2, 2022 at 9:00 a.m.


11/02/2022 Hearing on Demurrer 
Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM


11/02/2022 Hearing on Demurrer 


Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM


11/02/2022 Motion hearings 


Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM

Comment
MOTION OF RESPONDENT EYAD YASER ABDELJAWADTO COMPEL RESPONSES TO FORM
INTERROGATORIES AGAINST PETITIONER LISA JO NOBLE; REQUEST FOR SANCTIONS IN THE AMOUNT
OF $1,760.00 (Filed 3/21/22 by Eyad Yaser Abdeljawad)


11/02/2022 Motion hearings 


Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM

Comment
MOTION OF RESPONDENT EYAD YASER ABDELJAWADTO COMPEL RESPONSES TO SPECIAL
INTERROGATORIES AGAINST PETITIONER LISA JO NOBLE; REQUEST FOR SANCTIONS IN THE AMOUNT
OF $1,760.00 (Filed 3/21/22 by Eyad Yaser Abdeljawad)


11/02/2022 Motion hearings 


Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM

Comment
MOTION OF RESPONDENT EYAD YASER ABDELJAWADTO TO DEEM ADMISSIONS AGAINST PETITIONER
LISA JO NOBLE; REQUEST FOR SANCTIONS IN THE AMOUNT OF $1,760.00 (Filed 3/21/22 by Eyad Yaser
Abdeljawad)


11/02/2022 Motion hearings 


Judicial Officer
Grandsaert, John L.

Hearing Time
9:00 AM
  Comment
  MOTION OF RESPONDENT EYAD YASER ABDELJAWADTO COMPEL RESPONSES TO DEMAND FOR
  PRODUCTION OF DOCUMENT AGAINST PETITIONER LISA JO NOBLE; REQUEST FOR SANCTIONS IN THE
  AMOUNT OF $1,760.00 (Filed 3/21/22 by Eyad Yaser Abdeljawad)




Financial

STRANGE, DANIEL
     Total Financial Assessment                                                            $465.00
     Total Payments and Credits                                                            $465.00


 5/22/2019       Transaction Assessment                                                   $465.00

 5/22/2019       eFile Online Payment       Receipt # 2019-033407-HOJ   NOBLE, LISA JO   ($465.00)
NOBLE, LISA JO
     Total Financial Assessment                                                          $1,001.00
     Total Payments and Credits                                                            $981.00


 7/11/2019       Transaction                                                               $51.00
                 Assessment

 7/11/2019       Case Payment           Receipt # 2019-        NATIONAL RECOVERY          ($25.50)
                                        043561-HOJ             SOLUTIONS

 7/11/2019       Case Payment           Receipt # 2019-        ABDELJAWAD, EYAD YASER     ($25.50)
                                        043562-HOJ

 9/3/2021        Transaction                                                               $20.00
                 Assessment

 10/15/2021      Transaction                                                              $465.00
                 Assessment

 10/15/2021      eFile Online           Receipt # 2021-        NOBLE, LISA JO            ($465.00)
                 Payment                042928-HOJ

 10/20/2021      Transaction                                                              $465.00
                 Assessment

 10/20/2021      eFile Online           Receipt # 2021-        NOBLE, LISA JO            ($465.00)
                 Payment                043446-HOJ
NOBLE, LISA JO
     Total Financial Assessment                                                            $970.00
     Total Payments and Credits                                                            $930.00


 8/18/2020       Transaction Assessment                                                   $930.00

 8/18/2020       eFile Online Payment       Receipt # 2020-032451-HOJ   NOBLE, LISA JO   ($930.00)

 9/28/2020       Transaction Assessment                                                    $20.00
 9/28/2020         Transaction Assessment                                                                   $20.00
National Recovery Solutions
      Total Financial Assessment                                                                             $90.00
      Total Payments and Credits                                                                             $90.00


 2/7/2022      Transaction                                                                                  $90.00
               Assessment

 2/7/2022      eFile Online Payment          Receipt # 2022-004863-           National Recovery            ($90.00)
                                             HOJ                              Solutions
Abdeljawad, Eyad
      Total Financial Assessment                                                                            $885.00
      Total Payments and Credits                                                                            $885.00


 11/12/2021        Transaction                                                                             $435.00
                   Assessment

 11/12/2021        Case Payment               Receipt # 2021-046938-          SWIFT ATTORNEY              ($435.00)
                                              HOJ                             SERVICE

 2/7/2022          Transaction                                                                              $90.00
                   Assessment

 2/7/2022          eFile Online Payment       Receipt # 2022-004858-          Abdeljawad, Eyad             ($90.00)
                                              HOJ

 3/24/2022         Transaction                                                                             $360.00
                   Assessment

 3/24/2022         eFile Online Payment       Receipt # 2022-011760-          Abdeljawad, Eyad            ($360.00)
                                              HOJ




Documents


   Petition for Letters of Administration & Authorization to Administer Under the IAEA
   Notice of Petition to Administer Estate
   Duties and Liabilities signed

   Proposed Order Received ORDER FOR PROBATE
   Affidavit of Publication of NOTICE OF PETITION TO ADMINISTER ESTATE
   ~PRO Minute Order - Letters of Administration Hearing with ATA 06/28/2019

   Document Returned: MINUTE ORDER, ORIGINAL LETTERS, AND CHECK #0360 returned to ATTORNEY per
   Clerk's
   Request for Appointment of CA Probate Referee Probate Referee appointed: Not Applicable - The estate
   Order for Probate; Personal Representative appointed as Administrator with Full Authority. Bond: $20

   Bond Capacity: ADMINISTRATOR
   Letters of Administration issued to Personal Representative with FULL authority
Substitution of Attorney as to
Petition (Subsequent) Petition for Title to and Possession of Property Held by Another

Proposed Order Received Proposed Order Granting Administrator's Petition for Title to and Possession
Petition (Subsequent) PETITION FOR INSTRUCTIONS
Proposed Order Received Proposed Order Granting Petition for Instructions

Notice of Hearing re Petition for Title to and Possession of Property Held by Another
Notice of Hearing re PETITION FOR INSTRUCTIONS
Proof of Service by MAIL of Proof of Service of Petition for Instructions served on SEEE SERVICE ,IS

Proof of Service by MAIL of Proof of Service of Petition for Title to and Possession of Property ser
Proof of Service by MAIL of Notice of Hearing-Decedent's Estate or Trust, a copy of the petition or
Proof of Service by MAIL of Notice of Hearing-Decedent's Estate or Trust, a copy of the petition or
~PRO Minute Order - Petition Hearing 10/02/2020

~PRO Minute Order - Petition Hearing 10/02/2020
~PRO Minute Order - Petition Hearing 12/04/2020
~PRO Minute Order - Petition Hearing 12/04/2020

~PRO Minute Order - Petition Hearing 03/03/2021
~PRO Minute Order - Petition Hearing 06/09/2021
Request to Continue Hearing Per LR email dated 9/3/21; Petition Hearing will be continued via tentat

~PRO Minute Order - Petition Hearing 09/07/2021
Inventory & Appraisal FINAL
Amended First Amended Petition for Title to and Possession of Property

Amended Notice of Hearing & Proof of Service (by Mail) re . Administrator's First Amended Petition f
Document filed: ADMINISTRATOR'S FIRST AMENDED PETITION FOR INSTRUCTIONS AUTHORIZING ETC,
Proposed Order Received ORDER GRANTING ADMINISTRATOR'S FIRST AMENDED PETITION FOR
INSTRUCTIONS

Amended Notice of Hearing & Proof of Service (by Mail) re Amended Notice of Hearing on Amended Petit
Proposed Order Received Proposed Order on Amended Petition for Title and Possession of Property
Petition (Subsequent) for Preliminary Distribution

Notice of Hearing re Administrator's Petition for Preliminary Distribution2. [Proposed] Order Grant
Proposed Order Received ORDER GRANTING ADMINISTRATOR'S PETITION FOR PRELIMINARY
DISTRIBUTION OF THE
Proof of Publication of AMENDED NOTICE OF PETITION TO ADMINISTER ESTATE OF DDANIEL STRANGE
Ex Parte Application EX PARTE APPLICATION TO CONTINUE NOVEMBER 15, 2021 HEARING

Ex Parte Proposed Order court order on ex-parte application to continue november 15, 2021 hearing
Declaration in Support OF EX PARTE MOTION TO CONTINUE HEARING
Proof of Service - ELECTRONIC of ex parte application and declaration served on matthew stanford

Declaration of ex parte notice
Order Denying COURT ORDER ON EX-PARTE TO CONTINUE NOVEMBER 15, 2021 HEARING
Ex Parte Cover Sheet

Proof of Publication of AMENDED NOTICE OF HEARING - DECEDENT'S ESTATE OR TRUST
Order ORDER GRANTING ADMINISTRATOR'S FIRST AMENDED PETITION FOR INSTRUCTIONS
~PRO Minute Order - Petition Hearing 11/15/2021

~PRO Minute Order - Petition Hearing 11/15/2021
~PRO Minute Order - Petition Hearing 11/15/2021
Notice of Entry of Order NOTICE OF ENTRY OF ORDER GRANTING ADMINISTRATOR'S FRIST AMENDED
PETITION FO

Proof of Publication of PETITION FOR PRELIMINARY DISTRIBUTION
Proof of Service by MAIL of NOTICE OF HEARING ON PETITION FOR PRELIMINARY DISTRIBUTION,
ADMINISTRATO
Proof of Service by MAIL of Notice of Entry of Order to Show Cause served on SEE SERVICE LIST
Proof of Service by PERSONAL SERVICE of Notice of Entry of Order to Show Cause served on SEE SERVICE

Declaration of Due Diligence
~PRO Minute Order - Petition for Preliminary Distribution 01/24/2022
Demurrer to DEMURRER TO FIRST AMENDED 850 PETITION OF LISA JO NOBLE

Declaration in Support DECLARATION IN SUPPORT OF GOOD FAITH ATTEMPT TO MEET AND CONFER
Request for Judicial Notice
Demurrer to FIRST AMENDED 850 PETITION OF LISA JO NOBLE

Declaration in Support DECLARATION OF NADA DHABI IN SUPPORT OF GOOD FAITH MEET AND CONFER
Declaration in Opposition DCLARATION OF NADA DHAHBI IN OPPOSITION TO OSC RE GRANTING OF THE
850 PETI
Request for Judicial Notice
Declaration in Opposition DECLARATION OF EYAD YASER ABDELJAWAD IN OPPOSITION TO OSC RE
GRANTING OF 8

Report STATUS REPORT AS TO SERVICE ON RESPONDENTS
Notice NOTICE OF REMOTE APPEARANCE
Proof of Service by MAIL of NOTICE OF LIMITED SCOPE REPRESENTATION; DECLARATION OF NADA
DHAHBI IN OP
Proof of Service by MAIL of NOTICE OF LIMITED SCOPE REPRESENTATION; DECLARATION OF NADA
DHAHBHI IN O

Order Order Granting Administrator's Petition for Preliminary Distribution
~PRO Minute Order - Order to Show Cause Hearing 02/10/2022
Declaration DECLARATION OF NADA DHAHBI, ESQ

Objection/Opposition to PETITIONER/ADMINISTRATOR'S OPPOSITION TO DEMURRERS TO FIRST AMENDED
PETITION

Document filed: ADMINISTRATOR NOBLE'S JOINDER IN REQUEST FOR JUDICIAL NOTICE/REQUEST FOR
JUDICAL NOT
Proposed Order Received [Proposed] ORDER OVERRULING THE DEMURRERS OF NATIONAL RECOVERY
SOLUTIONS AND
Proof of Service by MAIL of PETITIONER/ADMINISTRATOR'S OPPOSITION TO DEMURRERS TO "FIRST ETC.
served
Reply Filed REPLY BRIEF IN SUPPORT OF DEMURRER

Objection/Opposition to RESPONDENT ABDELJAWAD'S OBJECTION TO REQUEST FOR JUDICIAL NOTICE
Notice of Entry of Order NOTICE OF ENTRY OF ORDER ON DEMURRERS ADOPTING TENTATIVE RULING
AND CONTINU
Notice of Motion and Motion OF RESPONDENT EYAD YASER ABDELJAWADTO COMPEL RESPONSES TO
FORM INTERROGA
Notice of Motion and Motion OF RESPONDENT EYAD YASER ABDELJAWARD TO COMPEL RESPONSES TO
SPECIAL INTE
Notice of Motion and Motion OF EYAD YASER ABDELJAWARD TO COMPEL RESPONSES TO DEMAND FOR
PRODUCTION O

Notice of Motion and Motion OF RESPONDENT EYAD YASER ABDELJAWARD TO DEEM ADMISSIONS
AGAINST PETITION
Declaration in Support DECLARATION OF EYAD YASER ABDELJAWARD IN SUPPORT OF MOTION TO
RESPONSE TO FOR
Declaration in Support DECLARATION OF EYAD YASER ABDELJAWARD IN SUPPORT OF MOTION TO
RESPONSE TO SPE
Declaration in Support DECLARATION OF EYAD YASER ABDELJAWARD IN SUPPORT OF MOTION TO
COMPEL PRODUCTI
Declaration in Support DECLARATION OF EYAD YASER ABDELJAWARD IN SUPPORT OF MOTION TO DEEM
ADMISSIONS
Proposed Order Received COMPELLING ANSWERS WITHOUT OBJECTIONS TO FORM INTERROGATORIES

Proposed Order Received COMPELLING ANSWERS WITHOUT OBJECTIONS TO SPECIAL
INTERROGATORIES

Proposed Order Received COMPELLING COMPLIANCE WITH INSPECTION DEMANDS
Proposed Order Received ESTABLISH ADMISSIONS
Notice of Hearing & Proof of Service (by Mail) re MOTION TO COMPEL RESPONSES TO FORM
INTERROGATORIES

Objection/Opposition to OPPOSITIONAND OBJECTION OF ADMINISTRATOR LISA NOBLE TO MOTIONS OF
RESPONDENT

Reply Filed RESPONDENT EYAD YASER ABDELJAWAD'S CONSOLIDATED REPLY BRIEF IN SUPPORT OF
MOTIONS TO COM
~PRO Minute Order - Order to Show Cause Hearing 03/04/2022
~PRO Minute Order - Hearing on Demurrer 03/04/2022

~PRO Minute Order - Hearing on Demurrer 03/04/2022
Notice of Related Case
Case Management Statement

Report RESPONDENT EYAD YASER ABDELJAWADS STATUS REPORT
~PRO Minute Order - Hearing on Demurrer 07/06/2022
~PRO Minute Order - Hearing on Demurrer 07/06/2022

~PRO Minute Order - Motion hearings 07/06/2022
~PRO Minute Order - Motion hearings 07/06/2022
~PRO Minute Order - Motion hearings 07/06/2022

~PRO Minute Order - Motion hearings 07/06/2022
EXHIBIT D
                                                                    Electronically
Kenneth H. ProchnOW, SBN 1 12983                     by Superlor Courtc-f Callfornla,Cau nty of San Hater:
Law Ofces of Kenneth H. Prochnow                     UN       10/14/2021 3:42 PM
1771 Woodside Road, Suite 2
Redwood City, CA 94061                               By       Isl Denise Saxelhv
Tel: (650) 812—0400                                                    DEF"?! C'H'k
Fax: (650) 812—0404

Attorneys for Petitioner Lisa Noble,
  Administrator of the Estate of Daniel Strange




                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                         IN AND FOR THE COUNTY OF SAN MATEO

In Re                                                     Case No.2 19—PRO—00643

                                                          ADMINISTRATOR’S FIRST
THE ESTATE OF DANIEL STRANGE                              AMENDED PETITION FOR TITLE
                                                          TO AND POSSESSION OF
                                                          PROPERTY HELD BY ANOTHER,
                                                          AND FOR ORDER CONVEYING
                                                          AND TRANSFERRING SUCH
                                                          PROPERTY To ADMINISTRATOR
                                                          {Prob. Code §§ 850(a)(2)(D); 856]
LISA NOBLE, ADMINISTRATOR OF THE
ESTATE OF DANIEL STRANGE,        Date: November 15, 2021
                                                      Time: 9:00 am.
                 Petitioner,                          Dep’t: 28

        VS.

NATIONAL RECOVERY SOLUTIONS;
ALEJANDRO C, MARRERO, Individually
and d/b/a NATIONAL RECOVRY
SOLUTIONS; JOYCE ARCE, Individually
and d/b/a NATIONAL RECOVERY
SOLUTIONS; ISRAEL SIGUENZA,
Individually and d/b/a NATIONAL
RECOVERY SOLUTIONS; EYAD YASSER
ABDELJAWAD, and DOES — 25, inclusive.
                                 1




                 Respondents


        Petitioner Lisa Noble, Administrator of the Estate of Daniel Strange, (“Administrator

Noble”) alleges as follows:


FIRST AMENDED PETITION FOR RECOVERY OF ESTATE PROPERTY, ETC.                                   Page I
In re: The Estate ofDaniel Strange; Lisa Jo Noble vs, National Recovery Solutions;
San Mateo Cty Sup. Ct. Probate Not 19PROOO643                                  {2806/02/00064678DOC}
        1.      Administrator Noble is the duly appointed, qualied          and acting personal

representative of the Estate of her brother, Daniel Strange, deceased (“Decedent Strange”).
        2.      Respondent National Recovery Solutions (“Respondent NRS”) is an entity,
business form unknown, holding some or all of the “Surplus Foreclosure Sale Proceeds”

described more specically      below.

        3.      ReSpondent Israel Siguenza (“Respondent Siguenza”) is an individual who,

individually or doing business as Respondent NRS, upon information and belief now holds or
has held some or all of the Surplus Foreclosure Sale Proceeds.

        4.      Respondent Alejandro C. Marrero (“Respondent Marrero”) is an individual who,

individually or doing business as Respondent NRS, upon information and belief now holds or
has held some or all of the Surplus Foreclosure Sale Proceeds.

        5.      Respondent Joyce Arce (“Respondent Arce”) is an individual Who, individually

or doing business as Respondent NRS, now holds or has held some or all of the Surplus

Foreclosure Sale Proceeds.

        6.      Respondent Eyad Yasser Abdeljawad, a California lawyer (“Respondent

Abdeljawad”) is an individual who upon information and belief now holds or has held some or
all of the Surplus Foreclosure Sale Proceeds.

        7.      Respondents DOE l
                                        ~ 25 are individuals or entities Whose names and identities

are unknown to Administrator Noble at this writing. Each of the DOE Respondents is

responsible in whole or in part for the injuries and damage alleged herein. Administrator Noble
reserves the right to amend this Petition by adding the true names of any or all of the DOE

Respondents at such time as their identities become known.
        8.      Respondent NRS, Respondent Siguenza, Respondent Marrero, Respondent

Arce, Respondent Abdeljawad and DOES l m 25 will be referred to from time to time herein,

individually and collectively, as the “NRS Respondents.”
        9.      Administrator Noble, as the personal representative of the Estate of Daniel

Strange (the “Estate”), claims the right to possession for the Estate of the Surplus Foreclosure
Sale Proceeds based upon the facts, documents and circumstances set out below.


FIRST AMENDED PETITION FOR RECOVERY OF ESTATE PROPERTY, ETC.                                 Page 2
In re: The Estate ofDaniel Strange; Lisa J0 Noble vs. National Recovery Solutions;
San Mateo Cty Sup. Ct. Probate No. 19PROOO643                                  {2806/02/00064678DOC}
        10.      Decadent Strange died on or about December 12, 2010.

        11.     Decedent Strange died intestate.

        12.     At the time of Decedent Strange’s death in 2010, he was married to Gay Dotson

(“Surviving Spouse Dotson”).
        13.     At the time of Decedent Strange’s death in 2010, he owned a residence located
at 432 Waverly Street, Menlo Park, CA 94025 (the “Menlo Park Residence”).

        14.     The Menlo Park Residence was at a11 pertinent times Decedent Strange’s

separate property; Surviving Spouse Dotson neither has nor had any community property

interest therein.

        15.     The Menlo Park Residence was at a11 pertinent times an asset of the Estate.

        16.     Decedent Strange had no children.

        17.      Decedent Strange’s parents predeceased him.

        18.     Decedent Strange was survived by three siblings—«Administrator Noble,

Christopher B. Strange and Tina Michele Britt (collectively, “Decedent’s Siblings”).
        19.     Under the intestate succession laws of this State [Probate Code §§ 6401(c)(2)(B)

and 6402(0)], the intestate heirs to Decedent’s Estate are Surviving Spouse Dotson and

Decedent’s Siblings.

        20.     At the time of Decedent’s death in 2010, the Menlo Park Residence was
encumbered by a mortgage.

        21.     Upon information and belief, following Decedent’s death in 2010, the Menlo
Park Residence, an asset of the Estate, was rented out to a third party or parties, whose

identities are unknown to Administrator Noble at this writing.

        22.     Upon information and belief, following Decedent’s death in 2010 the net rental
income from the Menlo Park Residence, an asset of the Estate, was paid out not to or for the

Estate, but rather to Surviving Spouse Dotson, without regard to rights of the Estate to such

income and assets, all to the Estate’s nancial      detriment and loss.




FIRST AMENDED PETITION FOR RECOVERY OF ESTATE PROPERTY, ETC.                                 Page 3
In re: The Estate ofDaniel Strange; Lisa Jo Noble vs. National Recovely Solutions;
San Mateo Cty Sup. Ct. Probate No. 19PROOO643                                  {2806/02/00064678DOC}
           23.   Upon information and belief, despite Surviving Spouse Dotson’s receipt of the
rental income from the Menlo Park Residence, Surviving Spouse Dotson failed to make

mortgage payments to the lender holding the mortgage to the Menlo Park Residence.

           24.   Upon information and belief, in the absence of mortgage payments to the Menlo
Park Residence mortgagee, the mortgagee declared the Menlo Park Residence loan to be in

default.

           25.   Pursuant to a duly issued notice of default and notice of sale, the Menlo Park

Residence was foreclosed, with the trustee’s sale occurring on January 10, 2019.

           26.   Upon information and belief, the trustee’s foreclosure of the Menlo Park
Residence on January 10, 2019, resulted in a sale of the Menlo Park Residence at a price

substantially less than the fair market value of the Menlo Park Residence (but still in excess of
the mortgage balance and costs of sale collected by or for the benet          of the mortgagee); the

purchaser at foreclosure “ipped”      the Menlo Park Residence within months of its acquisition,

realizing a quick profit to the purchaser (and corresponding loss to the Estate) of some ve
hundred thousand dollars, more or less.

           27.   Still, the January 10, 20l9, foreclosure sale netted a surplus above and beyond
the amount needed to satisfy all claims of the mortgagee at foreclosure; such “Sugglus

Foreclosure Sale Proceeds” from the foreclosure sale of the Menlo Park Residence totaled

$1,487,688.10.
           28.   The $1,487,688.10 in Surplus Foreclosure Sale Proceeds were held and retained

by a third party, Affinia Default Services, LLC (“Afnia”).
           29.   At some point after January 10, 2019, the NRS Respondents became aware of
the $1,487,688.10 in Surplus Foreclosure Sale Proceeds held by Afnia.

           30.   Acting for the NRS Respondents, Respondent Abdeljawad contacted
Administrator Noble (in her individual capacity, prior to her appointment as Administrator by

this Court) and, upon information and belief, contacting the other two of Decedent’s Siblings,

offering to obtain for each a share of the Surplus Foreclosure Sale Proceeds in exchange for a
commission or finder’s fee.


FIRST AMENDED PETITION FOR RECOVERY OF ESTATE PROPERTY, ETC.                                   Page 4
In re: The Estate ofDaniel Strange; Lisa J0 Noble vs. National Recovery Solutions;
San Mateo Cty Sup. Ct. Probate No. 19PROOO643                                  {2806/02/00064678DOC}
        3 1.     In communicating the offer to obtain shares of the Suiplus Foreclosure Sale

Proceeds for Decedent’s Relatives, Respondent Abdeljawad was acting, and at all pertinent

times continued to act, as Respondent NRS’ California attorney.

        32.      Administrator Noble, a Texas resident unfamiliar with California probate law or

procedure, and Without benet       of counsel, received, executed and returned two documents sent
to her by Respondent Abdeljawad.

        33.      The rst   document is a “Client Contingency Fee Agreement,” a true and correct

copy of which as signed on April 22, 2019 by Administrator Noble is attached as Exhibit 1A
hereto and incorporated by this reference, and a true and correct copy of which in unsigned and

more legible form is attached as Exhibit lB hereto and incorporated by this reference.

        34.      The second document is a “Statement of Authorization To Represent As

Attorney,” a true and correct copy of which as signed on April 22, 2019 by Administrator
Noble is attached as Exhibit 2A hereto and incorporated by this reference, and a true and

correct copy of which in unsigned and more legible form is attached as Exhibit 2B hereto and

incorporated by this reference.
        35.      By these two April 22, 2019 documents, Administrator Noble retained
Respondent Abdeljawad as her counsel; the “Client Contingency Fee Agreement” is ambiguous
in form and in content, but it is not signed by or for any of the NRS Respondents, and it does

not appoint any of the NRS Respondents as Administrator Noble’s attorney—in—fact or otherwise

confer power of attorney authority on any of the NRS Respondents.

        36.      Upon information and belief, forms similar or identical to the foregoing Client

Contingency Fee Agreement and the Statement of Authorization To Represent As Attorney
were signed by the other two Decedent’s Relatives.

        37.     Neither the Client Contingency Fee Agreement nor the Statement of

Authorization To Represent As Attorney discloses the conict           of interest inherent in

Respondent Abdeljawad acting as attorney for both Respondent NRS and as attorney for
Administrator Noble and the other Decedent’s Relatives.




FIRST AMENDED PETITION FOR RECOVERY OF ESTATE PROPERTY, ETC.                                   Page 5
In re: The Estate ofDam'el Strange; Lisa Jo Noble vs. National Recovery Solutions;
San Mateo Cty Sup. Ct. Probate No. 19PR000643                                  {2806/02/00064678DOC}
        38.     Neither Administrator Noble nor, upon information and belief, the other

Decedent’s Relatives has at any time waived the conict          of interest that arises from Respondent

Abdeljawad’s representation, on the one hand, of Respondent NRS, and on the other hand,
Administrator Noble and the other Decedent’s Relatives.

        39.     Upon information and belief, the NRS Respondents were unable to contact or to
reach agreement with Surviving Spouse Dotson as t0 any right or entitlement of the NRS

Respondents or any of them to act on Surviving Spouse Dotson’s behalf, to receive or to hold
funds for her, or to gain entitlement to any commission or finder’s fee with respect to funds

obtained through the efforts of any of the NRS Respondents for Surviving Spouse Dotson.

        40.     Upon information and belief, despite obtaining signatures on Exhibits 1A and
2A from Administrator Noble and similar authorization from the other of Decedent’s Relatives,
the NRS Respondents determined that the Surplus Foreclosure Sale Proceeds would be released

from and paid over by Affinia only to a duly authorized administrator of the Estate.

        41.     Accordingly, Respondent Abdeljawad, acting now as counsel for Administrator
Noble as the prospective “Executor” for the Estate, on May 22, 2019 led            a petition for probate

and related papers with this Court.

        42.     ReSpondent Abdeljawad did not prepare or obtain a legal services agreement

with Administrator Noble spelling out the terms and conditions of his representation of her as

“Executor” of a $1,487,688. lO Estate.
        43.     Respondent Abdeljawad did not disclose (a) his conicts           of interest in

proceeding with his proposed representation of Administrator Noble as Estate administrator
while remaining counsel for Respondent NRS, which was and would remain the “other side” to

the April 22, Client Contingency Fee Agreement that Administrator Noble had signed, nor did

he (b) obtain a waiver of any such conflict.

        44.     On March 21, 2021 , Administrator Noble, proceeding as plaintiff, led             a civil

court action against Respondent Abdeljawad, seeking damages for nancial              injury suffered

during or by reason of his legal representation of Administrator Noble; such civil action (San
Mateo County Superior Court No. 2l—CIV—01037) sets out causes of action for legal


FIRST AMENDED PETITION FOR RECOVERY OF ESTATE PROPERTY, ETC.                                 Page 6
In re: The Estate ofDaniel Strange; Lisa Jo Noble vs. National Recovery Solutions;
San Mateo Cty Sup. Ct. Probate No. 19PROOO643                                  {2806/02/00064678DOC}
malpractice, breach of oral contract and breach of duciary         duty; Civil Action No. 21—CIV~

01037 remains pending at this action, and Administrator Noble reserves the right to seek

consolidation of such case with the present rst       amended petition.

        45.      The March 22, 2019 Petition for Probate led         by Respondent Abdeljawad for
Administrator Noble came duly on for hearing on July ll, 2019; in the absence of opposition or

any appearance, the Petition for Probate was granted by this Court on that date.
        46.      A true and correct copy of this Court’s July 11, 2019 Order for Probate is
attached as Exhibit 3 hereto and is incorporated by this reference.

        47.      Letters of Administration thereupon issued; a true and correct copy of this

Court’s July 11, 2019 Letters of Administration is attached as Exhibit 4 hereto and is

incorporated by this reference.
        48.      As of July 11, 2019, and to the date of this writing, Administrator Noble, and no

other, has been duly authorized to administer the Estate, marshaling its assets.

        49.      With Estate administration in place, Afnia       arranged for its transfer of the

Surplus Foreclosure Sale Proceeds that it had held since January 10, 2019, through preparation
of a bank check, drawn from the client trust account of its California counsel (the law rm
“McCalla Raymer Leibert Pierce LLP”) in the amount of the Surplus Foreclosure Sale
Proceeds.

        50.      A true and correct copy of McCalla Raymer Leibert Pierce trust account check
no. 2244, dated July 23, 2019, and payable to the order of “Lisa Jo Noble, Administrator of the

Estate of Daniel Strange” in the amount of $1,487,688.10 (the “Afnia            Proceeds Check”), is

attached as Exhibit 5 hereto and incorporated by this reference.

        5 1.     The Afnia    Proceeds Check was never delivered to Administrator Noble.

        52.      The Afnia    Proceeds Check was never cashed or otherwise negotiated by

Administrator Noble.

        53.      Upon information and belief, shortly after the Afnia        Proceeds Check was

issued on July 23, 2019, it was delivered to the NRS Respondents.




FIRST AMENDED PETITION FOR RECOVERY OF ESTATE PROPERTY, ETC.                                   Page 7
In re: The Estate ofDaniel Strange; Lisa Jo Noble vs. National Recovery Solutions;
San Mateo Cty Sup. Ct. Probate No. 19PR000643                                  {2806/02/00064678DOC}
         54.      The NRS Respondents at no time delivered or attempted to deliver the Afnia

Proceeds Check to Administrator Noble.                                                   ¥




         55.      Instead of delivering the Afnia    Proceeds Check to Administrator Noble, the

NRS Respondents spent the ensuing months after July 2019 attempting to cash or otherwise

negotiate the Afnia     Proceeds Check for their own use and purposes.

         56.      Upon information and belief, the NRS Respondents encountered substantial
difculties     and lengthy delay in negotiating the Afnia     Proceeds Check (drawn to the order of

Administrator Noble in her capacity as Administrator of the Estate) for their own use and

purposes.

         57.       Finally, in or about December 2019, the NRS Respondents were successful in

negotiating the Affinia Proceeds Check for their own use and purposes, upon information and
belief depositing the entirety of the $1 ,487,688.10 into a bank account in the name of

Respondent Arce doing business as National Recovery Solutions.
         58.      With the Estate’s $1,487,688. 10 in hand from their negotiation of the Affinia

Proceeds Check, the NRS Respondents refused to turn over this Estate asset to Administrator

Noble.

         59.      Acting through Respondent Abdeljawad—then still Administrator Noble’s

attorney before this Court—the NRS Respondents demanded that Administrator Noble

authorize NRS to turn over, from the Estate assets that the NRS Respondents then held, the

supposed surviving spouse’s intestate share of the Estate due to Surviving Spouse Dotson.

         60.      Administrator Noble, believing that it was improper to make payments to Estate

beneficiaries without court approval, and Without evidence that Surviving Spouse Dotson had

any contractual arrangement with the NRS ReSpondents entitling them to any portion of assets

belonging to the Estate, insisted that all of the $1,487,688. lO held by the NRS Respondents be
turned over to her as an Estate asset.

         6l.      The NRS Respondents have turned over only a portion of the Estate asset of

$1,487,688.10 that they obtained by cashing the Afnia          Proceeds Check.




FIRST AMENDED PETITION FOR RECOVERY OF ESTATE PROPERTY, ETC.                                   Page 8
In re: The Estate ofDam'el Strange; Lisa Jo Noble vs. National Recovery Solutions;
San Mateo Cty Sup. Ct. Probate No. 19PROOO643                                  {2806/02/00064678DOC}
        62.      Specically—

(a) on February 3, 2020, Respondent Arce drew check no. 1338 from a National Recovery
Solutions Account payable to “Lisa J. Noble for Estate of Daniel Strange” in the amount of

$138,000, with that check subsequently delivered to and negotiated by Administrator Noble;

(b) on February 7, 2020, Respondent Arce doing business as “Nat.” caused a wire transfer of
$62,000.00 to be directed to Administrator Noble’s Estate account, of which $61 ,98500 (the

gross amount of the wire transfer less a $15.00 fee) was in fact deposited into such account; and

(c) on February l4, 2020, Respondent Arce “d/b/a National Recovery Solutions” drew a Chase
Bank check payable to “Lisa J Noble Estate of Daniel Strange” in the amount of $482,620.83.

        63.     Administrator Noble received these two checks and the wire transfer in her

capacity of Estate Administrator, and has deposited and continues to hold the three above-
referenced sums, totaling $682,620.83, in a duly established Estate account.

        64.     Administrator Noble has made no withdrawals from the Estate account, and will

make no withdrawals (other than nominal withdrawals for Estate administration purposes)

without order from this Court.

        65.     Upon information and belief, the NRS Respondents’ transfer of a total of

$682,620.83 from the $1,487,688.10 in Estate funds that the NRS Respondents hold, represents

a holdback, without authorization from this Court, of approximately 7% of half of the Surplus

Foreclosure Sales Proceeds that the NRS Respondents contend belong to Administrator Noble

and the other two of Decedent’s Relatives, plus the remaining half of the Surplus Foreclosure

Sales Proceeds that the NRS Respondents contend belong to Surviving Spouse Dotson.

        66.     The NRS Respondents’ transfer of $682,620.83 to Administrator Noble from the

Estate funds totaling $1 ,487,688.10, leaves the NRS Respondents in possession of $805,067.27

in Estate funds, withheld from the Estate without authorization from this Court.

        67.     Upon information and belief, the NRS Respondents have transferred none of the
funds they contend belong to Surviving Spouse Dotson, to Surviving Spouse Dotson.




FIRST AMENDED PETITION FOR RECOVERY OF ESTATE PROPERTY, ETC.                                 Page 9
In re: The Estate ofDam'eI Strange; Lisa J0 Noble vs. National Recovery Solutions;
San Mateo Cty Sup. Ct. Probate No. 19PR000643                                  {2806/02/00064678DOC}
         68.     None of the Surplus Foreclosure Sales Proceeds belong to Surviving Spouse

Dotson, to Administrator Noble (in her individual capacity), or to the other of Decedent’s

Relatives,
         69.     All of the Surplus Foreclosure Sales Proceeds belong to and must be accounted
for by the Estate, pending such orders as this Court may subsequently enter providing for

distribution of net Estate assets.

         70.     On February 24, 2020, Respondent NRS led            a civil interpleader action with

this Court. A true and correct copy of Respondent NRS’ February 24, 2020 “Plaintiff

Complaint for Inteipleader per CCP Sec. 386(8)” (the “NRS lnterpleader Complaint”) is
attached as Exhibit 6 hereto and incorporated by this reference.

         7l.     The NRS Interpleader Complaint was never served on Administrator Noble in

Texas.

         72.     The NRS Interpleader Complaint falsely represents that Respondent NRS holds

(alternately and inconsistently) $686,200.00 [NRS lnterpleader Complaint at 41l3] or $682,600
                                                                                                        I




[NRS lnterpleader Complaint at 4:24].
         73.     In fact, the NRS Respondents hold $805,067.27 in Estate funds, as set out in

Paragraph 64 above.

         74.     The NRS lnterpleader Complaint is a sham pleading:

(a) The NRS lnterpleader Complaint, led         “In Pro Per,” alleges only that plaintiff is a

“Business.” lfplaintiff “Business” is a corporation, it must be represented by counsel. If

plaintiff “Business” is a ctious     name under which individuals or entities are doing business,

those individuals or entities must be described so that they can appropriately be contacted and

brought before the Court;

(b) The street address for plaintiffNRS set out in the pleading is not a correct address;
communications sent to that address are returned by the post office;

(c) There is no answer at the telephone number set out in the pleading for plaintiffNRS;
(d) Plaintiff NRS has neither interpled nor deposited any funds with this Court; and

(e) The allegations in the NRS Complaint do not make out a cause of action in interpleader,

FIRST AMENDED PETITION FOR RECOVERY OF ESTATE PROPERTY, ETC.                                  Page 10
In re: The Estate ofDaniel Strange; Lisa J0 Noble vs. National Recovery Solutions;
San Mateo Cty Sup. Ct. Probate No. l9PR000643                                  {2806/02/00064678DOC}
given that there is only QIE identied      party to the case—Administrator Noble—with any claim
under law to the described funds, and an interpleader will not lie in the absence of competing

claimants to a disputed fund (See Placer Foreclosure, Inc. v. Solomon Aalo             (2m Dist. 2018),

2m Civil No. 13268589).

(f) The lnterpleader Complaint is not veried        as required under Code Civ. Proc. § 386(3).

        75.      On March 25, 2020, Administrator Noble substituted her present counsel for

Respondent Abdeljawad in the Estate’s probate pending before this Court, No. 19-PRO—00643.
        76.      Administrator Noble’s present counsel was unable to persuade plaintiffNRS to

dismiss or to fund its Interpleader Action, necessitating the present petition to recover mds

wrongfully withheld by the NRS Respondents from Administrator Noble.
        77.      Administrator Noble’s present counsel has now obtained copies of the front and

back of the Afnia     Proceeds Check (see Exhibit 5 hereto) from the McCalla Raymer Leibert

Pierce law rm.     A true and correct copy of the front and back of the Afnia         Proceeds Check

drawn on the McCalla Raymer Leibert Pierce trust account is attached as Exhibit 7 hereto and

is incorporated by this reference.

        78.      Although the Afnia      Proceeds Check is drawn to the order of “Lisa Jo Noble,

Administrator of the Estate of Daniel Strange,” the endorsement on the back of the Afnia

Proceeds Check (Exhibit 7 hereto) bears only an individual’s signature.

        79.      Administrator Noble has at no time signed, endorsed or negotiated the Afnia

Proceeds Check.

        80.      The endorsement that appears on the back of the Afnia           Proceeds Check

(Exhibit 7 hereto) is not Administrator Noble’s signature: it is a forgery.
        WHEREFORE, Administrator Noble, as Petitioner herein, prays for an order as follows:
        l. Directing the NRS Respondents, and each of them, to transfer to Administrator
              Noble, as Petitioner and administrator of the Estate, the balance of the above-
              described Surplus Foreclosure Sale Proceeds, plus interest thereon at the legal rate,

              as follows:

              (a) the principle amount of $805,067.27, being the cash assets of the Estate

FIRST AMENDED PETITION FOR RECOVERY OF ESTATE PROPERTY, ETC.                                  Page II
In re: The Estate ofDaniel Strange; Lisa J0 Noble vs. National Recovely Solutions;
San Mateo Cty Sup. Ct. Probate No. 19PROOO643                                  {2806/02/00064678DOC}
                wrongfully withheld by Respondents since July 24, 2019;

                (b) interest at the legal rate on such sum, from July 24, 2019, to October l3, 2021 , in
                the amount of $ l 78,874. 1 6;

                (c) interest on the wrongfully withheld sum of $138,000.00, from July 24, 2019, to
                February 3, 2020, in the amount of $7,278.08;

                (d) interest on the wrongllly    withheld sum of $62,000.00, from July 24, 2019, to

                February 7, 2020, in the amount of $3,337.81; and

                (e) interest on the wrongfully withheld sum of $482,620.83, from July 24, 2019, to

                February l4, 2020, in the amount of $26,907.76;
                which sums total $1,021 ,46508.

        2.      Directing the NRS Respondents to immediately deliver possession to the Estate,

                through Administrator Noble, of the sum of $1,021,465.08; and

        3.      For such other and further relief as the Court deems proper.

        /////


DATED: October 13, 2021                             LAW OFFICES 0F KENNETH H. PROCHNOW


                                                 By: /s/Kenneth H. Prochnow
                                                    Kenneth H. Prochnow,
                                                    Attorneys for Petitioner Lisa Noble

        /////




FIRST AMENDED PETITION FOR RECOVERY OF ESTATE PROPERTY, ETC.                                 Page 12
In re: The Estate ofDam'el Strange; Lisa Noble vs. National Recovezy Solutions;
San Mateo Cty Sup. Ct. Probate No. 19PR000643                                   {2806/01/00064154DOC}
                                             Verication

I, Lisa J0 Noble, Administrator of the Estate of Daniel Strange, declare:

        l.       I am the petitioner in the above—entitled matter.

        2.       I have read the foregoing ADMINISTRATOR’S PETITION FOR                        TITLE
TO AND POSSESSION OF PROPERTY HELD BY ANOTHER, AND FOR ORDER
CONVEYING AND TRANSFERRING SUCH PROPERTY TO ADMINISTRATOR and
know the contents thereof.

        3.       The same is true of my own knowledge, except as to matters stated upon

information and belief, and as to such matters, I believe it to be true.

        I declare under penalty ofperjury under the laws of the State of Califomia that the

foregoing is true and correct.



             Dated20ctober 13,2021, at Eagt: lgg‘               ,Texas

                                                         A, .
                                                  Lisa Jo Nobié
                                                                  AL.




FIRST AMENDED PETITION FOR RECOVERY OF ESTATE PROPERTY, ETC.                                  Page 13
In re: The Estate ofDaniel Strange; Lisa J0 Noble vs. National Recovery Solutions;
San Mateo Cty Sup. Ct. Probate No. l9PROOO643                                  {2806/02/00064678DOC}
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Exhibit lB
                 71“
                                   CLIENT CONTINGENCY FEE AGREEMENT

mus CONTINGENCY FEEAGKEEMENT (Agmemcnn is entered into on the earnest dare shown hem“- by and
between NATIONAL RECOVERY SOLUTIONS (NR3) and LISA JO NOBLE. SUCCESSOR 1N INTEREST
TO THE ESTATE OF THE DECEASED, DAME! STRANGE. By entenginto this Agreement, the parties do
hereby agree that NR8 win pmvideservices to ciient on the terms set forth beiow. ’Ihis signed Agmcmcnt must be
received to commensc rcprcscnmtion on any manor. The Paxtics agree: that NR8 «may retain any 3rd patty company
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to assist with any poniox; ofscrviccs {mm NRS.
I.-S(‘OPE 0F SE12 VICES. Client hires NR8 to provide services and win take reasonabte steps to: keep Client in
the home {or as many days as possible, for possible removal cf all forcciosum activity against Client’s record, to
investigate an action for wrongful mlosure  (leading to an action that may lead ma rescission of the sake and/or
the mcovcry ofthc losz and dcprivcd monetary value caused by the fart-chm), rccovcx’y of any proceeds ofsalc
from the Trustee Sate Number 9443-6431 ofthc property located ax 432WAVERLEY ST MENLO PARK, CA
94025 sold on ~20 l9~0i-IO. NR5 will provide neceésazj' docmncnL-s to the unstee, or nustee’s legal repmscntava,
submit \m'ncn claims, if necessary, retain attorneys on bcbajfofclicm in order to panicipaxc in an inmrpicadcr
action, le petitions to dcmminc sutccssion, or any other proccwing should that be necessary.
2. DUTIES 0F NA TIONAL RECO VERY SOLO’TIONS. NRS shall provide those legal services reasonably
required to represent Client in 81c mater described in paragraph 1 oftm's agreement NRS will take reasonable steps
to keep Client informed of progress and signicant developmcnm and to remand to client‘s inquiries. Ciicnt agrees
to be truthful with NR5 to coopmte‘ to keep NR8 informed ofany infomarion or developments which may come
to Ciicnt's attention, to abide by this Agreement, and to keep NR8 advised of Client’s address Icicphonc number and
wbmboumCem             will assim NRS in providing necessary information and documenrs and wiilappear when
necessary at legalprocccdings.
3.C‘0NYTNGEN(’Y FEE 'Ihc fcc for rccovcry shall be equal r0 and shall not exceed under any circumstances to
 ’53 of the total funds or proceeds rccovere The funds shall be deposited into Attorney lOLTA TRUST ACCOUNT
and will immediately be disbursed to Ciicm. loss the agreed upon fees. No upfront foes shall be charged. in the event
than: are no mds recovered NR3 shail collect NO fees.
4.013(‘HARGE AND WITHDRA ”24!. Client may discharge NR8 at any time NR8 may withdraw with client’s
consent or for good cause. When NRS services conclude or ifNRS is dismissed before surplus recovery, all unpaid
fees and the commission. proportionate to tho time NRS spends on the matter will immediately become duc and
payable only ifsurplus proceeds am recovered from our efforts. If Client withdraws no fees will be owed unless the
conclusion ol‘Our work is nished.
5.0[SCLAIALER 0!" GUARANTEE/1ND ESTIIHA TBS. Nothing in this agreementrand nothing in NR3 Slalemcnt'i
to-Cliem will be constructed as a promise or guarantee about the outcome ofthe matter. NR8 makes no Such
promises or guarantees. If in the event of a merger or acquisitions of NR8 all contracts are still legal and binding and
attorney appointed to the le will my on le.
6.122.312?“ TION 0R CONCLUSION. Upon the conclusion of NRS' scrviccs,all unpaidcharges for services
rendered andcosts incurred or advanced through the termination or cenclusion dale shall become immediately due
and payable. NRS acknmvlcdgcrncm the obligation, upon Client’s demand, to deliver client‘s lilo to Client at or
allot the lamination or conclusion ol‘NRS scrviccs.. NR8 shall only bc obligated to keep clients les for a period of
two (2) years after the termination or conclusion ofNRS’ services in this matter. 'llicrcaftcr, NR5 is authorized to
discard or destroy any materials held by NRS
ZLIEN Client hereby grants a lien on any and all claims or cause ofaction that are subject ofthiscontmd for any
sums due and owing attire conclusion of our services. The lien will attach to any recovery Client may obtain,
whether. by judgment, settlement or olherwisc. NRS shall be entitled to the portion of the contingency foe cameo
relative lo the time Spent on any matter to be determined by NRS and all parties shall be notied   thereto.

By signing ofihis weement you understand paragraphs L? and agreedto all terms and condilions sct‘ forth-

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            STATEMENT 0F AlE’i'HOREZATEON T0 REPRESENT AS ATTORNEY

 ATTN: AFFINIA DEFAULT SERVICES LLC
 {.YLIENT(S): LISA JO NOBLE, SUCCESSOR IN {NTERFST T0 TEE ESTATE 0F THE
 DECEASED, DANIEL STRANGE
 TRUSTEE SALE NT}; 9443-6431

 l/Wc, LISA JO NOBLE, SUCCESSOR IN fNTI-IRI—IST T0 THE ES’I'A'I‘E OI“ THE
 DECEASED, DANIEL S‘i'RANGE, aypoim Eyad Yaser Abdeijawad, Esq. ("A Bar #308427- as
myfour attorney-at-law regarding the above trustee sale. Li‘we revoke any and a}! anzhurizations
to represent Inc/us that have been signed belbre this daze and any
                                                                   errcscntaon made by other
panics as to their authorization to communicate on ray/our behalf are without myfour consent.
All correspnndence should be directed to: National Recovexj; Solutions, 4780 Missicm Blvd.
Suite 105. Montciair: CA 91 762, ’I‘elz’fax: (909) 895—0956. infirsmxai‘mm}remnervm{mimnsacvmzg

 I expressiy grant Eyad Yaser Abdcljawad, Esq. CA Bar. #308427, Naonal Reccwery Solutions
and its stai‘fto communicate and do all things whaLqocvcr required on
                                                                         myiour behalf regarding
the 'I‘rustee Sale No. 9448-643 I . to recover proceeds ofsale, to execute any afdavit or
Statement ofE‘Eaim for Surplus Funds resulting from the musics sale, and ail other remedial
action hitheu.

 (flicns)   SigrmturcCs)                         ‘           H   _
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                LISA JO NOBLE. SUCCESSOR IN INTEREST T0 THE ESTATE 0F
THE DECEASED, DANIEL STRANGE

A nonry public m- other ofcer comeng    mis certicate verifies oniy the identity of the individual who signed the
donument ta which this certicate is amched, and accuracy or validity of mat document

State of
County of

On                           befom me.


Personatiy appeared USA JO NOBLE. SUCCESSOR iN INTEREST TO THE ESTATE OF THE
DECEASED“ DANlEL STRANGE wha proved to me on the basis of satisfactory evidence to be the
persons whose name is/are Subscribed to the within instrument and acknowiedged to me that heisheithey
executed the same in hislhermxeir authorized wpacityes), and that by hisnernheir signatureg's) on the
instrument the person(s) , or the entity upon behalf of Which the persorms) acted. executed the instrument
i certify under PENALTY 0F PERJURY under the laws of the sate of California that the
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paragraph is true and correct.

WITNESS my hand and ofciai seat.


Signature                                                                 Place Notary Seat andlor Stamp Above
 Signature of Notary Public
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 esrATE 0F (Name):                             DANIEL STRANGE                                          DECEDENT
                                                                                                                             CASE NUMBER:
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                                              ORDER FOR PROBAT
                                                                                                                                                   19.pRo_09543
       ORDER
                              ‘     LA Execunistoru-atorwim wmAnnexed
                                     Admi                                      r
       AppmN-mqe                                           SpeciaIAdministrato
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                                    %Administrator
                                               nt Adminis tra tio n of Est ate
       [:3         Order Authorizing independe wszhnmsted autimity
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                                 POINTMENT IS NO                                                                                                        62W
        WARNING: THis AP                                                                                                                     Judge:
                                                                                            DapLfRoom: 2F
  1. Date of hean'ng: JU
                         NE 28, 2019   Time: 9:00AM                                                                                                                  WA              MSW
  THE COURT mas                      n   en.
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                              by law have
     2. a. AR nooes required         De ce mb  er 20, 2010
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        c. Decadent died
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                 and decedent's wilt dat                  der on (date):
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      THE COURT ORDERS
      3. (Name):         LISA IO NOBLE
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            Is a      Med persona! represen                                      d.   {:3 special admww-inis trator
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             and letters shalt issue on quaticaon.                                                  ministration of Estate
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       4.             Full authority is granted to administer                                      nd ent  Admi nis tra
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             g.- E-E] Llmlten authoty is granted to adm                                                      nt an  opt  ion lo  pu rch ase real property or
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       5' a.             Bond is net requm-                                                                                                                              or as otherwise
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                          who”):
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Exhibit 4
                                                                                                                                                             DE-1 50
      ATTORNEY 0R PARTY wrmom' ATTORNEY (Nam, stare barmmber. and address;          TELEPHONE AND FAX NOS;                     FOR COURT USE ONLY

_._     EYAD YASER ABDELJAWAD                                        SBNZ308427             909-457-75 l 2
        ROUTE 66 LAWGROUP
        5670 SCHAEFER AVE, STE P
        CHYNO, CA 9171 0                                                                                                       FEEEEF
      AWORNEY FORmama): LISA JO NOBLE
      SUPERIOR COURT 0F CALIFORNIA, COUNTY 0F SAN MATEO
                                                                                                                          3AM MATEO                 mum
          smear mess: 400 COUNTY CENTER
          mummsss: 400 COUNTY CENTER
         cmmozpcooa REDWOOD CITY 94063
             BRANCH NAME:      SAN MATEO
      ESTATE OF (Name):
                                             DANIEL STRANGE
                                                                                                   DECEDENT
                                                      LETTERS                                                   CASENUMBER:

      CI] TESYAMENTARY                                   E]                  0F ADMINISTRATION
                                                            SPECIAL ADMINISTRATION ‘q, PRO mmqg
                                                                 .
      [:J 0F ADMMSTRAou WITH WILL ANNEXEQ E3
                    '                                     ‘  ‘
                                 LETTERs                             1" '.         AFFIRMATION
       [j The last win ‘ofI the decedent named above having          C] PUBLiC ADMINISTRATOR: No
                        -

 1.                                                                                  1.          required                                afrmation
               been proved. the court appoints (name):                                             (Prob. Code. § 7321(c)).

               a. D executor.                                                        2.    m INDIVIDUAL: soremniy afrm that
                                                                                                                 I                               I wiII perform       the
               b. E administrator with wiIl annexed.                                               duties of personai representative according to Iaw.
Z E] The court appoints (name):
     LISA JO NOBLE                                                                   3.    [:3 INSTITUTIONAL FIDUCIARY (name):
               a. m administrator of the decedent’s estate.
               b.       [:1 special administrator of decedent‘s
                                                        estate                                     I soiemniy affirm that the institution will perform the
                             (I)  [j   wim the specIaI powers specied                              duties of personal representative according to law.
                                                                                                   I make this afrmation    for myself as an individual and
                                       in the Order for Probate.
                              (2) C:   with the powers of a general                                on behalf of the institution as an ofoer.
                                     administrator.                                                (Name and title):
                              (3) E  letters will expire on (date):


 3.     m The personal representative is authorized administer       to
               me estate under the Independent Administration of
              Estaies Act          E]with ruII authority
                                                                                                                                         /q
               [:1   with limited authority (no authority. wiIhouI                   4. Executed on (dare):          &"20“0                            {amt
              court supervision. to (1) sell or exchange real property -                at (place): 342$ wore/Pia                                      ,Gaiiiemia
              or (2) grant an oph'on to purchase real property or (3)
              borrow money with the ioan secured by an
              encumbrance upon reai property).

  4.    C] Tne personal representative is not authorized to takea                                                      (SIGNATURE)

               possession of money or any other property without                                                CERTIFICATION
               specic court order.                                                        l certify that this document is a correct copy of the original on
                                                                                     le  in my ofce and the letters issued me personal represena—
                                                                                     tive appointed above have not been revoked, annulled. or set
 WITNESS, clerk of the court with seal of the wort afxed.                            aside. and are still in full force and effect


                                          Date2JUL E E 2mg                                (SEAL)                            Date:


                                          Clerk, by                                                                         Clerk. by




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                                                                             LETTERS                                             LiaLioBaAdministration Imued to Personal 8c
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       Karma! Form [11112000]

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Exhibit 5
                       Maggi?!Hamziwn $833555}:sigi‘tégazmimizéaih;                       ells Pargo- CA TrustAccount
                                                                                                                                                             64—22/6!0
McCallnRaymer Leibert Pierce
1544 Old Aiabama Road
Roswell. GA 30076

                                                                                                                                 DATE                       AMOUNT
                                                                                                                          July 23, 2019                  $ 1,487,688.10


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PA Y TO THE ORDER 0F
        Lisa Jo Noble, Administrator ofthc
        Estate of Daniel Strange




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One-True             Lisa Jo Noble Administrator of the

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                                                                                                                TOTALS: "S‘I'Eiéé’iibww                   $1387.688ib
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                                                         by Supen’orCourt of Californiaountyof   San Mateo
      NATIONAL RECOVERY SOLUT‘ONS
      3780 W. Mission Blvd Ste 105                      0N              2/24/2020
      MOHtCIair CA 91762                                By         Isl Riay Dominia
      (909) 668-3241                                                      Deputy Clerk


      In Pro Per

                        SUPERIOR COURT OF SAN MATEO COUNTY
                          SOUTHERN BRANCH: HALL OF JUSTICE



      NATIONAL RECOVERY SOLUTIONS                      Case No.: ZO—ClVv01 183

                                   Plaintiff
                                                       PLAINTIFF COMPLAINT FOR
                                           V'
                                                       INTERPLEADER PER CCP §386 (B)
     LISA JO NOBLE, Admimstrator to the
                               _




     Estate of Daniel Strange. Deceased,
     and DOES 1—50 Inclusive




             PLAINTIFF NATIONAL RECOVERY SOLUTIONS HEREBY ALLEGES THE

     FOLWWING:
                                                                           '


                                   JURISDICTION AND VENUE
21
     1.     Jurisdiction and Venue are proper in this Court Pursuant to CA Code of
22
          Civ. Pro. §395 as the course of conduct of alleged acts occurred within
23

24        geographic region of San Mateo County
25                                              PARTIES
26
     2.      National Recovery Solutions (NR5) is a Business and Plaintiff in this
27
          matter.
28                                       PLAINTIFF COMPLAINT
                                                  -1
     3.       Lisa Jo Noble is the Administrator to the Estate of Daniel Strange,

           Deceased (NOBLE). Plaintiff is informed and reasonably asserts that NOBLE

           was Appointed as Personal Representative Pursuant to Letters of

           Administration that were issued by San Mateo County Superior Court

          Probate Division. NOBLE is the sister to the DECEDENT

              Plaintiii‘ hereby reserves right to amend complaint to conform to proof.

          Plaintiff is informed and reasonably believes that each of the Defendants are

          responsible in some manner for the occurrences herein alleged and that

          Plaintiffs’ damages were proximately caused thereby.

              STATEMENT OF FACTS COMMON TO ALL CAUSES OF ACTION
             Daniel Lee Strange died intestate on Dec 12, 2010 leaving behind a

          surviving spouse by the name of Gaye Dotson WIDOW. and three siblings

          including Defendant NOBLE. Mr. Strange was the former trustor of a

          property located at 432 Waverly Street Menlo Park CA 94025 (HOME).

             Shortly thereafter, Defendant NOBLE assigned in a valid agreement with
          NR8 in order for Plaintiffs to recover proceeds from a sale of HOME

          belonging to the Estate.   .




             Subsequent to that, Defendant and siblings were informed that a Court

      Order was needed from Probate Division in order for NOBLE to have
24
      standing to step into the shoes of her late brother and transact on his
25
      behalf.
26

27

28                                       PLAINTIFF COMPLAINT
                                                 —
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      8.       As a result, outside counsel was retained for NOBLE for the sole limited

            purpose of obtaining Letters of Administration (LETTERS) for her late

            brother's estate. Counsel for NOBLE successfully obtained LETTERS from

            the Probate Division of San Mateo Superior Court Probate Division in Case #I

            19-PRO-00643.

     9.        Plaintiff states based on information and belief that the siblings

            nominated NOBLE to act as the personal representative to the

            DECECDENT‘S Estate.
      10.        Plaintiffs further allege based on knowledge and belief that NOBLE

           was apprised her standing fiduciary duty to the remaining heirs including

            her siblings and the surviving spouse of DECEDENT.

     11.          Once Estate Property was was ready to be disbursed, NOBLE initially

           acknowledged her standing duty to distribute shares to the heirs in

           accordance with Intestate Succession Laws. NOBLE was given a

           full accounting and all of her documents that were part of her case in

           Probate Court.
2O


2!
     l2.        NOBLE‘s instructions were for Plaintiff to deduct its percentage for

22         recovering monies that belonging to the Estate; Earmark and keep separate
23         WIDOW’s 50% share: Distribute remainder to NOBLE as the Personal
24
           Representative of the Siblings.
25
     13.       After NOBLE received her accounting. NOBLE sent a threatening
26

27
           demand email that was addressed to Plaintiff and Defendant‘s Counsel in

28                                    PLAINTIFF COMPLAINT
                                               ~ 3
           'the Probate Proceedings. In the Demand. NOBLE threatened to

            report her counsel to the State Bar unless Plaintiff paid WIDOW’S share

            directly to NOBLE.

      14.       More noteworthy, NOBLE stated her intent to not pay the any of the

            beneciaries   as mandated by law.

     15.         As a result. Plaintiff is in concurrent possession of funds that have

           been earmarked for WIDOW. Based on information and believe, it would be

           unconscionable for Plaintiff to distribute WIDOW’s share to NOBLE.

                                   FIRST CAUSE 0F ACTION

                   [Interpleader CCP §386 (b) - As Against All Defendants)
     16.        Plaintiff is in possession of $686,200.00 that is held for the benet   of

           WIDOW. Plaintiff is informed and reasonably asserts that conicting

           demands have been made as to who is entitled to WIDOW’s share.

     17.        NOBLE stated her intent to keep all of the money for herself. NOBLE

           further stated that she is under no obligation to pay out siblings as

           beneciaries    or WIDOW

     18.         Plaintiff cannot determine the validity to the conicting   claims, and is

       gravely concerned that it will be subjected to multiple liability in the
       absence of the intervention of this court. Concurrent with this complaint,
24
       Plaintiff shall deposit $682,600.00 with the clerk of the Superior Court
25

26
       pursuant to CCP §386 (c). which represents the full amount of WIDOW's

27     share.

28                                    PLAINTIFF COMPLAINT
                                               -4
     WHERFORE PLAINTIFF PRAYS FOR AS FOLLOWS:

         '1.    An order that WIDOW'S share be deposited with the court and that

                Defendant and All potential claimants litigate their claims to

                monies/property as described in complaint.

     RESPECTFULLY SUBMITTED

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EXHIBIT E
Case Information

21-CIV-01037 | LISA JO NOBLE, AS ADMINISTRATOR OF THE ESTATE OF DANIEL STRANGE, DECEASED vs. Eyad
Yaser Abdeljawad, et al

Case Number                       Court                             Judicial Officer
21-CIV-01037                      Civil Unlimited                   Weiner, Marie S.
File Date                         Case Type                         Case Status
03/02/2021                        (25) Unlimited Professional       Active
                                  Negligence




Party

Plaintiff                                                           Active Attorneys 
LISA JO NOBLE, AS ADMINISTRATOR OF THE ESTATE OF DANIEL             Lead Attorney
STRANGE, DECEASED                                                   PROCHNOW, KENNETH H.
                                                                    Retained




Defendant                                                           Active Attorneys 
Abdeljawad, Eyad Yaser                                              Lead Attorney
                                                                    ABDELJAWAD, EYAD YASER
                                                                    Retained




Defendant
DOES 1 THROUGH 100, INCLUSIVE
       File Date        Cause of Action   Type     Filed By               Filed Against

       03/02/2021       Complaint         Action   LISA JO NOBLE, AS      Abdeljawad, Eyad Yaser
                                                   ADMINISTRATOR OF THE   DOES 1 THROUGH 100,
                                                   ESTATE OF DANIEL       INCLUSIVE
                                                   STRANGE, DECEASED




Disposition Events

06/23/2022 Judgment 



Judgment Type
Dismissal - Without Prejudice



Party
   Name: LISA JO NOBLE, AS ADMINISTRATOR OF THE ESTATE OF DANIEL STRANGE, DECEASED

   Comment: AS TO SECOND CAUSE OF ACTION, FOR BREACH OF ORAL CONTRACT ONLY




Events and Hearings


  03/02/2021 New Filed Case


  03/02/2021 Civil Case Cover Sheet 


  Civil Case Cover Sheet
Summons Issued / Filed


03/02/2021 Complaint 


Complaint


03/02/2021 Cause Of Action 


  Action                        File Date
  Complaint                     03/02/2021



03/03/2021 Notice of Assignment for All Purposes 


Notice of Assignment for All Purposes


06/17/2021 CMC - Not at issue - no service/default/answer. 


CMC - Not at issue - no service/default/answer.


09/22/2021 CMC - Not at issue - no service/default/answer. 


CMC - Not at issue - no service/default/answer.


12/23/2021 CMC - Not at issue - no service/default/answer. 


CMC - Not at issue - no service/default/answer.


02/10/2022 Proof of Service by PERSONAL SERVICE of 


Proof of Service by PERSONAL SERVICE of COMPLAINT; SUMMONS; NOTICE OF CONTINUED CMC

  Comment
  COMPLAINT; SUMMONS; NOTICE OF CONTINUED CMC


03/17/2022 Demurrer to Complaint 


Demurrer to Complaint


03/17/2022 Motion to Strike 


Motion to Strike PORTIONS OF VERIFIED COMPLAINT FOR DAMAGES

  Comment
  PORTIONS OF VERIFIED COMPLAINT FOR DAMAGES


03/17/2022 Request for Judicial Notice 


Request for Judicial Notice


03/17/2022 Separate Statement 


Separate Statement OF OBJECTIONS TO PLAINTIFF'S VERIFIED COMPLAINT

  Comment
03/17/2022 Declaration in Support 


Declaration in Support OF GOOD FAITH MEET AND CONFER

  Comment
  OF GOOD FAITH MEET AND CONFER


03/24/2022 CMC - Not at issue - other/motion pending.


03/24/2022 Notice of Case Management Conference 


Notice of Case Management Conference 6/16/2022 at 9:00 a.m.

  Comment
  6/16/2022 at 9:00 a.m.


03/30/2022 Proof of Service by MAIL of 


Proof of Service by MAIL of MOTION TO STRIKE PORTIONS OF COMPLAINT;ETC...

  Comment
  MOTION TO STRIKE PORTIONS OF COMPLAINT;ETC...


04/05/2022 Notice of Related Case 


Notice of Related Case CASE NUMBER: 19-PRO-00643

  Comment
  CASE NUMBER: 19-PRO-00643


05/06/2022 Memorandum of Points and Authorities in Opposition 


Memorandum of Points and Authorities in Opposition TO DEFENDANT'S DEMURRER TO"VERIFIED COMPLAINT
FOR

  Comment
  TO DEFENDANT'S DEMURRER TO"VERIFIED COMPLAINT FOR: (1) LEGAL MALPRACTICE,(2) BREACH
  OF ORAL CONTRACT, AND (3) BREACH OF FIDUCIARY DUTY"


05/06/2022 Memorandum of Points and Authorities in Opposition 


Memorandum of Points and Authorities in Opposition TO DEFENDANT'S MOTION TO STRIKE

  Comment
  TO DEFENDANT'S MOTION TO STRIKE


05/06/2022 Memorandum of Points and Authorities in Opposition 


Memorandum of Points and Authorities in Opposition TO DEFENDANT'S MOTION FOR JUDGMENT ON THE
PLEADIN

  Comment
  TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS


05/06/2022 Memorandum of Points and Authorities in Reply 


Memorandum of Points and Authorities in Reply AND OBJECTION TO "DEFENDANT'S SEPARATE STATEMENT
  Comment
  AND OBJECTION TO "DEFENDANT'S SEPARATE STATEMENT OF OBJECTIONS TO PLAINTIFF'S
  VERIFIED COMPLAINT"


05/06/2022 Memorandum of Points and Authorities in Reply 


Memorandum of Points and Authorities in Reply AND OBJECTION TO DEFENDANT REQUEST FOR JUDICIAL
NOTICE

  Comment
  AND OBJECTION TO DEFENDANT REQUEST FOR JUDICIAL NOTICE


05/06/2022 Proposed Order Received 


Proposed Order Received OVERRULING DEMURRER TO VERIFIED COMPLAINT FOR (1) LEGAL
MALPRACTICE, (2) BRE

  Comment
  OVERRULING DEMURRER TO VERIFIED COMPLAINT FOR (1) LEGAL MALPRACTICE, (2) BREACH OF
  ORAL CONTRACT, AND (3) BREACH OF FIDUCIARY DUTY AND DENYING MOTION FOR JUDGMENT
  ON THE PLEADINGS


05/06/2022 Proposed Order Received 


Proposed Order Received DENYING MOTION TO STRIKE PORTIONS OF COMPLAINT

  Comment
  DENYING MOTION TO STRIKE PORTIONS OF COMPLAINT


05/06/2022 Proof of Service by MAIL of 


Proof of Service by MAIL of PLAINTIFF'S OPPOSITION TO DEMURRER TO COMPLAINT;ETC...

  Comment
  PLAINTIFF'S OPPOSITION TO DEMURRER TO COMPLAINT;ETC...


05/16/2022 Memorandum of Points and Authorities in Reply 


Memorandum of Points and Authorities in Reply BRIEF IN SUPPORT OF MOTION OF DEFENDANT TO STRIKE
PORT

  Comment
  BRIEF IN SUPPORT OF MOTION OF DEFENDANT TO STRIKE PORTIONS OF VERIFIED COMPLAINT
  FOR DAMAGES


05/16/2022 Memorandum of Points and Authorities in Reply 


Memorandum of Points and Authorities in Reply BRIEF IN SUPPORT OF DEMURRER

  Comment
  BRIEF IN SUPPORT OF DEMURRER


05/16/2022 Memorandum of Points and Authorities in Reply 


Memorandum of Points and Authorities in Reply BRIEF IN SUPPORT OF MOTION FOR JUDGMENT ON TH
PLEADING

  Comment
  BRIEF IN SUPPORT OF MOTION FOR JUDGMENT ON TH PLEADINGS
05/16/2022 Proof of Service by MAIL of 


Proof of Service by MAIL of REPLY BRIEF IN SUPPORT OF MOTION TO STRIKE, REPLY BRIEF IN SUPPORT
OF DE

  Comment
  REPLY BRIEF IN SUPPORT OF MOTION TO STRIKE, REPLY BRIEF IN SUPPORT OF DEMURRER, AND
  REPLY BRIEF IN SUPPORT OF MOTION FOR JUDGMENT ON THE PLEADINGS


05/18/2022 Hearing on Demurrer 


Original Type
Hearing on Demurrer

~CIV Minute Order - Hearing on Demurrer 05/18/2022

Judicial Officer
Weiner, Marie S.

Hearing Time
2:00 PM

Result
Held

Parties Present 
 Plaintiff: LISA JO NOBLE, AS ADMINISTRATOR OF THE ESTATE OF DANIEL STRANGE, DECEASED


05/18/2022 Motion to Strike 


Original Type
Motion to Strike

~CIV Minute Order - Motion to Strike 05/18/2022

Judicial Officer
Weiner, Marie S.

Hearing Time
2:00 PM

Result
Held

Comment
PORTIONS OF VERIFIED COMPLAINT FOR DAMAGES

Parties Present 
 Plaintiff: LISA JO NOBLE, AS ADMINISTRATOR OF THE ESTATE OF DANIEL STRANGE, DECEASED


05/18/2022 Party appeared by audio and/or video


05/18/2022 Tentative ruling adopted and becomes order: 


  Comment
  DEFENDANT EYAD YASER ABDELJAWAD MOTION: 1) DEMURRER 2) MOTION FOR JUDGMENT ON
  THE PLEADINGS The Motion for Judgment on the Pleadings by Defendant Eyad Yaser Abdeljawad to the
  Complaint of Plaintiff Lisa Jo Noble, as Administrator of the Estate of Daniel Strange ("Plaintiff"), is DENIED
  as procedurally improper. Defendant's Demurrer to the Complaint is SUSTAINED WITH LEAVE TO AMEND
  as to the cause of action for breach of oral contract, and is otherwise OVERRULED. Defendant's Request for
  Judicial Notice is GRANTED as to Exhibits B, C, D, E, F and H. The Court may take judicial notice of the
  existence of judicial opinions and court documents, along with the truth of the results reached, in the
  truth of hearsay statements in decisions or court files, including pleadings, affidavits, testimony, or statements
  of fact. (Williams v. Wraxall (1995) 33 Cal.App.4th 120, 130, fn.7.) Defendant's Request for Judicial Notice of
  Exhibits A and G is DENIED, as Defendant has not established that the Court may properly take judicial
  notice of these documents. Plaintiff shall file and serve her First Amended Complaint on or before June 3,
  2022. Although Defendant brings both a Demurrer and Motion for Judgment on the Pleadings together, the
  Court construes it solely as a Demurrer. A motion for judgment on the pleadings by a defendant may be made
  after defendant has filed an answer to the complaint and the time for the defendant to demur to the complaint
  has expired. (Code of Civ. Proc. ("C.C.P.") 438(f)(2).) Thus, Defendant cannot bring both a Demurrer and
  Motion for Judgment on the Pleadings at the same time. The Demurrer to the First Cause of Action for Legal
  Malpractice is OVERRULED based on failure to state facts sufficient to support this claim. Defendant fails to
  establish that this claim is barred by the one-year statute of limitations under Code of Civil Procedure section
  340.6. Section 340.6 provides for tolling of the one-year statute of limitations during the time in which "[t]he
  attorney continues to represent the plaintiff regarding the specific subject matter in which the alleged wrongful
  act or omission occurred." (C.C.P. 340.6(a)(2).) The Complaint alleges that the attorney-client relationship
  terminated between Plaintiff and Defendant on March 25, 2020. (Complaint 67.) The Complaint was filed on
  March 3, 2021. As such, Defendant has not shown that this claim is time barred. (See Lockley v. Law Office of
  Cantrell, Green, Pekich, Cruz & McCort (2001) 91 Cal.App.4th 875, 881 [demurrer based on statute of
  limitations must appear clearly and affirmatively on the face of the complaint that the claim is necessarily
  barred].) Additionally, Plaintiff alleges facts sufficient to support all the elements of this legal malpractice claim.
  (See e.g., Complaint 73-77.) Demurrer to the Second Cause of Action for Breach of Oral Contract is
  SUSTAINED WITH LEAVE TO AMEND based on failure to allege facts sufficient to support this claim. The
  Complaint alleges that Plaintiff and Defendant entered into an oral contract in which Defendant agreed to
  provide Plaintiff with legal services in connection with Plaintiff's appointment as Administrator of the Estate.
  (Complaint 79.) Although Plaintiff then identifies seven claimed breaches (Complaint 80), none of these
  alleged breaches appear to pertain to the alleged contract, i.e. legal services in connection with appointing
  Plaintiff as Administrator of the Estate. Demurrer to the Third Cause of Action for Breach of Fiduciary Duty is
  OVERRULED based on failure to allege facts sufficient to support this claim. For the same reason as
  previously discussed with respect to the First Cause of Action, Defendant fails to show that this claim is
  barred by the one-year statute of limitations under Code of Civil Procedure section 340.6. Defendant also
  claims that he did not have a fiduciary relationship at all times because Plaintiff also signed a contingency fee
  agreement with National Recovery Solutions ("NRS"). However, the Complaint alleges that Defendant
  represented Plaintiff as her attorney. (Complaint 36-37.) The Complaint also alleges that at all pertinent times,
  Defendant, as attorney, was acting as a fiduciary of Plaintiff. (Complaint 84.) Furthermore, the relationship
  between an attorney and client is a fiduciary relationship. (Fair v. Bakhtiari (2011) 195 Cal.App.4th 1135,
  1140.) Accordingly, the Complaint alleges facts sufficient to support a fiduciary relationship. Additionally,
  contrary to Defendant's argument, Plaintiff alleges facts sufficient to support Defendant breached the duty of
  care (see Complaint 85(a), (b)), and that Defendant's breach caused Plaintiff and the Estate to suffer
  damages (see Complaint 86). Demurrer to the entire Complaint on the basis of defect of parties is
  OVERRULED. Notably, Defendant asserts that Plaintiff failed to join a necessary and indispensable party, but
  never specifically identifies the party that should be joined. (See Defendant's Memorandum, p.13:1-17.) It
  appears that Defendant may be claiming that NRS should be joined as a party based on Defendant's
  reference to Exhibits C and F in the request for judicial notice. However, Defendant has not explained why
  NRS must be joined in this action based on the claims alleged by Plaintiff. A person is an indispensable party
  when the judgment to be rendered necessarily must affect his or her rights. (Olszewski v. Scripps Health
  (2003) 30 Cal.4th 798, 808.) Demurrer to the entire Complaint on the ground that there is another action
  pending between the same parties on the same cause of action is OVERRULED. Neither the Interpleader
  action filed by NRS nor Plaintiff's 850 Petition involve the same cause(s) of action as alleged in the Complaint
  here. (See Defendant's Request for Judicial Notice, Exhs. C, D and F.) If the tentative ruling is not contested,
  it shall become the order of the Court.


05/18/2022 Party appeared by audio and/or video


05/18/2022 Tentative ruling adopted and becomes order: 


  Comment
  DEFENDANT ABDELJAWAD'S MOTION TO STRIKE PORTIONS OF VERIFIED COMPLAINT FOR
  DAMAGES Defendant's Motion to Strike Portions of the Complaint is DENIED. Procedurally, this Motion is
  improper as the basis for Defendant's Motion is evidentiary objections. (See Defendant's Separate Statement
  of Objections, Basis for Objection.) As with a demurrer, the grounds for a motion to strike must appear on the
  Thus, these evidentiary objections are improper since the Court does not consider evidence on a motion to
  strike. To the extent that Defendant objects that Plaintiff makes improper legal conclusions though, a motion to
  strike may be used to attack legal conclusions in a pleading. (Weil & Brown, Cal. Prac. Guide: Civ. Proc.
  Before Trial (The Rutter Group) Ch. 7(I)-B, 7:179-7:181.) As such, the Court has considered Defendant's
  objections to paragraphs 57, 64 and 67 only on the ground of improper legal conclusion, but finds these
  objections to lack merit. If the tentative ruling is not contested, it shall become the order of the Court.


06/06/2022 First Amended Complaint 


First Amended Complaint


06/14/2022 Case Management Statement 


Case Management Statement


06/16/2022 Case Management Conference 


Original Type
Case Management Conference

~CIV Minute Order - Case Management Conference 06/16/2022

Judicial Officer
Halperin, Ernst A.

Hearing Time
9:00 AM

Result
Held

Parties Present 
 Plaintiff

   Attorney: PROCHNOW, KENNETH H.

 Defendant

   Attorney: ABDELJAWAD, EYAD YASER


06/16/2022 Party appeared by audio and/or video


06/16/2022 Notice of Case Management Conference 


Notice of Case Management Conference - 8/29/22 at 9 AM

  Comment
  - 8/29/22 at 9 AM


06/23/2022 Request For Dismissal 


Request For Dismissal Without Prejudice AS TO SECOND CAUSE OF ACTION, FOR BREACH OF ORAL
CONTRACT ON

  Comment
  Without Prejudice AS TO SECOND CAUSE OF ACTION, FOR BREACH OF ORAL CONTRACT ONLY


06/30/2022 Notice of Entry of Dismissal and Proof of Service 


Notice of Entry of Dismissal and Proof of Service
  07/19/2022 Answer 


  Answer to PLAINTIFF'S FIRST AMENDED COMPLAINT

     Comment
     to PLAINTIFF'S FIRST AMENDED COMPLAINT


  08/29/2022 Case Management Conference 


  Judicial Officer
  Halperin, Ernst A.

  Hearing Time
  9:00 AM




Financial

LISA JO NOBLE, AS ADMINISTRATOR OF THE ESTATE OF DANIEL STRANGE, DECEASED
      Total Financial Assessment                                                             $435.00
      Total Payments and Credits                                                             $435.00


 3/3/2021      Transaction Assessment                                                       $435.00

 3/3/2021      eFile Online Payment       Receipt # 2021-008272-HOJ       Noble, Lisa Jo   ($435.00)
Abdeljawad, Eyad Yaser
      Total Financial Assessment                                                             $555.00
      Total Payments and Credits                                                             $555.00


 3/18/2022     Transaction                                                                  $555.00
               Assessment

 3/18/2022     eFile Online Payment     Receipt # 2022-010559-    Abdeljawad, Eyad         ($555.00)
                                        HOJ                       Yaser




Documents


  Civil Case Cover Sheet
Summons Issued / Filed
Complaint

Notice of Assignment for All Purposes
CMC - Not at issue - no service/default/answer.
CMC Order Continue - Not Yet at Issue
CMC - Not at issue - no service/default/answer.

CMC Order Continue - Not Yet at Issue
CMC - Not at issue - no service/default/answer.
CMC Order Continue - Not Yet at Issue

Proof of Service by PERSONAL SERVICE of COMPLAINT; SUMMONS; NOTICE OF CONTINUED CMC
Demurrer to Complaint
Motion to Strike PORTIONS OF VERIFIED COMPLAINT FOR DAMAGES

Request for Judicial Notice
Separate Statement OF OBJECTIONS TO PLAINTIFF'S VERIFIED COMPLAINT
Declaration in Support OF GOOD FAITH MEET AND CONFER
Notice of Case Management Conference 6/16/2022 at 9:00 a.m.

Proof of Service by MAIL of MOTION TO STRIKE PORTIONS OF COMPLAINT;ETC...
Notice of Related Case CASE NUMBER: 19-PRO-00643
Memorandum of Points and Authorities in Opposition TO DEFENDANT'S DEMURRER TO"VERIFIED COMPLAINT
FOR
Memorandum of Points and Authorities in Opposition TO DEFENDANT'S MOTION TO STRIKE
Memorandum of Points and Authorities in Opposition TO DEFENDANT'S MOTION FOR JUDGMENT ON THE
PLEADIN
Memorandum of Points and Authorities in Reply AND OBJECTION TO "DEFENDANT'S SEPARATE STATEMENT
OF OB

Memorandum of Points and Authorities in Reply AND OBJECTION TO DEFENDANT REQUEST FOR JUDICIAL
NOTICE
Proposed Order Received OVERRULING DEMURRER TO VERIFIED COMPLAINT FOR (1) LEGAL
MALPRACTICE, (2) BRE
Proposed Order Received DENYING MOTION TO STRIKE PORTIONS OF COMPLAINT
Proof of Service by MAIL of PLAINTIFF'S OPPOSITION TO DEMURRER TO COMPLAINT;ETC...

Memorandum of Points and Authorities in Reply BRIEF IN SUPPORT OF MOTION OF DEFENDANT TO STRIKE
PORT
Memorandum of Points and Authorities in Reply BRIEF IN SUPPORT OF DEMURRER

Memorandum of Points and Authorities in Reply BRIEF IN SUPPORT OF MOTION FOR JUDGMENT ON TH
PLEADING
Proof of Service by MAIL of REPLY BRIEF IN SUPPORT OF MOTION TO STRIKE, REPLY BRIEF IN SUPPORT
OF DE
~CIV Minute Order - Hearing on Demurrer 05/18/2022

~CIV Minute Order - Motion to Strike 05/18/2022
First Amended Complaint
Case Management Statement
~CIV Minute Order - Case Management Conference 06/16/2022

Notice of Case Management Conference - 8/29/22 at 9 AM
Request For Dismissal Without Prejudice AS TO SECOND CAUSE OF ACTION, FOR BREACH OF ORAL
CONTRACT ON

Notice of Entry of Dismissal and Proof of Service
EXHIBIT F
1    Kenneth H. Prochnow, SBN 112983
     Law Offices of Kenneth H. Prochnow
2    1771 Woodside Road, Suite 2                                                     6/6/2022
     Redwood City, CA 94061
3    Tel: (650) 812-0400
     Fax: (650) 812-0404
4
     Attorneys for Petitioner Lisa Jo Noble,
5    Administrator of the Estate of Daniel Strange
6
7
8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
9                            IN AND FOR THE COUNTY OF SAN MATEO
10                                                           Case No.: 21-CIV-01037
     LISA JO NOBLE, as Administrator of the
11   Estate of Daniel Strange, Deceased,                     FIRST AMENDED COMPLAINT FOR
                                                             LEGAL MALPRACTICE and
12                                                           BREACH OF FIDUCIARY DUTY.
                     Plaintiff,
13
     vs.
14
     EYAD YASER ABDELJAWAD, and DOES 1
15   through 100, inclusive,

16                   Defendants.
17
18   Plaintiff Lisa Jo Noble, as administrator of the estate of Daniel Strange, hereby complains and

19   alleges as follows:

20           1.      Plaintiff Lisa Jo Noble (“Administrator Noble”) is the duly appointed and acting

21   administrator of the Estate of Daniel Strange, San Mateo County Superior Court No. 19-PRO-

22   00643 (the “Estate”), having been appointed administrator pursuant to an Order for Probate

23   entered by this Court in the Estate probate on July 11, 2019, with letter of administration

24   issuing from the Clerk of this Court on that same date.

25           2.      Defendant Eyad Yaser Abdeljawad (hereinafter referred to as Defendant

26   Attorney) upon information and belief, is now, and at all times mentioned herein was, an

27   individual, and a licensed attorney at law doing business in the County of Santa Barbara, State

28

                         FIRST AMENDED COMPLAINT FOR LEGAL MALPRACTICE, etc.                           Page 1
     Lisa Jo Noble, Administrator of the Estate of Daniel Strange v. Eyad Yaser Abdeljawad
     San Mateo Cty Sup. Ct. No. 21-CIV-01037                                      {2806/04/00065892.DOCX}
1    of California. Defendant Attorney at all pertinent times between May 22, 2019 and March 21,
2    2020, was the attorney of record for Administrator Noble.
3            3.      This court is the proper court for trial in this action in that all legal services
4    provided to Administrator Noble or undertaken by Defendant Attorney were in relation to her
5    performance of her duties as Administrator of the Estate, which is being probated in San Mateo
6    County.
7            4.      Plaintiff is unaware of the true names or capacities, whether they are individuals
8    or business entities, of Defendant DOES 1 through 100 inclusive, and therefore sues them by
9    such fictitious names and will seek leave of this Court to insert true names and capacities once
10   they have been ascertained.
11           5.      At all times mentioned herein, Defendant, and each of them, inclusive of DOES
12   1 through 100, were authorized and empowered by each other to act, and did so act, as agents
13   of each other, and all of the things herein alleged to have been done by them were done in the
14   capacity of such agency. Upon information and belief, all Defendants are responsible in some
15   manner for the events described herein and are liable to Plaintiff for the damages she has
16   incurred.
17           6.      Administrator Noble is a sister of the decedent Daniel Strange (“Decedent
18   Strange”), who died on December 12, 2010.
19           7.      Decedent Strange died intestate.
20           8.      At the time of Decedent Strange’s death in 2010, he was married to Gaye
21   Dotson (“Surviving Spouse Dotson”).
22           9.      At the time of Decedent Strange’s death in 2010, he owned a residence located
23   at 432 Waverly Street, Menlo Park, CA 94025 (the “Menlo Park Residence”).
24           10.     The Menlo Park Residence was at all pertinent times Decedent Strange’s
25   separate property; Surviving Spouse Dotson neither has nor had any community property
26   interest therein.
27           11.     The Menlo Park Residence was at all pertinent times an asset of the Estate.
28           12.     Decedent Strange had no children.

                         FIRST AMENDED COMPLAINT FOR LEGAL MALPRACTICE, etc.                           Page 2
     Lisa Jo Noble, Administrator of the Estate of Daniel Strange v. Eyad Yaser Abdeljawad
     San Mateo Cty Sup. Ct. No. 21-CIV-01037                                      {2806/04/00065892.DOCX}
1            13.     Decedent Strange’s parents predeceased him.
2            14.     Decedent Strange was survived by three siblings—Administrator Noble,
3    Christopher B. Strange and Tina Michele Britt (collectively, “Decedent’s Siblings”).
4            15.     Under the intestate succession laws of this State [Probate Code §§
5    6401(c)(2)(B); 6402(c)], the intestate heirs to Decedent’s Estate are Surviving Spouse Dotson
6    and Decedent’s Siblings (including Administrator Noble).
7            16.     At the time of Decedent’s death in 2010, Decedent Strange’s Menlo Park
8    Residence was encumbered by a mortgage.
9            17.     Upon information and belief, following Decedent’s death in 2010, the Menlo
10   Park Residence, an asset of the Estate, was rented out to a third party or parties, whose
11   identities are unknown to Administrator Noble at this writing.
12           18.     Upon information and belief, following Decedent’s death in 2010 the net rental
13   income from the Menlo Park Residence, an asset of the Estate, was paid out not to or for the
14   Estate, but rather to Surviving Spouse Dotson, without regard to rights of the Estate to such
15   income and assets.
16           19.     Upon information and belief, despite Surviving Spouse Dotson’s receipt of the
17   rental income from the Menlo Park Residence, Surviving Spouse Dotson failed to make
18   mortgage payments to the lender holding the mortgage to the Menlo Park Residence.
19           20.     Upon information and belief, in the absence of mortgage payments to the Menlo
20   Park Residence mortgagee, the mortgagee declared the Menlo Park Residence loan to be in
21   default.
22           21.     Pursuant to a duly issued notice of default and notice of sale, the Menlo Park
23   Residence was foreclosed, with the trustee’s sale occurring on January 10, 2019.
24           22.     The January 10, 2019, foreclosure sale netted a surplus above and beyond the
25   amount needed to satisfy all claims of the mortgagee at foreclosure; such “Surplus Foreclosure
26   Sale Proceeds” from the foreclosure sale of the Menlo Park Residence totaled $1,487,688.10.
27           23.     Following the foreclosure sale, the $1,487,688.10 in Surplus Foreclosure Sale
28   Proceeds were held and retained by a third party, Affinia Default Services, LLC (“Affinia”).

                         FIRST AMENDED COMPLAINT FOR LEGAL MALPRACTICE, etc.                           Page 3
     Lisa Jo Noble, Administrator of the Estate of Daniel Strange v. Eyad Yaser Abdeljawad
     San Mateo Cty Sup. Ct. No. 21-CIV-01037                                      {2806/04/00065892.DOCX}
1            24.     At some point after January 10, 2019, an individual or individuals doing
2    business as National Recovery Solutions (“NRS”) became aware of the $1,487,688.10 in
3    Surplus Foreclosure Sale Proceeds held by Affinia.
4            25.     Upon information and belief, Defendant Attorney then represented NRS or
5    worked for NRS in some compensated capacity.
6            26.     Acting for NRS, Defendant Attorney contacted Administrator Noble (in her
7    individual capacity, prior to her appointment as Administrator by this Court) and, upon
8    information and belief, contacted the other two of Decedent’s Siblings, offering on behalf of
9    NRS to obtain for each a share of the Surplus Foreclosure Sale Proceeds in exchange for
10   payment to NRS of a commission or finder’s fee.
11           27.     In communicating the offer to obtain shares of the Surplus Foreclosure Sale
12   Proceeds for Decedent Strange’s Relatives, Defendant represented NRS.
13           28.     Administrator Noble, a Texas resident unfamiliar with California probate law or
14   procedure, and without benefit of counsel, received, executed and returned two documents sent
15   to her by Defendant Attorney.
16           29.     The first document is a “Client Contingency Fee Agreement,” a true and correct
17   copy of which as signed on April 22, 2019 by Administrator Noble is attached as Exhibit 1A
18   hereto and incorporated by this reference, and a true and correct copy of which in unsigned and
19   more legible form is attached as Exhibit 1B hereto and incorporated by this reference.
20           30.     The second document is a “Statement of Authorization To Represent As
21   Attorney,” a true and correct copy of which as signed on April 22, 2019 by Administrator
22   Noble is attached as Exhibit 2A hereto and incorporated by this reference, and a true and
23   correct copy of which in unsigned and more legible form is attached as Exhibit 2B hereto and
24   incorporated by this reference.
25           31.     By these two April 22, 2019 documents, Administrator Noble agreed as an
26   individual to pay to NRS a portion of the Surplus Foreclosure Sale Proceeds recovered for her
27   by NRS; NRS in turn agreed to perform required legal services, presumably through Defendant
28   Attorney.

                         FIRST AMENDED COMPLAINT FOR LEGAL MALPRACTICE, etc.                           Page 4
     Lisa Jo Noble, Administrator of the Estate of Daniel Strange v. Eyad Yaser Abdeljawad
     San Mateo Cty Sup. Ct. No. 21-CIV-01037                                      {2806/04/00065892.DOCX}
1              32.   Upon information and belief, forms similar or identical to the foregoing Client
2    Contingency Fee Agreement and the Statement of Authorization To Represent As Attorney
3    were signed by the other two Decedent’s Relatives.
4              33.   Upon information and belief, NRS was unable to contact or to reach agreement
5    with Surviving Spouse Dotson as to any right or entitlement of NRS to act on Surviving Spouse
6    Dotson’s behalf, to receive or to hold funds for her, or to gain entitlement to any commission or
7    finder’s fee with respect to funds obtained through the efforts of NRS for Surviving Spouse
8    Dotson.
9              34.   Upon information and belief, despite obtaining signatures on Exhibits 1A and
10   2A from Administrator Noble and similar authorization from the other of Decedent’s Relatives,
11   Affinia refused to turn over to NRS all or any part of the Surplus Foreclosure Sale Proceeds.
12             35.   Upon information and belief, Affinia refused to turn over any of the Surplus
13   Foreclosure Sale Proceeds except to a duly authorized administrator of Decedent Strange’s
14   Estate.
15             36.   Accordingly, in the absence of such a duly appointed administrator, Defendant
16   Attorney advised Administrator Noble that an Estate administrator was needed, that she would
17   serve as that administrator, and that he (Defendant Attorney) would prepare the necessary
18   papers to gain her appointment as administrator from this Court, and that he would represent
19   her as her attorney.
20             37.   On May 22, 2019, Defendant Attorney, now acting as counsel for Administrator
21   Noble as the prospective “Executor” for the Estate, filed a petition for probate and related
22   papers with this Court.
23             38.   At no time prior to filing the petition for probate on Administrator Noble’s
24   behalf did Defendant Attorney prepare, negotiate, or obtain a legal services agreement with
25   Administrator Noble, spelling out the terms and conditions of his representation of her as
26   “Executor” of a $1,487,855 Estate.
27             39.   In proceeding with Administrator Noble’s representation without a legal
28   services agreement, Defendant Attorney:

                         FIRST AMENDED COMPLAINT FOR LEGAL MALPRACTICE, etc.                           Page 5
     Lisa Jo Noble, Administrator of the Estate of Daniel Strange v. Eyad Yaser Abdeljawad
     San Mateo Cty Sup. Ct. No. 21-CIV-01037                                      {2806/04/00065892.DOCX}
1    (a) failed to advise Administrator Noble of the purpose and scope of his representation;
2    (b) failed to obtain agreement as to his compensation (attorneys for administrators are bound by
3    California law to be compensated not by hourly rate or contingent fees, but through provision
4    for “ordinary” and “extraordinary” attorney’s fees payable only following application to and
5    order from the Probate Court);
6    (c) failed to disclose the conflict of interest inherent in working for and/or representing NRS
7    (and previously arranging finder’s fee compensation for NRS) and then assuming
8    representation of Administrator Noble, who owes and is owed contractual duties to his pre-
9    existing client NRS; and
10   (d) failed to obtain a waiver from Administrator Noble of such undisclosed conflict of interest.
11           40.     Defendant Attorney’s Petition for Probate filed on Administrator Noble’s behalf
12   came duly on for hearing on July 11, 2019; in the absence of opposition or any appearance, the
13   Petition for Probate was granted by this Court on that date.
14           41.     A true and correct copy of this Court’s July 11, 2019 Order for Probate is
15   attached as Exhibit 3 hereto and is incorporated by this reference.
16           42.     Defendant Attorney then caused Letters of Administration to issue; a true and
17   correct copy of this Court’s July 11, 2019 Letters of Administration is attached as Exhibit 4
18   hereto and is incorporated by this reference.
19           43.     As of July 11, 2019, and to the date of this writing, Administrator Noble, and no
20   other, has been duly authorized to administer the Estate, marshaling its assets.
21           44.     Upon information and belief, with Estate administration in place, Affinia
22   arranged for its transfer of the Surplus Foreclosure Sale Proceeds that it had held since January
23   10, 2019, through preparation of a bank check, drawn from the client trust account of its
24   California counsel (the law firm “McCalla Raymer Leibert Pierce LLP”) in the amount of the
25   Surplus Foreclosure Sale Proceeds, $1,487,688.10.
26           45.     A true and correct copy of McCalla Raymer Leibert Pierce trust account check
27   no. 2244, dated July 23, 2019, and payable to the order of “Lisa Jo Noble, Administrator of the
28

                         FIRST AMENDED COMPLAINT FOR LEGAL MALPRACTICE, etc.                           Page 6
     Lisa Jo Noble, Administrator of the Estate of Daniel Strange v. Eyad Yaser Abdeljawad
     San Mateo Cty Sup. Ct. No. 21-CIV-01037                                      {2806/04/00065892.DOCX}
1    Estate of Daniel Strange” in the amount of $1,487,688.10 (the “Affinia Proceeds Check”), is
2    attached as Exhibit 5 hereto and incorporated by this reference.
3            46.     Upon information and belief, the Affinia Proceeds Check was delivered to
4    Defendant Attorney.
5            47.     Defendant Attorney never delivered the Affinia Proceeds Check to
6    Administrator Noble.
7            48.     Defendant Attorney made no effort to deliver the Affinia Proceeds Check to
8    Administrator Noble.
9            49.     The Affinia Proceeds Check was never cashed or otherwise negotiated by
10   Administrator Noble.
11           50.     Upon information and belief, after the Affinia Proceeds Check was issued on
12   July 23, 2019, it was received by NRS.
13           51.     NRS at no time delivered or attempted to deliver the Affinia Proceeds Check to
14   Administrator Noble.
15           52.     Upon information and belief, instead of delivering the Affinia Proceeds Check
16   to Administrator Noble, NRS and Defendant Attorney spent months after July 2019 attempting
17   to cash or otherwise negotiate the Affinia Proceeds Check for their own use and purposes.
18           53.     Upon information and belief, NRS and Defendant Attorney encountered
19   substantial difficulties and lengthy delay in negotiating the Affinia Proceeds Check (drawn to
20   the order of Administrator Noble in her capacity as Administrator of the Estate) for their own
21   use and purposes.
22           54.      In or about December 2019, NRS and Defendant Attorney were successful in
23   negotiating the Affinia Proceeds Check for their own use and purposes, upon information and
24   belief depositing the entirety of the $1,487,688.10 into a bank account in the name of an
25   individual doing business as NRS.
26           55.     With the Estate’s $1,487,688.10 in hand from their negotiation of the Affinia
27   Proceeds Check, NRS refused to turn over this Estate asset to Administrator Noble.
28

                         FIRST AMENDED COMPLAINT FOR LEGAL MALPRACTICE, etc.                           Page 7
     Lisa Jo Noble, Administrator of the Estate of Daniel Strange v. Eyad Yaser Abdeljawad
     San Mateo Cty Sup. Ct. No. 21-CIV-01037                                      {2806/04/00065892.DOCX}
1              56.   Acting through Defendant Attorney—who was then still Administrator Noble’s
2    attorney before this Court—NRS demanded that Administrator Noble authorize NRS to turn
3    over, from the Estate assets that NRS now wrongfully held, the supposed surviving spouse’s
4    intestate share of the Estate due to Surviving Spouse Dotson.
5              57.   Administrator Noble, believing that it was improper to make payments to Estate
6    beneficiaries without court approval, and without evidence that Surviving Spouse Dotson had
7    any contractual arrangement with the NRS Respondents entitling them to any portion of assets
8    belonging to the Estate, insisted that all of the $1,487,688.10 held by the NRS Respondents be
9    turned over to her as an Estate asset.
10             58.   NRS has turned over only a portion of the Estate asset of $1,487,688.10 that it
11   obtained by cashing the Affinia Proceeds Check.
12             59.   Specifically-
13   (a) on February 3, 2020, NRS caused its check no. 1338 to be drawn from a National Recovery
14   Solutions Account payable to “Lisa J. Noble for Estate of Daniel Strange” in the amount of
15   $138,000, with that check subsequently delivered to and negotiated by Administrator Noble;
16   (b) on February 7, 2020, NRS caused a wire transfer of $62,000 to be made to Administrator
17   Noble’s Estate account; and
18   (c) on February 14, 2020, NRS caused a Chase Bank check to be drawn, made payable to “Lisa
19   J Noble Estate of Daniel Strange” in the amount of $482,620.83, with that check transmitted to
20   Administrator Noble.
21             60.   Administrator Noble received these two checks and the wire transfer in her
22   capacity of Estate Administrator; she deposited the three above-referenced sums, totaling
23   $682,620.83, in a duly established Estate account, where such total, less expenses of
24   administration and a Court-authorized preliminary distribution, continues to be held for the
25   Estate.
26             61.   NRS’ transfer of $682,620.83 to Administrator Noble from the Estate funds held
27   by NRS that totaled $1,487,688.10, left NRS in possession of $805,067.30 in Estate funds,
28   withheld from the Estate without authorization from this Court.

                         FIRST AMENDED COMPLAINT FOR LEGAL MALPRACTICE, etc.                           Page 8
     Lisa Jo Noble, Administrator of the Estate of Daniel Strange v. Eyad Yaser Abdeljawad
     San Mateo Cty Sup. Ct. No. 21-CIV-01037                                      {2806/04/00065892.DOCX}
1             62.    Upon information and belief, NRS has transferred none of the funds it and
2    Defendant Attorney contend belong to Surviving Spouse Dotson, to Surviving Spouse Dotson.
3             63.    On February 24, 2020, NRS filed a civil interpleader action with this Court. A
4    true and correct copy of Respondent NRS’ February 24, 2020 “Plaintiff Complaint for
5    Interpleader per CCP Sec. 386(B)” (the “NRS Interpleader Complaint”) is attached as Exhibit 6
6    hereto and incorporated by this reference.
7             64.    Upon information and belief, the NRS Interpleader Complaint was drafted by
8    Defendant Attorney for NRS’ use, contrary to his duty of loyalty to his client Administrator
9    Noble.
10            65.    NRS filed its complaint in the NRS Interpleader Complaint civil action in pro
11   per, and has only recently retained counsel in that matter..
12            66.    On March 25, 2020—after the NRS Interpleader Complaint was filed with this
13   Court against Administrator Noble—Administrator Noble secured Defendant Attorney’s
14   withdrawal as her counsel, substituting her present counsel for Respondent Abdeljawad in the
15   Estate’s probate pending before this Court, No. 19-PRO-00643.
16            67.    The complaint in this action was filed within one year of March 25, 2020, the
17   date that the attorney-client relationship between Administrator Noble and Defendant Attorney
18   terminated.
19            68.    Administrator Noble’s present counsel obtained copies of the front and back of
20   the Affinia Proceeds Check (see Exhibit 5 hereto) from the McCalla Raymer Leibert Pierce law
21   firm. A true and correct copy of the front and back of the Affinia Proceeds Check drawn on the
22   McCalla Raymer Leibert Pierce trust account is attached as Exhibit 7 hereto and is incorporated
23   by this reference.
24            69.    Although the Affinia Proceeds Check is drawn to the order of “Lisa Jo Noble,
25   Administrator of the Estate of Daniel Strange,” the endorsement on the back of the Affinia
26   Proceeds Check (Exhibit 7 hereto) bears only an individual’s signature.
27            70.    Administrator Noble has at no time signed, endorsed or negotiated the Affinia
28   Proceeds Check.

                         FIRST AMENDED COMPLAINT FOR LEGAL MALPRACTICE, etc.                           Page 9
     Lisa Jo Noble, Administrator of the Estate of Daniel Strange v. Eyad Yaser Abdeljawad
     San Mateo Cty Sup. Ct. No. 21-CIV-01037                                      {2806/04/00065892.DOCX}
1            71.     The endorsement that appears on the back of the Affinia Proceeds Check
2    (Exhibit 7 hereto) is not Administrator Noble’s signature: it is a forgery.
3                                           FIRST CAUSE OF ACTION
4          PROFESSIONAL NEGLIGENCE AS AGAINST DEFENDANT ATTORNEY
5            72.      Administrator Noble repeats, repleads and realleges each and every allegation
6    set forth in paragraphs 1 through 71 inclusive, of this complaint.
7            73.     On or about May 22, 2019, Defendant Attorney commenced to act as
8    Administrator Noble’s attorney by representing Administrator Noble in filing papers with this
9    Court nominating Administrator Noble as the proposed “Executor” of the Estate.
10           74.     In undertaking and agreeing to carry out such representation of Administrator
11   Noble, Defendant Attorney had a duty to use such skill, prudence, and diligence as other
12   members of his profession commonly possess and exercise in representing administrators.
13           75.     Defendant Attorney breached his duties to Administrator Noble as follows:
14   (a) as of May 22, 2019, and continuously thereafter to and through the termination of his
15   engagement as attorney for Administrator Noble on or about March 25, 2020, by agreeing to
16   provide and by continuing to provide legal services to Administrator Noble, providing services
17   reasonably contemplated to exceed $1,000 in value, without a written legal services agreement
18   agreed to and signed by Administrator Noble, with such legal services agreement describing,
19   among other things, the purpose and scope of Defendant Attorney’s contemplated legal
20   services; the compensation Defendant Attorney would receive for providing such services
21   (attorneys for administrators are bound by California law to be compensated not by hourly rate
22   or contingent fees, but through provision for “ordinary” and “extraordinary” attorney’s fees
23   payable only following application to and order from the Probate Court); and the conflict of
24   interest inherent in Defendant Attorney’s working for and/or representing NRS (and previously
25   arranging finder’s fee compensation for NRS from Administrator Noble) while undertaking
26   representation of Administrator Noble, who owes duties to the Estate as its Administrator in
27   addition to whatever contractual obligations she may have assumed to NRS;
28   (b) as of May 22, 2019, and continuously thereafter to and through the termination of his

                         FIRST AMENDED COMPLAINT FOR LEGAL MALPRACTICE, etc.                          Page 10
     Lisa Jo Noble, Administrator of the Estate of Daniel Strange v. Eyad Yaser Abdeljawad
     San Mateo Cty Sup. Ct. No. 21-CIV-01037                                      {2806/04/00065892.DOCX}
1    engagement as attorney for Administrator Noble on or about March 25, 2020, by failing to
2    obtain Administrator Noble’s waiver of the above-described conflict of interest and her
3    informed consent to Defendant Attorney’s continued representation of NRS in conflict with the
4    duties he owed to Administrator Noble as her attorney before this Court;
5    (c) as of May 22, 2019, and continuously thereafter to and through the termination of his
6    engagement as attorney for Defendant Noble on or about March 25, 2020, by failing to advise
7    Administrator Noble of her duties to marshal the Estate asset that was and is the Surplus
8    Foreclosure Sale Proceeds from the Menlo Park Residence, in the amount of $1,487,688.10;
9    (d) as of May 22, 2019, and continuously thereafter to and through the termination of his
10   engagement as attorney for Defendant Noble on or about March 25, 2020, by failing to assist
11   Administrator Noble in recovering the Surplus Foreclosure Sale Proceeds for the Estate;
12   (e) as of May 22, 2019, and continuously thereafter to and through the termination of his
13   engagement as attorney for Defendant Noble on or about March 25, 2020, upon information
14   and belief in receiving the Affinia Proceeds Check (payable to “Lisa Jo Noble [Administrator
15   Noble], Administrator of the Estate of Daniel Strange,” and then failing at any time to deliver
16   the Affinia Proceeds Check to Administrator Noble for her to negotiate such check for benefit
17   of the Estate;
18   (f) as of May 22, 2019, and continuously thereafter to and through the termination of his
19   engagement as attorney for Defendant Noble on or about March 25, 2020, upon information
20   and belief in negotiating (or in assisting NRS in the negotiation of) the Affinia Proceeds Check
21   for the benefit of NRS, resulting in $1,487,688.10 in Estate funds being intercepted by NRS
22   and deposited in an NRS account for its benefit; and
23   (g) as of May 22, 2019, and continuously thereafter to and through the termination of his
24   engagement as attorney for Defendant Noble on or about March 25, 2020, upon information
25   and belief in allowing NRS to retain $805,067.30 in Estate funds from the $1,487,688.10
26   Affinia Proceeds Check, the proceeds of which belong to the Estate in its entirety.
27           76.      But for the professional negligence of Defendant Attorney, Administrator Noble
28   would not have been damaged, as she would have received and negotiated the Affinia Proceeds

                         FIRST AMENDED COMPLAINT FOR LEGAL MALPRACTICE, etc.                          Page 11
     Lisa Jo Noble, Administrator of the Estate of Daniel Strange v. Eyad Yaser Abdeljawad
     San Mateo Cty Sup. Ct. No. 21-CIV-01037                                      {2806/04/00065892.DOCX}
1    Check for the benefit and as an asset of the Estate, resulting in the Estate holding funds totaling
2    $1,487,688.10, rather than the $682,620.83 eventually received from NRS.
3             77.    As a proximate result of the professional negligence of Defendant Attorney,
4    Administrator Noble and the Estate have been damaged in the amount of $805,067.30, plus
5    interest thereon according to proof.
6    WHEREFORE, Administrator Noble prays judgment as set forth below.
7      SECOND CAUSE OF ACTION – DISMISSED WITHOUT PREJUDICE WITH NO
8                                 ACTION OR RECOVERY THEREON
9             Paragraphs 78 – 82 are intentionally left blank.
10                                      THIRD CAUSE OF ACTION
11              BREACH OF FIDUCIARY DUTY AS AGAINST ALL DEFENDANTS
12            83.     Plaintiff repeats, repleads and realleges each and every allegation set forth in
13   paragraphs 1 through 77 inclusive of this complaint as though set forth herein.
14            84.    At all pertinent times, Defendant Attorney was acting as a fiduciary of
15   Administrator Noble.
16            85.    Defendant Attorney breached the fiduciary duties he owed to Administrator
17   Noble:
18   (a) as of May 22, 2019, and continuously thereafter to and through the termination of his
19   engagement as attorney for Administrator Noble on or about March 25, 2020, by failing to
20   reduce his agreement with Administrator Noble to writing and obtaining her written execution
21   of such writing, thereby failing to specify the duties he would assume and perform;
22   (b) as of May 22, 2019, and continuously thereafter to and through the termination of his
23   engagement as attorney for Administrator Noble on or about March 25, 2020, by failing to
24   obtain Administrator Noble’s written waiver of the above-referenced conflict of interest and her
25   informed consent to Defendant Attorney’s continued representation of NRS in conflict with the
26   duties he owed to Administrator Noble as her attorney before this Court, thereby violating his
27   duty of loyalty to Administrator Noble and to her alone as his client in connection with the
28   Estate and its assets;

                         FIRST AMENDED COMPLAINT FOR LEGAL MALPRACTICE, etc.                          Page 12
     Lisa Jo Noble, Administrator of the Estate of Daniel Strange v. Eyad Yaser Abdeljawad
     San Mateo Cty Sup. Ct. No. 21-CIV-01037                                      {2806/04/00065892.DOCX}
1    (c) as of May 22, 2019, and continuously thereafter to and through the termination of his
2    engagement as attorney for Defendant Noble on or about March 25, 2020, by failing to advise
3    Administrator Noble of her duties to marshal the Estate asset that was and is the Surplus
4    Foreclosure Sale Proceeds from the Menlo Park Residence, in the amount of $1,487,688.10;
5    (d) as of May 22, 2019, and continuously thereafter to and through the termination of his
6    engagement as attorney for Defendant Noble on or about March 25, 2020, by failing to assist
7    Administrator Noble in recovering the Surplus Foreclosure Sale Proceeds for the Estate,
8    thereby putting his allegiance to his affiliate and earlier represented party NRS above and ahead
9    of his duties to Administrator Noble;
10   (e) as of May 22, 2019, and continuously thereafter to and through the termination of his
11   engagement as attorney for Defendant Noble on or about March 25, 2020, upon information
12   and belief in receiving the Affinia Proceeds Check (payable to “Lisa Jo Noble [Administrator
13   Noble], Administrator of the Estate of Daniel Strange,”) and then failing at any time to deliver
14   the Affinia Proceeds Check to Administrator Noble for her to negotiate such check for benefit
15   of the Estate; thereby failing to secure Estate assets for the benefit of the Estate and
16   Administrator Noble as Estate administrator;
17   (f) as of May 22, 2019, and continuously thereafter to and through the termination of his
18   engagement as attorney for Defendant Noble on or about March 25, 2020, upon information
19   and belief in negotiating (or in assisting NRS in the negotiation of) the Affinia Proceeds Check
20   for the benefit of NRS, resulting in $1,487,688.10 in Estate funds being intercepted by NRS
21   and deposited in an NRS account for its benefit; thereby permitting Estate assets to pass to and
22   to be retained by a third party, resulting in harm to the Estate; and
23   (g) as of May 22, 2019, and continuously thereafter to and through the termination of his
24   engagement as attorney for Defendant Noble on or about March 25, 2020, upon information
25   and belief in allowing NRS to retain $805,067.30 in Estate funds from the $1,487,688.10
26   Affinia Proceeds Check, the proceeds of which belong to the Estate in its entirety.
27           86.     As a proximate result of Defendant Attorney’s breached of fiduciary duty,
28   Administrator Noble and the Estate have been damaged in the amount of $805,067.30, plus

                         FIRST AMENDED COMPLAINT FOR LEGAL MALPRACTICE, etc.                          Page 13
     Lisa Jo Noble, Administrator of the Estate of Daniel Strange v. Eyad Yaser Abdeljawad
     San Mateo Cty Sup. Ct. No. 21-CIV-01037                                      {2806/04/00065892.DOCX}
1    interest thereon according to proof.
2    WHEREFORE Administrator Noble prays judgment as follows:
3                                        FIRST CAUSE OF ACTION
4            On Administrator Noble’s first cause of action, for professional negligence:
5            1.      For damages in the amount of $805,067.30, together with interest thereon at the
6    legal rate, according to proof at time of trial;
7            2.      For costs of suit herein incurred, and
8            3.      For such other and further relief as the Court deems just and proper.
9                                      SECOND CAUSE OF ACTION
10           Administrator Noble has dismissed her second cause of action and seeks no recovery or
11   relief on such cause of action.
12                                      THIRD CAUSE OF ACTION
13           On Administrator Noble’s third cause of action, for breach of fiduciary duty:
14           1.      For damages in the amount of $805,067.30, together with interest thereon at the
15   legal rate, according to proof at time of trial;
16           2.      For costs of suit herein incurred, and
17           3.      For such other and further relief as the Court deems just and proper.
18
19   Dated: June 6, 2022                                      LAW OFFICES OF KENNETH H. PROCHNOW
20
21                                                      By:
22                                                            Kenneth H. Prochnow, Attorneys for
                                                              Plaintiff Lisa Jo Noble, Administrator of
23                                                            the Estate of Daniel Strange

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                         FIRST AMENDED COMPLAINT FOR LEGAL MALPRACTICE, etc.                          Page 14
     Lisa Jo Noble, Administrator of the Estate of Daniel Strange v. Eyad Yaser Abdeljawad
     San Mateo Cty Sup. Ct. No. 21-CIV-01037                                      {2806/04/00065892.DOCX}
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Harman" «annivéuré ..z uwfv                    .u .4453»... ... 9......urn4aca .649131 n, 4. 4G... Igmmhnu mnhi 4.44               4644...".

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5.4.0.1nufznen nun" 4.5“. .4443»
                                         1.5.1.5 “4..24.1.3” an? . Jwunuuauu «.39.»...4334?4:4“4. ...:                    3&3                                                                         14


n9 ".44....3 “a ....um n: 5.1.4»...4r
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wk «~44 2. (tap: w u «...»... x. "4111. a... 441.,» 4... L k m1. .1...... .T.21.... 1....»
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4....” 4w. 4:...€344.24. .... 4 «.44... 2. 41.42 n: $44337w ”nun—I... 4.1., may. 4&3 7.4,. m2“ z :42 «L                        4  S” 4..“                                                 m                 .4   .4“

Hi .53. :4azn4m..uhum 371,37 n. A 474...». 744 1.... 34...?” $25: W444». I... «54$»: _ A... L2H. "I. awuwd w: 9r. .4454:
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mun? n? .i . Eu.» 7342.2». (...; 91.: n... .4. 4 .43..n. ..
rmvmrarh.“            .43 x «Hutu... m: a. r m1: h 35.» rears... 4:3... mu» ...4 4.: a 4.x... 4.44....» $31914 4:: . .u p.444:
.43 n2 ... a.“ my: ..       a...        4.44:... ....u. 443.44.31.24 .
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F444.:5. 2.44. n4 .25. a .. :      ,1 4......4,1. .34 sax. .xr ...n xii.“       3 Bangaé.n 44.44:“.L. 3:324:44.an
u. ”Eu .5144”. a 45.443.» .R. 4.1;, .414 «2:429 E1: .4              «:4 ... a ..: 44.44..m«.45..v as Ear a.... 1.42454 nu unwrap: ”an
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54.4.4.4:3           .L 4.: .... 44$.“ 44:744.“
.abhvn 4w «32.x. a: bi- uh. m... wish. 42m» hawk». 3MPX...«rmuk m4. mm. .nmnéz                                                                                                  194a»   nirah        4: 44.47“. fuzzhza.
...“ :2 4 . :4                                                     v.3}. 4.435444. . a...... .3... cFazéxw                                                                 ..        7FLET4 9.44%...“
E45433. .4 4445.934»          r4. n               z
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n4: 5414“. H. ......4.IZ..:KL. “14 .... a “4C... a... an...

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k 19.4.33 2.45.». «54.. a .438 v.24. w. p T2” ”...... 4955:2414 r .454.7. $41 .nvhm 4.53m». 14F: n54 ".... 4.4“. S . n
43325.28 1w“, 431..».4?...» r1124. “.1. 3,174 ..22. .. 4.4 .. .7.r:.nSixth... .4...4.n1......:3L4. 4.4.4.
Q4...” 3’ ash 4...?" 1.4.4.4434...“ a, .44.." .11... 4.4.4.15 ...  (a... 45".. maa- E «E (“a 4.3.4.23 mmq u mama... v4. 21
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1.1.14. as. 4.34....LT: a. 142.24 4 an .         44W! 44.4... .5     .
                                                                  (A... .4. a: aux. 4x. axwmnm n. T42. $64.3“ Em" 4?.» 322“ u
x»... «um .45; 4 .E a 44.433. .44. S 4 2:54. ... .... (a:
                                      n                                  1.4.4.4.... “.... ”.7 Human 215143.24. 4am; w a 3.45.6.“ ....
(Vanna an...mxru... 4r haw :35“                         4.1...   r...54?...» SN...
 .Eh .... brin 21.4%». .17 .. :          .... . a. a m4...” L434... 4n .443 u. .4 9.4m 4 a»: “1r. .4239.» .4" Sm gnaw...» ".4 4 kw...
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4.45.. 0:44.44 “a. :53...” a4 S4 m2... n54. 04.44:: 3.5 .414 4:1 «n.4,. 443 2.1L p, c: an??? Dana 3.4.4”. 34.8%..
5.9.74r4. .ua..n1r.i.......44n§3 3:33..“ rm: 3.. _ I. 2. 234.4244 $912.u; 4. 4T...zgé                   $4.333
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4.4.4ww.».ma~..x.nvw1=. 4a $4. gwurnnnhwc          ...”. Ix... a...“ 4453.44.44. 3:: $3.. 4.4... 29.4.34?
x“. 144455444334”. a .44                          .1an 4r. 4.a           ..
                                                                                  23.1.44;                               . .       1.5. +4.4... n...“ mgr......: 4.4.3:...3 4.444er
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   4w“ arena"                                     rmmm 4J1R1M4WK                                                   -4,
EXHIBIT 1B
                                 CLIENT CONTINGENCY FEE AGREEMENT

THIS CONTINGENCY FEE AGM‘bZMENT {Agnemcm} is entered into on the earliest date shown befow by and
between NATiONAL RECOVERY WLUTIONS (NR5) and LISA JO NOBLE. SUCCESSOR 1N iN'l‘EREST
To THE ESTAni OF THE DECEASED, nANuLL STRANGE. By catering into this Agreement, the panics an
hereby agree that NR8 win provide services to ciicnt on the terms set forth beiow. ‘this signed Agreement mus: be
received to commence rcprcscnmian on any manor. The Pas-mm agree that MRS may retain any 3rd pan}; company
{o assist with any portion of services from NR8.               ,                            ,


I. SCOPE OFSKKI'II‘ES. Client hires: NR5 to provide Wicca and will take reasonabie steps to: keep Client in
me humc fer as many days as possible, 1b: possible mmmal of all ibrccéosum activity against Client’s record, to
investigate an action for 'wrongfui foreclosure (leading to an action that may lead to a rescission ofthe sale anéim'
the recovery of" the lost and acprivcd mmctm‘y value caused by the foreclosure), recovery of any proceeds of sale
{mm the Trustee Sale Number 9448-6431 ofthc property located at 432. WAVERLEY ST MENU) PARK. (2A
94025 said 0n 20 l‘E-OI-ID. NRS will provide necessary documents to the trustee, or Unstee‘s legal representative,
submit written claims, if necessary. retain attorneys on beha'ofciicm
                                                                  in order t0 panicipalc in an interpicadcr
acon‘   le
         petitions to domino aucccssion, or any oihcr prccccding should 1131 be necessary.

2. DUTIES 0!" :‘MTIONAL RECOVERY SOLUTIONS. NR3 shat! provide thnse legai services reasonably
required to represent Client in {he maitcr described in paragraph I ofthis agreement NR8 will mite reasonable slaps
tn keep (lien: informed ofpmgrcx; and signicant developments and to respond to client‘s inquiries. (Ilium agrees
to be truthful with NR8 to cooperate, to keep NRS informed cf any information or developments which may come
to Client’s attention, to abide by this Amment, and to keep NR5 advised ofCiicnt‘s address telephone number and
whereaboutsent      will assisn NR5 in pwviding necessary information and documents and will appear when
newssary at legal proceedings.
3.(‘0NTLNGEN(’Y FEE. 'Ihe fee for raceway shall be equal to am} shall not exceed under any circumstances to
7‘51» ofthe total funds er proceeds n‘cuvered 'I'ne funds shali be
                                                                   deposited into Attorney IOLTA TRUST ACCOUN'I'
and wiié immediateiy be disbursed w Client, less the agreed upon fees. No upfront {'ccs shall be charged. In the event
them are no funds recovered. NR3 sham collect NO fees.
4.013(‘HARGE AND ”VTIi'DRA #241. Client may discharge NR5 at any time NR8 may withdraw with client’s
comm: or for  gm   cause. When NR5 services conclude or if NRS is dismissed before surplus recovery, all unpaid
fees and the commissicn proportionate to {he time NR3 strands on the matter wilt immediately become due and
payabic 9:113; ifsmplus proceeds are recovered from our efforts. If Client withdraws no recs will be awed un§css the
conclusion oracl- work is nished.
5.1913(‘L41AIER 0F GtéldNTEE           AND ESTIM'A TES. Nothing in this agcement and nothing in NR5 statements
to Client will be constructed as a promise or guarantee aboui the nuicomc ofthe matter. NR3 makes no Such
gromiscs or guarantees. If in the event of a merger er acquisitions of NRS aii commas are still legal and binding and
anomay appointed to the file will stay on le.
6.?BRMIN4 TION 0R CONCLUSION. Upon the conclusion ol‘NRS‘ scrxriccsall unpaid charges for services
rendered and costs incurred or advanced through the termination or conclusion date shall become immediately due
and payable. NR8 acknowledgement the obligation, upon Client’s demand, to deliver client‘s lo        to Client at or
allot the mrminaaion or oomlusioa ol‘NRS scrviccs.. NR3 shall only be obligated lo keep clients les for a period of
two (2) years after the termination or conclusion of NRS‘ san'ices in this matter. ’l‘hercaftcr, MRS is authorized to
discard or destroy any materials hold by NR5
ZUEN Client hereby giants a lion on any and all claims or cause ofactlon that arc suhject ofthis contract for any
sums due and owmg a: the conclusion of our services. The lion will much to any recovery Client may obtain,
whether by judgmcm, settlement or otherwise. NR8 shall be cmitlcd to the portion of the contingency for: camcd
marl“: to the time spent on any matter to be dckmnincd by NR5; and all parties shall be notied     thereto.

By signing ofthis agreemwt you understand 13mm 1—7 and agreed ro all terms and condillons set forth.

Signalmcol‘tflicm                            7
                                                               Date
Print Name;
EXHIBIT 2A
                         “5.94%?“ m2... my"- amwaaNPHmOv.                              .m   Q amummmvzm               Wm WM.   W9”? rm.»

.4“ m1. .rvmnmlm.» mmw m‘m AM.m3 “A. “1m. Pm
Awmmgw       Pm!» QC P3133: v” a .m ”TVS” mi. ”vixuwmmw. 43.— x? ahd                                                                                    Cm. .mmmm
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nandum                              Wklm MAO." Pramkimm
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                    11:. max/272,114”: mCm E. I.“ 3.2. 3m .2:
    3: ~31.” 3. 35?“: x/E 2335" L..25 wur pramdaa mpg .r w3.5? "Tr u.
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min g 9.7  F. "Md: nmumx.“....§::: f... 3....aé :n m. .2}: .....x.. FEE“. 3.325 3H7:.3”-
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 ..mm" w: 2.3.3"- SE                               m4 #35”. “wk/WWW. J VPJCM
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         ning”.              n   «d.wanna. «Zak .w         “was“ Marfan.      r Fa “453%.".         P).   :rna 933d.            <3” B.
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Q53?“                  u....u w 4...:   .évmnr‘kwi-                mat? wm?a «an xm;        fww 2552 m‘wmm WWU. Nag???
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gunman?



"wan.     Saga?” x“



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hi                mum.     -5     mm    33 3H3 Em wvmmgwmcbpémh mqwhzzam.
EXHIBIT ZB
            STATEMENT OF AIE’I'HORIZATION T0 REPRESENT AS ATTORNEY

ATTN: AFFINIA DEFAULT SERVICES LLC
CLIENT(S): LISA JO NOBLE, SUCCESSOR IN INTEREST T0 THE ESTATE 0F THE
DECEASED, DANIEL STRANGE.
TRUSTEE SALE N0; 9448-6431

IfWc, LISA JO NOBLE, SUCCESSOR IN INTEREST TO '1'! {E ES'I'A’i‘E 0F THE
DECI'ZASED DANIEL S'I‘RANGE, appoint Eyad Yaser Abdeljawad, Esq. CA Bar #308427. as
myi’our attomey-at—law regarding the above trustee sale. Ir’we revoke any and all authorizations
to represent mains that have been signed before this date and any rcptcscntaon made by other
panics as to their authorization to commmicatc on myfour behalf are Without myfour consent-
All corresgondence should be directed to: National Recovery Solutions, 4780 Mission Bivd.
Suite 105, Moniclair, CA 91762, 'i‘el/m:                  (909) 895—0956. infwwuainm?recux‘em“Soiuihmsacgm.

I expressly grant Eyad Vase: Abdeljawad, Esq. (TA Bar #303427, National Recs very Soiutions
and its sia‘ 10 communicate and do all things whatsoever required on myfour behalf regarding
the ’I‘mstei: Sale No. 9448-6431. to recover proceeds ofsaie, to execute any afdavit or
Statement of Claim for Surplus Funds rcsuhing I‘mm the trustee sale, and aii other remedial
actitm hitherto.

(lians)         Signaturqs)                      7    n


                LISA JO N( )BLP; SUCCESSOR IN INTERESIT T0 THE ESTATE 0F
THE DECEASED, DANIEL STRANGE

A mm paws a: Omar ofcer           compleng   this certicate verifies only the identity of the individual who signed the
document to wich     this certicate   is mashed, and accuracy or validity of that document.

State of   WW




County of

On                              before me.


Personakty appeared LISA J0 NOBLE. SUCCESSOR 1N lNTEREST TO THE ESTATE OF THE
DECEASED. DANIEL STRANGE who proved to me on the basis of satisfactory evidence to be the
persons whose name islare subscribed to the within instrument and acknowledged to me that helshelthey
executed the same in hisfherltheir authorized capacityes), and that by hislherftheir signature{s) on the
instrument the person(3) , or the entity upon behaif of which the person(s) acted. executed the instrument
l certify under PEMLTY 0F PERJURY under the laws of the 8mm of Caiifomia that the faregoing
paragraph is true and correct.

WiTNESS my hand and ofciai seat.


Signature                                                                      Piaca Notary Seai and/or Smmp Above
 Signature of Noam Pubc
          STATEMENT 0F AUTHQRIZATIGN T0 REPRESENT AS ATTGRNEY




201 9-01-3 6

                                   T0 WHOM IT MAY CONCERN:



Re:
          Trustee Sale NIL:              9448-6431
          Property:                      432 WAVERLEY ST, MENLO i’ARK, CA, 94025
          AFN:                           062465-366
          Our (Iiicnt:   LISA J0 NOBLE, SUCCESSOR IN INTEREST TO
THE ESTATE 0F THE DECEASED, DANiEL STRANGE

Aim. AFFINIA DEFAULT SERVICES LLC;


Please be advised that I, Iiyad Abdeijawad, Esq. represent tbs above. named client in regards to

the recovery of proceeads resulting from the sale of the property as sated above.           You are

requested to direct any and all commmcations,         delivery of checks or otherwise directly to the

address: {iyad Yaser Abdeljawad, Esq, Route éé Law, M’C, 4129 Main St Sta 3315, Rivarside,

(TA 925(31-3629.         P163353   sec the acknowiedgmem     of this fetter by LISA 30 NOBLE,

SUCCESSOR IN INE'ERES'X‘ T0 THE ESTATE 0F THE QECEASHD, DANIEL S'I‘RANGE.
This iettcr is executed by each person separately. Thank you for your kind consideration on this

matter.


Best Regards,




Eyad Abdcljawad, Esq.                LISA 30 NQBLE, succrassm
                                     _
                                                                                                  m
INTEREST To THE ESTATE 0F THE DECEASED, DANIEL STRANGE
                         EXHIBIT 3
{2806/01/00064083DOCX}
                                                                                                                                                        DE—1 40
ATTORM OR PARTY WITHOUT ATTORNEY (Nana, sfafa bar number, and m):               TELEPHONE AND FAX NOS;                    FOR COURT USE ONLY

EYAD    YASER ABDELJAWAD, ESQ. #308427
L—5670 SCHAEFER     STE P
                                                                                     909—457-7512
                             AVE,
  CHINO, CA91710                                                                                                F I L Emum
                mm); LISA     Jo NOBLE                                                                      SANMATEO
SUPERIOR COURT 0F CALIFORNIA, COUNTY 0F SAN MATEO
  STREET mess: 400 COUNTY CENTER                                                                                     JUL 1 1 2mg
   MAILING ADDESS:

  cmlmn zip cons: REDWOOD CITY 94603
     BRANCH we: SAN NIATEO SUPERIOR COURT
ESTATE OF (Name):
                                     DANIEL STRANGE
                                                                                          DECEDENT
                                    ORDER FOR PROBATE                                                      CASE NUMBER:
   ORDER                   LA Executor
   Appom‘nus                     Administrator with wm Annexed                                                         19-PR0_00643
                           % AdministratorAdministration
                                             E: Special Administrator
   E] Order Authorizing Independent                      of Estate
              a with fun authority E          with limited authority
         WARNING: THIS APPOINTMENT IS NOT EFFECTIVE UNTIL LETTERS HAVE ISSUED.
1. Date of hearing:      JUNE 28, 2019             Time: 9:00AM                   Dept/Room: 2F                  Judge:       (32W
                  ”“5.
2. a. All notices required by law have been given.
                                                   .                                                                              GEORGEAMRAM
   b. Decedent died on (date): December 20, 2010
        (1)   ma resident of the Caiifomia county named above.
      (2)     Ea nonresident of Caiifomia and left an estate in the county named above.
   c. Decadent died
      (1)     [E
               Intestate
      (2)     [:I
               testate
      and decedent's will dated:                                      and each codicil dated:
      was admitted to probate by Minute Order on (date):
THE COURT ORDERS
3. (Name):      LISA
                  JO NOBLE
   ls a  lnted personal representative:
   a.      executor of the decedent‘s will                          d.   E] special administrator
   b.   E] administrator with will annexed                                  (1) E     with general powers
   c.   m  administrator                                                    (2) E     with special powers as specified Attachment 3d(2)
                                                                                                                                 in
                                                                            (3) E     without notice of hearing
                                                                            (4) a     letters wilt expire on (date):                              I


  and letters shall'issue on quaiication.
4 a.    m  Full authority is granted to administer the estate under the independent Administration of Estates Act.
  b.    E] Limited authority is granted to administer the estate under the Independent Administration of Estates Act (there is no
               authority, without court supervision. to (1) sell or exchange real property or (2) grant an option to purchase real property or
               (3) borrow money with the loan secured by an encumbrance upon real property).
5. a.   E      Bond is not required.
   b,   m      Bond is xed at: $ 200,000.00                             to be furnished by an authorized surety company or as othenuise
               provided by law.
   C~   E      Deposits of: $                                     are ordered to be placed in a biocked account at (specify institution and
               location):
               and receipts shall be led.   No withdrawals shall be made without a court order            E     Additional ordersIn Attachment 5c.
   dD The personal representative            Is not authorized to take possession of money or any other property without a specic                     court order.
6. E] (Name)        .                                                         is appoanted p       referee

Date:          JUL 1 1
                            2mg                                                                          JUDGE or ma SUPERIOR couar
7. Number of pages attached;
   Fm“ A” ”db" 9h”
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                                                            ORDER FOR PROBATE                                             i
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                                                                                                                              om, (or probate, Personal Representative
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 Mandatory Form [111m]




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                         EXHIBIT 4
{2806/01/00064083DOCX}
                                                                                                                                                             DE-‘I 50
ATTORNEY 0R pm              wmiom' Anoausv (Name, stage oarnumber, and am“):         TELEPHONE AND FAX NOS;                      FOR COURT USE WY

_ EYAD YASER ABDBLJAWAD                                             SBN2308427                 909-457-75 I 2
  ROUTE 66 LAWGROUP
  5670 SCHAEFER AVE, STE P
  CHYNO, CA 91710
ATTORNEY FOR (Name): LISA JO NOBLE
                                                                                                                                 FEEEB
                                                                                                                              SAN MATEO mum
SUPERIOR COURT 0F CALIFORMA, COUNTY 0F SAN MATEO
        STREET ADDRESS: 400            COUNTY CENTER
       MAILoNGAooaess:  400 COUNTY CENTER
       cmr AND zsp cone REDWOOD CITY 94063
              BRANCH NAME:     SAN MATEO
 ESTATE 0F (Name):
                                                DANIEL STRANGE
                                                                                                   DECEDENT
                                                                                                                 CA SE NUMBER:
                                                         LETTERS
 [I] TESTAMENTARV                                  [Z] 0F ADMINISTRATION
 CJ 0F ADMTNTSTRATTON WTTH wau. ANNEXEQ 1:] SPECIAL ADMINISTRATION ‘q PR0 ”mwqg
                                                                                                                         ,_


                                                                '

                     .     LETTERS             i"                           AFFIRMATION
1.m The last will‘ofI the decedent named above having           E PUBLIC ADMINISTRATOR: No afrmation required
                                                                                      1.
               been proved, the court appoints (name):                                              (Prob. Code, § 7621M).

               a.    E executor,                                                      2.       E] INDIVIDUAL: soiemniy afrm that will perform the
                                                                                                                  I                             I


                b.   E] administrator with win annexed.                                             duties of personal representative according to law.
2.    E] The court appoints (name):
         LISA JO NOBLE                                                                3.       E] INSTITUTIONAL FIDUCIARY (name):
         a, E] administrator of the decedent‘s estate.
                b.   D special administrator of decedent‘s estate                                   l solemnly affirm that the institution wilt perform the

                             (1)    E3 with the special powers specied                              duties of personal representative according to law.
                                                                                                    l make this afrmation    for myself as an individual and
                                          in the Order for Probate.
                             (2)    E] with the powers of a general                                 on behatf of the institution as an ofoen
                                          administrator.                                            (Name and title):
                             (3)    [:3 Ieiiers will expire on (date):
3.    m The personal representative is authorized administer        to
               the estate under the independent Administration of
               Estates Act            [E
                                      with run authority
               [:1     with Iimlted authqrtty (no authority. without                  4. Executed on (date):          QTQO“0               /q            {amt
               court supervision, to (1) sell or exchange real property .                at (place): Ere}-                                               .Gem
               or (2) grant an option to purchase real property or (3)
               borrow money with the ioan secured by an
               encumbrance upon reel property).

4.    D The personalofrepresentative is   not authorized to take                                                        (SlGNATURE)

                possession money or any other property without a                                                 CERTiFlCATlON
                specic court order.                                                       certify that this document is a correct copy of the original on
                                                                                           l

                                                                                      le  in my ofce and the letters issued the personal representa-
                                                                                      tive appointed above have not been revoked, annulled. or set
WITNESS. clerk of the court, with seal of the court afxed.                            aside. and are still in full force and effect


                                             DatezJUL      l 1 33B                      (SEAL)                                Date:

                                             cterk. by                                                                        Clerk. by




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(2806/01/00064083DOCX}
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Roswell, GA 30076

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PA Y To THE ORDER 0F
         Lisa Jo Noble, Administrator ofthc
         Estate of Daniel Strange




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McCalla Raymer Leibert Pierce                                                                                      Check Date                     Check Number
One-Time             Lisa Jo Noble. Administrator of the                                                           7/23/2019                              2244

Invoice Number             Inv Date     File Number        Loan Number       Property Address             Description                Net Check Amt
E 9448-64314               7/23/2019                                                                      9448-6431/Surplus Funds Di $1 ,487,688,10




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One-Time            Lisa Jo Noble. Administrator of the                                                            7/23/201 9                             2244

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{2806/0 1/00064083DOCX}
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      NATIONAL RECOVERY SOLUTIONS
      3780 W. Mission Blvd Ste 105                 0N              2/24/2020
      Montciair CA 91762                           By   ’                               H '   k

                                                             Ags‘lagaxpgmjnia
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      (909) 668-3241

      InPro Per

                        SUPERIOR COURT OF SAN MATEO COUNTY
                          SOUTHERN BRANCH: HALL OF JUSTICE



     NATIONAL RECOVERY SOLUTIONS                 Case Na: 20-CIV~01 183

                                Plaintiff
                                                 PLAINTIFF COMPLAINT FOR
                                        V'
                                                 INTERPLEADER PER CCP §386 (B)
     LISA JO NOBLE. Administrator to the
     Estate of Daniel Strange. Deceased,
     and DOES 1~50 Inclusive




             PLAINTIFF NATIONAL RECOVERY SOLUTIONS HEREBY ALLEGES THE

     FOLLOWING:

                                JURISDICTION AND VENUE
21
     1.     Jurisdiction and Venue are proper in this Court Pursuant to CA Code of
22
          Civ. Pro. 5395 as the course of conduct of alleged acts occurred within
23

24        geographic region of San Mateo County
25                                           PARTIES
26
     2.      National Recovery Solutions (NR8) is a Business and Plaintiff in this
27
          matter.
28                                    PLAINTIFF COMPLAINT
                                               -I
      3.        Lisa Jo Noble is the Administrator to the Estate of Daniel Strange,

            Deceased (NOBLE). Plaintiff is informed and reasonably asserts that NOBLE

            was Appointed as Personal Representative Pursuant to Letters of

            Administration that were issued by San Mateo County Superior Court

            Probate Division. NOBLE is the sister to the DECEDENT

               Plaintiff hereby reserves right to amend complaint to conform to proof.

            Plaintiff is informed and reasonably believes that each of the Defendants are

           responsible in some manner for the occurrences herein alleged and that

           Plaintiffs’ damages were proximately caused thereby.

               STATEMENT OF FACTS COMMON TO A_L__I_5 CALLSES OF ACTION
 l3
               Daniel Lee Strange died intestate on Dec 12, 2010 leaving behind a
 l4
           surviving spouse by the name of Gaye Dotson WIDOW, and three siblings
 l5

 16        including Defendant NOBLE. Mr. Strange was the former trustor of a

           property located at 432 Waverly Street Menlo Park CA 94025 (HOME).

              Shortly thereafter. Defendant NOBLE assigned in a valid agreement with
           NRS in order for Plaintiffs to recover proceeds from a sale of HOME

           belonging to the Estate.

              Subsequent to that, Defendant and siblings were informed that a Court

           Order was needed from Probate Division in order for NOBLE to have
24
           standing to step into the shoes of her late brother and transact on his
25
           behalf.
26

27

28                                    PLAINTIFF COMPLAINT
                                               -2
              As a result, outside counsel was retained for NOBLE for the sole limited

           purpose of obtaining Letters of Administration (LETTERS) for her late

           brother’s estate. Counsel for NOBLE successfully obtained LETTERS from

           the Probate Division of San Mateo Superior Court Probate Division in Case

           19-PRO-00643.

              Plaintiff states based on information and belief that the siblings

           nominated NOBLE to act as the personal representative to the

           DECECDENTS Estate.
     10.         Plaintiffs further allege based on knowledge and belief that NOBLE

           was apprised her standing fiduciary duty to the remaining heirs including

           her siblings and the surviving spouse of DECEDENT.

     11.         Once Estate Property was was ready to be disbursed, NOBLE initially

           acknowledged her standing duty to distribute shares to the heirs in

           accordance with Intestate Succession Laws. NOBLE was given a

           full accounting and all of her documents that were part of her case in

           Probate Court.
20
     l2.        NOBLE‘s instructions were for Plaintiff to deduct its percentage for
2}

22         recovering monies that belonging to the Estate; Earmark and keep separate
23         WIDOW’S 50% share; Distribute remainder to NOBLE as the Personal
24
           Representative of the Siblings.
25
     l3.       After NOBLE received her accounting, NOBLE sent a threatening
26

27
           demand email that was addressed to Plaintiff and Defendant’s Counsel in

28                                    PLAINTIFF COMPLAINT
                                               -3
            the Probate Proceedings. In the Demand, NOBLE threatened to

            report her counsel to the State Bar unless Plaintiff paid WIDOW’s share

            directly to NOBLE.
      l4.       More noteworthy, NOBLE stated her intent to not pay the any of the

            beneciaries   as mandated by law.

     15.         As a result, Plaintiff is in concurrent possession of funds that have

           been earmarked for WTDOW. Based on information and believe, it would be

           unconscionable for Plaintiff to distribute WIDOW‘s share to NOBLE.

                                           CAE          OF AQTION

                   [Interpleader CCP §386 (b) — As Against All Defendants)
     16.        Plaintiff is in possession of $686,200.00 that is held for the benefit of

           WIDOW. Plaintiff is informed and reasonably asserts that conicting

           demands have been made as to who is entitled to WIDOW’s share.

     17.        NOBLE stated her intent to keep all of the money for herself. NOBLE

           further stated that she is under no obligation to pay out siblings as

           beneciaries    or WIDOW

     18.         Plaintiff cannot determine the validity to the conicting   claims, and is
21


22      gravely concerned that it will be subjected to multiple liability in the
23     absence of the intervention of this court. Concurrent with this complaint,
24
       Plaintiff shall deposit $682,600.00 with the clerk of the Superior Court
25

26
       pursuant to CCP §386 (c), which represents the full amount of WTDOW’s

27     share.

28                                    PLAINTIFF COMPLAINT
                                                —
                                                    4
     WHERFORE PLAINTIFF PRAYS FOR AS FOLLOWS:

        1.       An order that WIDOW‘s share be deposited with the court and that

                 Defendant and All potential claimants litigate their claims to

                 monies/property as described in complaint.

     RESPECTFULLY SUBMITTED

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28                                      PLAINTIFF COMPLAINT
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                           Transaction Search



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                     Lisa Jo Noble, Administrator of that




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                     Estate ofDaniel Strange




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          Item Details
Account Number                                                  ZQTWGZBG                                                                                                     Hem Sequ
Account Name                                                    MCCALLA                          YMER                                                                        Bank ID
EXHIBIT G
     1   Kenneth H. Prochnow, SBN 112983
         Law Offices of Kenneth H. Prochnow
    2    1771 Woodside Road, Suite 2                                               3/8/2022 4:53 PM
         Redwood City, CA 94061
    3    Tel: (650) 812-0400
         Fax: (650) 812-0404

    4    Attorneys for Petitioner Lisa Noble,
    5      Administrator of the Estate of Daniel Strange

    6

    7
    8                        SUPERIOR        COURT       OF THE STATE OF CALIFORNIA

    9                              IN AND     FOR THE COUNTY              OF SAN MATEO

10 |; InRe                                                           Case No.:    19-PRO-00643

11                                                                   NOTICE OF ENTRY OF ORDER                   ON
         THE ESTATE OF DANIEL STRANGE                                DEMURRERS ADOPTING
12                                                                   TENTATIVE RULING AND
3                                                                    CONTINUING MATTER

14       LISA NOBLE, ADMINISTRATOR                   OF THE
         ESTATE OF DANIEL STRANGE,                                 Date: February 10, 2021
15                                                                 Time: 9:00 a.m.
                          Petitioner,                              Courtroom: 2D
16
                  VS.
17
       NATIONAL RECOVERY SOLUTIONS;
18 ||] ALEJANDRO C, MARRERO, Individually
       and d/b/a NATIONAL RECOVRY
19     SOLUTIONS; JOYCE ARCE, Individually
       and d/b/a NATIONAL RECOVERY
20 || SOLUTIONS; ISRAEL SIGUENZA,
1        Individually and d/b/a NATIONAL
         RECOVERY         SOLUTIONS;        EYAD YASSER
22       ABDELJAWAD,           and DOES 1 — 25, inclusive.

23                         Respondents

24
                  TO ALL PARTIES          OF INTEREST AND TO THEIR ATTORNEYS                         OF RECORD:
25
                  NOTICE IS GIVEN that on March 4, 2022, the court entered an order adopting its
27
         tentative ruling on the demurrers of Respondents National Recovery Solutions and Eyad Yasser
28
         Abdeljawad, which ruling states in its entirety:



         NOTICE    OF ENTRY    OF ORDER     CONTINUING      MATTER                                          Page 1
         In re: The Estate of Daniel Strange; Lisa Noble vs. National Recovery Solutions;
         San Mateo Cty Sup. Ct. Probate No. 19PRO00643                                      {2806/01/00065466.DOC}
     1                    “Pursuant to PC 854, the court stays the First Amended 850 Petition
                 until the conclusion of the civil interpleader action; The First Amended 850
     2           Petition and both demurrers are continued approximately 120 days, until July 6,
                 2022 at 9:00 a.m. for status; Parties are ordered to file joint/several status reports
     3           seven (7) days before the next hearing.”


     4           A true and correct copy of the court’s minute order is attached hereto as Exhibit 1.

     5   DATED:     March 8, 2022                            LAW OFFICES OF KENNETH H. PROCHNOW



     7                                                 By:    Kew N.       \So
                                                               eoneth H. Prochnow,
     8                                                       Attorneys for Petitioner Lisa Noble

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         NOTICE OF ENTRY OF ORDER CONTINUING MATTER                                                       Page 2
         In re: The Estate of Daniel Strange; Lisa Noble vs. National Recovery Solutions;
         San Mateo Cty Sup. Ct. Probate No. 19PROQ00643                                   {2806/01/00065466.DOC}
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    :                                         EXHIBIT
                                              EXHIBIT 11
    24



    27

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                                                                                         Case Number: 19-PRO-00643

    cain ora                           SUPERIOR COURT OF SAN MATEO COUNTY
  ie ace              \             400 County Center              1050 Mission Road
a at             ie              Redwood City, CA 94063            South San Francisco, CA 94080
   eve                                            www.sanmateocourt.org
  NUP OFS


                                                 Minute Order
Estate of DANIEL STRANGE                                                                    19-PRO-00643
                                                                                     03/04/2022 9:00 AM
                                                                                     Hearing on Demurrer
                                                                                     Hearing Result: Held


Judicial Officer: Novak, Lisa A.                     Location: Courtroom 2C
Courtroom Clerk: Brooke Jimenez;                     Courtroom Reporter: Stacy Gaskill




Parties Present
 Abdeljawad, Eyad                Respondent
 PROCHNOW, KENNETH H.            Attorney


Exhibits



Minutes
Journals
 - Above-noted counsel and parties, present via Zoom.

 The court finds/orders:

 Tentative adopted.

 Counsel to submit status reports 7 days prior to hearing.

 Matter continued to July 6th at 9am.
Case Events
 - Party appeared by audio and/or video; Nada Dhahbi for NRS

Others
Comments:

Future Hearings and Vacated Hearings
March 04, 2022 9:00 AM Hearing on Demurrer
Gaskill, Stacy
Novak, Lisa A.
Courtroom 2C
Jimenez, Brooke

March 04, 2022 9:00 AM Order to Show Cause Hearing
Gaskill, Stacy
Novak, Lisa A.
Courtroom 2C
                                                                                                            1
     1                                             PROOF OF SERVICE


 2                I, Terisa Gurzi, declare:

 3               1.       I am over the age of 18 years and am not a party to the within action. My

 4       business address is 1771 Woodside Rd., Redwood City, California 94061.

 5                2.      On March 8, 2022, I served the foregoing NOTICE OF ENTRY OF ORDER

 6       ON DEMURRERS             ADOPTING TENTATIVE RULING AND CONTINUING MATTER

 7       along with a copy of this PROOF OF SERVICE by placing true and correct copies thereof

 8       into sealed envelopes with postage fully prepaid thereon and depositing the same with the

 9       United States Postal Service in Redwood City, California addressed as follows:
10
wy                                            [Please see attached Service List.]

12           I declare under penalty of perjury under the laws of the State of California that the

13 || foregoing is true and correct, and that this declaration is executed on March 8, 2022, at

14 || Redwood City, California.

IS                                                        4 hw         A     |]
16                                                   Terisa Gurzi
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                OF ENTRY                     CSCS
         OFORDERCONTINUINGMATTER.—<“i‘“‘S™S*‘«CR
         NOTICE
         Inre: The Estate of Daniel Strange; Lisa Noble vs. National Recovery Solutions;
         San Mateo Cty Sup. Ct. Probate No. 19PROQ00643                                    {2806/01/00065466.DOC}
     1                              ATTACHMENT            TO PROOF OF SERVICE

     2                                                 (Parties Served)

     3, || Gay Lynne Dotson
           118 Cypress Point Rd
    4 || Half Moon Bay, CA 94019

     5    Gay Lynne Dotson
     6 || c/o Golnar Yadzi, Esq.
          Anderson Yazdi Hwang Minton + Horn
     7 || 350 Primrose Rd.
     g   Burlingame, CA        94010-4005

     g || Gay Lynne Dotson
          c/o Samuel Dotson
10 || 9309 Canter Dr
1        Dallas, TX    75231

12 || Lisa Jo Noble
      2104 6" Ave.
13 || Fort Worth, TX 76110-1804
\4    Tina Michele Britt
15 || 4533 Southern Pkwy
16    Louisville, KY 40214

17       Christopher B. Strange
         130 Fey Ct.
18 || Shepherdsville, KY 40165

19 || National Recovery Solutions
20    c/o Nada Dhahbi, Esq.
      19069 Van Buren Blvd, Ste 114-398
21 || Riverside, CA 92508

22    Alejandro C. Marrero
23 || dba National Recovery Solutions
      129 W Virginia St., Apt. C
24 || Rialto, CA 92376

25       Joyce Arce
77 || dba National Recovery Solutions
      17211 Penacova St.
28 || Chino Hills, CA 91709



         NOTICE OF ENTRY OF ORDER CONTINUING MATTER                                                       Page 4
         In re: The Estate of Daniel Strange; Lisa Noble vs. National Recovery Solutions;
         San Mateo Cty Sup. Ct. Probate No. 19PRO00643                                    {2806/01/00065466.DOC}
     1   Eyad Yasser Abdeljawad, Esq.
         Bridgepoint Law Group APC
 2.      {15670 Schaefer Ave., Ste. P
 ,       Chino, CA 91710

 4       Israel Siguenza
         dba National Recovery Solutions
 5       ||3150 Hillview Dr. North
 6       Chino, CA 91710


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         NOTICE OF ENTRY OF ORDER CONTINUING MATTER                                                      Page 5
         Inre: The Estate of Daniel Strange; Lisa Noble vs. National Recovery Solutions;
         San Mateo Cty Sup. Ct. Probate No. 19PROQ00643                                  {2806/01/00065466.DOC}
EXHIBIT H
                                                                                        Case Number: 19-PRO-00643

                                      SUPERIOR COURT OF SAN MATEO COUNTY
                                    400 County Center                1050 Mission Road
                                  Redwood City, CA 94063       South San Francisco, CA 94080
                                                 www.sanmateocourt.org

                                               Minute Order
Estate of DANIEL STRANGE                                                                  19-PRO-00643
                                                                                    07/06/2022 9:00 AM
                                                                                        Motion hearings
                                                                                    Hearing Result: Held

Judicial Officer: Grandsaert, John L.               Location: Courtroom 2D
Courtroom Clerk: Rebecca Huerta                     Courtroom Reporter: Wendy Conde



Parties Present
 ABDELJAWAD, EYAD YASER          Attorney
 NOBLE, LISA JO                  Petitioner
 PROCHNOW, KENNETH H.            Attorney

Exhibits


Minutes
Journals
 -
 Argument presented by counsel. Matter submitted.

 Having considered the submitted matter, the court rules as follows:

 Tentative ruling is adopted. Discovery motions are denied without prejudice as this matter was stayed
 per the Court's 03/04/22 order. Requests for sanctions are denied without prejudice.

 Hearing is continued to November 2, 2022 at 9:00 a.m. for the status of stay.

Case Events
 - Party appeared by audio and/or video
 - Tentative ruling adopted and becomes order:; MOTION OF RESPONDENT EYAD YASER ABDELJAWADTO
 TO DEEM ADMISSIONS AGAINST PETITIONER LISA JO NOBLE; REQUEST FOR SANCTIONS IN THE AMOUNT
 OF $1,760.00 (Filed 3/21/22 by Eyad Yaser Abdeljawad) is DENIED WITHOUT PREJUDICE.

Others
Comments:

Future Hearings and Vacated Hearings
July 06, 2022 9:00 AM Hearing on Demurrer
Conde, Wendy
Grandsaert, John L.
Huerta, Rebecca
Courtroom 2D
                                                                                                           1
                                                Case Number: 19-PRO-00643


July 06, 2022 9:00 AM Hearing on Demurrer
Conde, Wendy
Grandsaert, John L.
Huerta, Rebecca
Courtroom 2D

July 06, 2022 9:00 AM Motion hearings
Conde, Wendy
Grandsaert, John L.
Huerta, Rebecca
Courtroom 2D

July 06, 2022 9:00 AM Motion hearings
Conde, Wendy
Grandsaert, John L.
Huerta, Rebecca
Courtroom 2D

July 06, 2022 9:00 AM Motion hearings
Conde, Wendy
Grandsaert, John L.
Huerta, Rebecca
Courtroom 2D

November 02, 2022 9:00 AM Hearing on Demurrer
Grandsaert, John L.
Courtroom 2D

November 02, 2022 9:00 AM Hearing on Demurrer
Grandsaert, John L.
Courtroom 2D

November 02, 2022 9:00 AM Motion hearings
Grandsaert, John L.
Courtroom 2D

November 02, 2022 9:00 AM Motion hearings
Grandsaert, John L.
Courtroom 2D

November 02, 2022 9:00 AM Motion hearings
Grandsaert, John L.
Courtroom 2D




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EXHIBIT I
                                                                                           Case Number: 20-CIV-01183

                                        SUPERIOR COURT OF SAN MATEO COUNTY
                                      400 County Center                1050 Mission Road
                                    Redwood City, CA 94063       South San Francisco, CA 94080
                                                   www.sanmateocourt.org

                                                 Minute Order
National Recovery Solutions vs. LISA JO NOBLE, et al                                        20-CIV-01183
                                                                                     03/17/2022 9:00 AM
                                                                             Case Management Conference
                                                                                     Hearing Result: Held

Judicial Officer: Halperin, Ernst A.                 Location: Courtroom H
Courtroom Clerk: Eresmia Ouranitsas                  Courtroom Reporter:


Parties Present
 DHAHBI, NADA                       Attorney

Exhibits


Minutes
Journals
 - Above-noted counsel present via Zoom.

 Attorney Nada Dhahbi present on behalf of Petitioner National Recovery Solutions.

 (At 9:37 a.m. - Attorney Kenneth Prochnow appeared via Zoom for Respondent Lisa Jo Noble after
 session concluded and was informed of continued hearing date.)

 At 9:11 a.m. - Matter is called.

 Counsel for Plaintiff states that she has just substituted into the case and that she is the representing
 attorney in the related probate case 19-PRO-00643 Estate of Daniel Strange. Given Business Entity now
 has an attorney of record, Order to Show Cause is discharged. Attorney Dhahbi states that there are
 additional civil cases and the probate case that may be consolidated or related with this one.

 The court finds/orders: Matter is continued for Case Management Conference on 10/27/2022 at 9:00
 a.m. to allow for whether consolidation will be sought after or not. Courtroom clerk to serve notice on
 parties.
Case Events
 - Party appeared by audio and/or video; Attorney: DHAHBI, NADA

Others
Comments:

Future Hearings and Vacated Hearings
October 27, 2022 9:00 AM Case Management Conference
Case Management Conferences, -


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Case Number: 20-CIV-01183




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